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 1 ZEV SHECHTMAN (State Bar No. 266280)
   zs@DanningGill.com
 2 JOHN N. TEDFORD, IV (State Bar No. 205537)
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   dgabai@DanningGill.com
 5 DANNING, GILL, ISRAEL & KRASNOFF, LLP
   1901 Avenue of the Stars, Suite 450
 6 Los Angeles, California 90067-6006
   Telephone: (310) 277-0077
 7 Facsimile: (310) 277-5735

 8 Proposed General Bankruptcy Counsel for
   Jinzheng Group (USA) LLC, Debtor in Possession
 9
                          UNITED STATES BANKRUPTCY COURT
10
                            CENTRAL DISTRICT OF CALIFORNIA
11
                                   LOS ANGELES DIVISION
12
   In re                                         Case No. 2:21-bk-16674-ER
13
   JINZHENG GROUP (USA) LLC,                     Chapter 11
14
                Debtor and Debtor in             NOTICE OF APPLICATION AND
15              Possession.                      APPLICATION TO EMPLOY REAL
                                                 ESTATE BROKERS AND TO ENTER
16                                               INTO EXCLUSIVE LISTING
                                                 AGREEMENT; MEMORANDUM OF
17                                               POINTS AND AUTHORITIES;
                                                 DECLARATION OF ZHAO PU YANG
18                                               AND STATEMENTS OF
                                                 DISINTERESTEDNESS IN SUPPORT
19                                               THEREOF
20                                                          [No Hearing Required]

21            TO THE HONORABLE ERNEST M. ROBLES, UNITED STATES BANKRUPTCY

22 JUDGE, AND INTERESTED PARTIES:

23

24            PLEASE TAKE NOTICE that Jinzheng Group (USA) LLC (the “Debtor”), herby applies

25 pursuant to 11 U.S.C. § 328 for entry of an order authorizing the Debtor to employ The Crem

26 Group through its agents, Daniel Taylor and Mark Cianciulli, and Marcus & Millichap through its
27 agent, Lonnie McDermott, as its real estate brokers (collectively, the “Brokers”), on the terms set

28 forth in the listing agreement attached as Exhibit “1,” effective as of the date of this filing.

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 1             In compliance with Local Bankruptcy Rule 2014-1(b)(3), the Debtor hereby provides the

 2 following information regarding the Application:

 3 A.          Identity of professional and the purpose and scope for which it is being employed

 4             The Debtor seeks to employ The Crem Group and Marcus & Millichap as its real estate

 5 Brokers, to assist the Debtor in the marketing and sale of multiple properties (the “Properties”)

 6 specified in Addendum 1 to the Residential Listing Agreement (the “Listing Agreement”), attached

 7 as Exhibit “1.” The biographical information of the Brokers is attached as Exhibit “2” and “3.” In

 8 sum, the Properties include a single 30 acre parcel of vacant land located at 2929 Amethyst Street,

 9 Los Angeles, in the Lincoln Heights neighborhood, approximately 3 miles northeast of Downtown

10 Los Angeles, two neighboring lots with multifamily dwellings, and several smaller vacant lots.

11 Collectively, the Properties have been referred to in the case as the “Los Angeles Properties,”1 and

12 may also be referred to as the “Lincoln Heights Properties.”2

13 B.          Whether professional seeks compensation pursuant to 11 U.S.C. § 328 or 11 U.S.C. § 330

14             The Debtor will seek to compensate the Brokers pursuant to 11 U.S.C. § 328.

15 C.          Arrangements for compensation

16             The proposed terms of the Brokers’ compensation are set forth in the Listing Agreement

17 (including the addendums thereto), attached as Exhibit “1.” Without limiting the detail in the

18 Listing Agreement: The total commission on the sale of the Properties, if the buyer is represented

19 by a broker, is 5%. The commission to the Debtor’s Brokers will be 3.0%, from which The Crem

20 Group will receive 1%, and Marcus & Millichap will receive 2.0%. The buyer’s broker will be

21 entitled to the remaining 2.0% of commission. If the buyer is not represented by a broker in the

22 transaction, the Debtor’s Brokers will be entitled to a total commission of 3.5%, from which The

23 Crem Group will receive 1.25%, and Marcus & Millichap will receive 2.25%.

24

25
     1
         See disclosure statement, doc. no. 24 at ECF pp. 6-7.
26
     2
     The Debtor also owns interests in two other properties and is the managing member of an LLC
27
   that owns a third property, in Van Nuys, San Marino, and Arcadia, respectively. Those properties
28 are not the subject of this Application.

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 1 D.         Name, address and telephone number of person who will provide a copy of the Application

 2            This document is both a notice and application. Copies of the full Application (with the

 3 Memorandum of Points and Authorities, Declaration of Zhao Pu Yang, and Statements of

 4 Disinterestedness) may be requested by contacting the Debtor’s proposed general bankruptcy

 5 counsel, Attn.: Zev Shechtman, Danning, Gill, Israel & Krasnoff, LLP, at Email:

 6 ZS@DanningGill.com. The address for Debtor’s proposed counsel is Danning, Gill, Israel &

 7 Krasnoff, LLP, Attn.: Zev Shechtman, 1901 Avenue of the Stars, Suite 450, Los Angeles,

 8 California 90067 and the telephone number is (310) 277-0077.

 9

10            The Application is based upon this Notice of Application, the attached Memorandum of

11 Points and Authorities, the attached Declaration of Zhao Pu Yang , the attached Statements of

12 Disinterestedness, exhibits hereto, the complete files and records of this case, and such other

13 evidentiary matters as may be presented to the Court.

14

15            PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-

16 1(o)(1)(A)(ii), any objection and request for hearing must be in writing and must be filed and

17 served within fourteen (14) days after of the date of mailing of this Notice, plus an additional 3

18 days if this notice of application was served by mail or pursuant to Fed. R. Civ. P. 5(b)(2)(D) or

19 (F). The response or opposition to the application shall be filed with the Bankruptcy Court and

20 served on the United States Trustee, at 915 Wilshire Boulevard, Suite 1850, Los Angeles, CA

21 90017, the Debtor at the address on the upper left-hand corner of this notice, and proposed counsel

22 for the Debtor, Zev Shechtman, at 1901 Avenue of the Stars, Suite 450, Los Angeles, CA 90067.

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 1            If you fail to file a written response within fourteen days of the date of the service of this

 2 notice, plus an additional 3 days if this notice of application was served by mail or pursuant to Fed.

 3 R. Civ. P. 5(b)(2)(D) or (F), the Court may treat such failure as a waiver of your right to oppose the

 4 application and may grant the requested relief.

 5
               23 2022
 6 DATED: June ___,                                DANNING, GILL, ISRAEL & KRASNOFF, LLP

 7

 8
                                                   By:
 9                                                       ZEV SHECHTMAN
                                                         Proposed General Bankruptcy Counsel for
10                                                       Jinzheng Group (USA) LLC, Debtor in Possession
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2                                                     I.

 3                                       FACTUAL STATEMENT

 4 A.         Bankruptcy Background

 5            On August 24, 2021 (the “Petition Date”), Jinzheng Group (USA) LLC (the “Debtor”), filed

 6 a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtor continues in

 7 possession of its property and is operating and managing its business as a debtor in possession

 8 pursuant to the provisions of 11 U.S.C. §§ 1107(a) and 1108. No trustee or examiner has been

 9 appointed in the Debtor’s Chapter 11 Case.

10

11 B.         The Subject Properties and Associated Liens

12            The subject Properties comprise 15 separate parcels based on their Los Angeles County’s

13 Assessor Parcel Numbers (“APNs”). The Properties include approximately 30 acres of

14 undeveloped land in a single parcel at 2929 Amethyst St., and the other parcels are adjacent

15 properties which would be of interest to any developer seeking to develop 2929 Amethyst. As of

16 December 2021, Royalty Equity Lending LLC asserted a $9,353,009.29 secured claim, secured by

17 2929 Amethyst (APN 5209-009-001), a triplex at 2526-28 Lincoln Park Ave. (APN 5208-025-

18 001), a duplex at 2520-22 Lincoln Park Ave. (APN 5208-025-002), land at 2602 Lincoln Park Ave,

19 (APN 5208-025-014) and land at 2600 Sierra Street (APN 5209-005-003). As of December 2021,

20 Breezeblocks Capital LLC asserted a $124,652.99 secured claim, secured by parcels of vacant land

21 described as the Paradise Drive Lots (APNs (i) 5209-021-002, -005, -006; (ii) 5209-022-007; (iii)

22 5209-023-022, -029; -030; -031; -032; and (iv) 5209-025-006).

23

24 C.         The Brokers’ Qualifications

25            The Debtor has selected The Crem Group and Marcus & Millichap as co-brokers because

26 both are qualified firms with expertise well suited to the situation of these Properties. See their
27 biographical information at Exhibits “2” and “3.” The Crem Group is a local brokerage firm that

28 specializes in selling properties through court processes. Marcus & Millichap is a national

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 1 brokerage firm with access to broad databases and marketing platforms. Mr. McDermott of

 2 Marcus & Millichap has expertise in sales of vacant properties, raw land, and other properties in

 3 various stages of development. The Properties here, comprised primarily of undeveloped land,

 4 offer unique opportunities and challenges for developers. The Brokers selected by the Debtor are

 5 well suited to market these unique Properties.

 6

 7 D.         The Debtor’s Proposed Employment of the Brokers

 8            The Debtor is seeking to employ The Crem Group, through its agents Daniel Taylor and

 9 Mark Cianciulli, and Marcus & Millichap through its agent, Lonnie McDermott, as its real estate

10 brokers (collectively, the “Brokers”) pursuant to the terms of the Listing Agreement and related

11 form agreements, disclosures, and the Bankruptcy Addendum, attached as Exhibit “1.”

12            Without limiting the detail in the Listing Agreement, a summary of the Listing Agreement

13 is as follows:

14            1.       Listing Period. 180 days from the date of the filing hereof.

15            2.       Listing Price. Subject to offers.

16            3.       Listing Properties.

17                     (a)    2929 Amethyst St, Los Angeles CA 90032 (Land);

18                     (b)    2526-2528 Lincoln Park Ave, Los Angeles CA 90031 (Triplex);

19                     (c)    2520-2522 Lincoln Park Ave, Los Angeles CA 90031 (Duplex),

20                     (d)    2602 Lincoln Park Ave, Los Angeles CA 90031 (Land);

21                     (e)    2600 N Sierra St, Los Angeles CA 90031 (Land);

22                     (f)    The Paradise Drive Lots include APNs: (i) 5209-021-002, -005, -006; (ii)

23 5209-022-007; (iii) 5209-023-022, -029; -030; -031; -032; and (iv) 5209-025-006.

24            4.       Commission. All sales commission shall be deducted (to the extent possible) from

25 the gross proceeds of the sale of the Property. The total commission if the buyer is represented by a

26 broker will be 5%. The commission to the Debtor’s Brokers will be 3.0%, from which the Crem
27 Group will receive 1.0%, and Marcus & Millichap will receive 2.0%. Buyer’s broker will receive

28 the remaining 2.0% of commission. If the buyer is not represented by a broker in the transaction,

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 1 the Brokers will be entitled to a total commission of 3.5%, from which the Crem Group will

 2 receive 1.25%, and Marcus & Millichap will receive 2.25%.

 3                                                      II.

 4                                                ARGUMENT

 5            A chapter 11 debtor in possession, with the bankruptcy court’s approval, may employ

 6 attorneys, accountants, appraisers, auctioneers, or other professional persons that do not hold or

 7 represent an interest adverse to the estate, and that are disinterested persons, to represent or assist

 8 the debtor in carrying out its duties under the Bankruptcy Code. 11 U.S.C. § 327(a). The person

 9 may be employed on any reasonable terms and conditions of employment. 11 U.S.C. § 328(a).

10            It is appropriate for the Debtor to employ real estate brokers to assist the Debtor in the

11 marketing and sale of the Properties. As explained above, and evidenced by their biographical

12 information at Exhibits “2” and “3,” the Brokers are well qualified to do so, and the proposed terms

13 of the Brokers’ employment as specified here and in the Listing Agreement at Exhibit “1” are fair,

14 reasonable, and customary in the industry.

15            To the best of the Debtor’s knowledge, and based upon the separately filed Statements of

16 Disinterestedness, the Brokers and their principals, employees and agents do not hold or represent

17 any interest adverse to the Debtor, the creditors, and the estate, and except as may be disclosed in

18 the Statements of Disinterestedness have no connection with the Debtor, the creditors, any other

19 party in interest, their respective attorneys and accountants, the United States Trustee, any person

20 employed in the office of the United States Trustee, or any bankruptcy judge presiding in the

21 United States Bankruptcy Court for the Central District of California. The Brokers hold no

22 prepetition claims against the estate and are disinterested persons as that term is defined in 11

23 U.S.C. § 101(14) and used in 11 U.S.C. § 327(a).

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 1                                                     III.

 2                                              CONCLUSION

 3            For the foregoing reasons, the Debtor requests that the Court enter an order authorizing the

 4 Debtor to enter into the Listing Agreement with the Brokers substantially in the form attached as

 5 Exhibit “1” hereto, authorizing the Debtor to employ the Brokers as its real estate brokers., and

 6 take such other actions and sign such other documents as necessary or appropriate for the Debtor to

 7 effectuate the listing and marketing for sale of the Properties The Debtor also requests such further

 8 relief as the Court deems just and proper.

 9
               23 2022
10 DATED: June ___,                              DANNING, GILL, ISRAEL & KRASNOFF, LLP

11

12
                                                 By:
13                                                     ZEV SHECHTMAN
                                                       Attorneys for JinZheng Group (USA) LLC
14

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 1                     STATEMENT OF DISINTERESTEDNESS FOR EMPLOYMENT OF

 2                            PROFESSIONAL PERSON UNDER F.R.B.P. 2014

 3          1.      Name, address and telephone number of the professional (“the Professional”)
     submitting this Statement:
 4
                       Mark Cianciulli
 5                     The Crem Group
                       3900 W Alameda Ave Suite 1200
 6                     Burbank, CA 91505
                       (323) 347-1009
 7
              2.       The services to be rendered by the Professional in this case are (specify):
 8

 9        To list and aid the Debtor in marketing and selling multiple real properties specified in
   Addendum 1. Attached as Exhibit “2” is a copy of my Resume which describes my expertise and
10 experience.

11        3.      The terms and source of the proposed compensation and reimbursement of the
12 Professional are (specify):

13         The total commission if buyer is represented by a broker will by 5%, with 2.0% going to the
   buyer’s broker(s). The commission to the Debtor’s Brokers will then be a total of 3%, from which
14 The Crem Group will receive 1.0%. If the buyer is not represented by a broker in the transaction,
   the Debtor’s Brokers will be entitled to a total commission of 3.5%, from which The Crem Group
15 will receive 1.25%.

16
          4.      The nature and terms of retainer (i.e., nonrefundable versus an advance against fees)
17 held by the Professional are (specify):  N/A

18
           5.     The investigation of disinterestedness made by the Professional prior to submitting
19 this Statement consisted of (specify):

20        I have reviewed my files of past clients. I was never involved with any transaction on these
21 Properties.

22        6.       The following is a complete description of all of the Professional’s connections with
   the Chapter 7 trustee, the Debtor, principals of the Debtor, insiders, the Debtor’s creditors, any
23 other party or parties in interest, and their respective attorneys and accountants, or any person
   employed in the Office of the United States Trustee (specify, attaching extra pages as necessary):
24        None.
25
          7.       The Professional is not a creditor, an equity security holder or an insider of the
26 Debtor, except as follows (specify, attaching extra pages as necessary): N/A
27           8.      The Professional is not and was not an investment banker for any outstanding
     security of the Debtor.
28

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              1         9.      The Professional has not been within three (3) years before the date of the filing of
                the petition herein, an investment banker for a security of the Debtor, or an attorney for such an
              2 investment banker in connection with the offer, sale or issuance of any security of the Debtor.

              3
                        10.      The Professional is not and was not, within two (2) years before the date of the
              4 filing of the petition herein, a director, officer or employee of the Debtor or of any investment
                banker for any security of the Debtor.
              5
                        11.      The Professional neither holds nor represents any interest materially adverse to the
              6 interest of the estate or of any class of creditors or equity security holders, by reason of any direct

              7 or indirect relationship to, connection with, or interest in, the Debtor or any investment banker for
                any security of the Debtor, or for any other reason, except as follows (specify, attaching extra pages
              8 as necessary): None.

              9        12.    Name, address and telephone number of the person signing this Statement on behalf
               of the Professional and the relationship of such person to the Professional (specify):
            10                Mark Cianciulli
            11                The Crem Group
                              3900 W Alameda Ave Suite 1200
            12                Burbank, CA 91505
                              (323) 347-1009
            13
                       13.    The Professional is not a relative or employee of the United States Trustee or a
            14 Bankruptcy Judge, except as follows (specify, attaching extra pages as necessary): N/A

            15
                           14.                                                                  40
                                    Total number of attached pages of supporting documentation: ___
            16

            17          15.    After conducting or supervising the investigation described in Paragraph 5 above, I
               declare under penalty of perjury under the laws of the United States of America, that the foregoing
            18 is true and correct except that I declare that Paragraphs 6 through 11 are stated on information and
               belief.
            19
            20                                 22
                           Executed on June ___, 2022, at Los Angeles, California.
            21                                                 _________________________________
            22                                                  Mark Cianciulli

            23

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 1                     STATEMENT OF DISINTERESTEDNESS FOR EMPLOYMENT OF

 2                            PROFESSIONAL PERSON UNDER F.R.B.P. 2014

 3          1.      Name, address and telephone number of the professional (“the Professional”)
     submitting this Statement:
 4
                       Lonnie McDermott
 5
                       Marcus & Millichap
 6                     16830 Ventura Boulevard, Suite 100,
                       Encino, CA 91436
 7                     (818) 577-8904
 8            2.       The services to be rendered by the Professional in this case are (specify):
 9
          To list and aid the Debtor in marketing and selling multiple real properties specified in
10 Addendum    1. Attached as Exhibit “3” is a copy of my Resume which describes my expertise and
   experience.
11
          3.      The terms and source of the proposed compensation and reimbursement of the
12 Professional are (specify):

13
           The total commission if buyer is represented by a broker will by 5%, with 2.0% going to the
14 buyer’s  broker(s). The commission to the Debtor’s Brokers will then be a total of 3.0%, from
   which Marcus & Millichap will receive 2.0%. If the buyer is not represented by a broker in the
15 transaction, the Debtor’s Brokers will be entitled to a total commission of 3.5%, from which
   Marcus & Millichap will receive 2.25%.
16
           4.      The nature and terms of retainer (i.e., nonrefundable versus an advance against fees)
17
   held by the Professional are (specify):   N/A
18

19         5.      The investigation of disinterestedness made by the Professional prior to submitting
   this Statement consisted of (specify):
20         I have reviewed my files of past clients. I was never involved with any transaction on these
   Properties.
21
           6.      The following is a complete description of all of the Professional’s connections with
22
   the Chapter 7 trustee, the Debtor, principals of the Debtor, insiders, the Debtor’s creditors, any
23 other party or parties in interest, and their respective attorneys and accountants, or any person
   employed in the Office of the United States Trustee (specify, attaching extra pages as necessary):
24
           None.
25

26          7.     The Professional is not a creditor, an equity security holder or an insider of the
     Debtor, except as follows (specify, attaching extra pages as necessary): N/A
27
           8.      The Professional is not and was not an investment banker for any outstanding
28 security of the Debtor.

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              1
                        9.      The Professional has not been within three (3) years before the date of the filing of
              2 the petition herein, an investment banker for a security of the Debtor, or an attorney for such an
                investment banker in connection with the offer, sale or issuance of any security of the Debtor.
              3

              4         10.     The Professional is not and was not, within two (2) years before the date of the
                filing of the petition herein, a director, officer or employee of the Debtor or of any investment
              5 banker for any security of the Debtor.

              6        11.      The Professional neither holds nor represents any interest materially adverse to the
             7 interest of the estate or of any class of creditors or equity security holders, by reason of any direct
               or indirect relationship to, connection with, or interest in, the Debtor or any investment banker for
             8 any security of the Debtor, or for any other reason, except as follows (specify, attaching extra pages
               as necessary): None.
             9
                       12.      Name, address and telephone number of the person signing this Statement on behalf
            10 of the Professional and the relationship of such person to the Professional (specify):

            11                  Lonnie McDermott
                                Marcus & Millichap
            12                  16830 Ventura Boulevard, Suite 100,
                                Encino, CA 91436
            13                  (818) 577-8904
            14       13.    The Professional is not a relative or employee of the United States Trustee or a
            15 Bankruptcy Judge, except as follows (specify, attaching extra pages as necessary): N/A

            16
                           14.                                                                    40
                                    Total number of attached pages of supporting documentation: ____
            17
                        15.    After conducting or supervising the investigation described in Paragraph 5 above, I
            18 declare under penalty of perjury under the laws of the United States of America, that the foregoing
               is true and correct except that I declare that Paragraphs 6 through 11 are stated on information and
            19 belief.
            20

            21             Executed on June 23rd
                                            ___, 2022, at Los Angeles, California.

            22                                                 _________________________________
                                                               Lonnie McDermott
            23

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                         EXHIBIT "1"
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+. 6&' NH<'/ 82) 6&' J'99'/L
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       "1* I )H6< .$ &.2'-6 82) $8,/ )'89,23 82) 3..) $8,6&B
       "%* I )H6< 6. ),-%9.-' 899 $8%6- (2.72 6. 6&' 83'26 086'/,899< 8$$'%6,23 6&' 589H' ./ )'-,/81,9,6< .$ 6&' 4/.4'/6< 6&86 8/' 2.6 (2.72 6.F
           ./ 7,6&,2 6&' ),9,3'26 866'26,.2 82) .1-'/586,.2 .$F 6&' 48/6,'-B I2 83'26 ,- 2.6 .19,386') 6. /'5'89 6. ',6&'/ 48/6< 82< %.2$,)'26,89
           ,2$./086,.2 .168,2') $/.0 6&' .6&'/ 48/6< 6&86 ).'- 2.6 ,25.95' 6&' 8$$,/086,5' )H6,'- -'6 $./6& 81.5'B
K(/*)J$ ,+*-.
I NH<'/K- 83'26 %82F 7,6& 8 NH<'/K- %.2-'26F 83/'' 6. 8%6 8- 83'26 $./ 6&' NH<'/ .29<B #2 6&'-' -,6H86,.2-F 6&' 83'26 ,- 2.6 6&' J'99'/K-
83'26F '5'2 ,$ 1< 83/''0'26 6&' 83'26 08< /'%',5' %.04'2-86,.2 $./ -'/5,%'- /'2)'/')F ',6&'/ ,2 $H99 ./ ,2 48/6 $/.0 6&' J'99'/B I2 83'26
8%6,23 .29< $./ 8 NH<'/ &8- 6&' $.99.7,23 8$$,/086,5' .19,386,.2-L
+. 6&' NH<'/L I $,)H%,8/< )H6< .$ H60.-6 %8/'F ,26'3/,6<F &.2'-6< 82) 9.<896< ,2 )'89,23- 7,6& 6&' NH<'/B
+. 6&' NH<'/ 82) 6&' J'99'/L
       "8* O,9,3'26 ';'/%,-' .$ /'8-.2819' -(,99 82) %8/' ,2 4'/$./082%' .$ 6&' 83'26K- )H6,'-B
       "1* I )H6< .$ &.2'-6 82) $8,/ )'89,23 82) 3..) $8,6&B
       "%* I )H6< 6. ),-%9.-' 899 $8%6- (2.72 6. 6&' 83'26 086'/,899< 8$$'%6,23 6&' 589H' ./ )'-,/81,9,6< .$ 6&' 4/.4'/6< 6&86 8/' 2.6 (2.72 6.F
           ./ 7,6&,2 6&' ),9,3'26 866'26,.2 82) .1-'/586,.2 .$F 6&' 48/6,'-B I2 83'26 ,- 2.6 .19,386') 6. /'5'89 6. ',6&'/ 48/6< 82< %.2$,)'26,89
           ,2$./086,.2 .168,2') $/.0 6&' .6&'/ 48/6< 6&86 ).'- 2.6 ,25.95' 6&' 8$$,/086,5' )H6,'- -'6 $./6& 81.5'B
,+*-. )*1)*$*-.#-+ K'.0 $*&&*) ,-" K(/*)
I /'89 '-686' 83'26F ',6&'/ 8%6,23 ),/'%69< ./ 6&/.H3& .2' ./ 0./' -89'-4'/-.2- 82) 1/.('/ 8--.%,86'-F %82 9'3899< 1' 6&' 83'26 .$ 1.6&
6&' J'99'/ 82) 6&' NH<'/ ,2 8 6/82-8%6,.2F 1H6 .29< 7,6& 6&' (2.79')3' 82) %.2-'26 .$ 1.6& 6&' J'99'/ 82) 6&' NH<'/B
#2 8 )H89 83'2%< -,6H86,.2F 6&' 83'26 &8- 6&' $.99.7,23 8$$,/086,5' .19,386,.2- 6. 1.6& 6&' J'99'/ 82) 6&' NH<'/L
       "8* I $,)H%,8/< )H6< .$ H60.-6 %8/'F ,26'3/,6<F &.2'-6< 82) 9.<896< ,2 6&' )'89,23- 7,6& ',6&'/ 6&' J'99'/ ./ 6&' NH<'/B
       "1* P6&'/ )H6,'- 6. 6&' J'99'/ 82) 6&' NH<'/ 8- -686') 81.5' ,2 6&',/ /'-4'%6,5' -'%6,.2-B
#2 /'4/'-'26,23 1.6& J'99'/ 82) NH<'/F 8 )H89 83'26 08< 2.6F 7,6&.H6 6&' ';4/'-- 4'/0,--,.2 .$ 6&' /'-4'%6,5' 48/6<F ),-%9.-' 6. 6&'
.6&'/ 48/6< %.2$,)'26,89 ,2$./086,.2F ,2%9H),23F 1H6 2.6 9,0,6') 6.F $8%6- /'986,23 6. ',6&'/ 6&' NH<'/K- ./ J'99'/K- $,282%,89 4.-,6,.2F
0.6,586,.2-F 18/38,2,23 4.-,6,.2F ./ .6&'/ 4'/-.289 ,2$./086,.2 6&86 08< ,048%6 4/,%'F ,2%9H),23 6&' J'99'/K- 7,99,232'-- 6. 8%%'46 8 4/,%'
9'-- 6&82 6&' 9,-6,23 4/,%' ./ 6&' NH<'/K- 7,99,232'-- 6. 48< 8 4/,%' 3/'86'/ 6&82 6&' 4/,%' .$$'/')B
$*&&*) ,-" K(/*) )*$1'-$#K#&#.#*$
Q,6&'/ 6&' 4H/%&8-' 83/''0'26 ./ 8 -'48/86' ).%H0'26 7,99 %.268,2 8 %.2$,/086,.2 .$ 7&,%& 83'26 ,- /'4/'-'26,23 <.H 82) 7&'6&'/ 6&86
83'26 ,- /'4/'-'26,23 <.H ';%9H-,5'9< ,2 6&' 6/82-8%6,.2 ./ 8%6,23 8- 8 )H89 83'26B R9'8-' 48< 866'26,.2 6. 6&86 %.2$,/086,.2 6. 08(' -H/'
,6 8%%H/86'9< /'$9'%6- <.H/ H2)'/-682),23 .$ <.H/ 83'26K- /.9'B
+&' 81.5' )H6,'- .$ 6&' 83'26 ,2 8 /'89 '-686' 6/82-8%6,.2 ). 2.6 /'9,'5' 8 J'99'/ ./ NH<'/ $/.0 6&' /'-4.2-,1,9,6< 6. 4/.6'%6 &,- ./ &'/
.72 ,26'/'-6-B S.H -&.H9) %8/'$H99< /'8) 899 83/''0'26- 6. 8--H/' 6&86 6&'< 8)'TH86'9< ';4/'-- <.H/ H2)'/-682),23 .$ 6&' 6/82-8%6,.2B I
/'89 '-686' 83'26 ,- 8 4'/-.2 TH89,$,') 6. 8)5,-' 81.H6 /'89 '-686'B #$ 9'389 ./ 68; 8)5,%' ,- )'-,/')F %.2-H96 8 %.04'6'26 4/.$'--,.289B
#$ <.H 8/' 8 NH<'/F <.H &85' 6&' )H6< 6. ';'/%,-' /'8-.2819' %8/' 6. 4/.6'%6 <.H/-'9$F ,2%9H),23 8- 6. 6&.-' $8%6- 81.H6 6&' 4/.4'/6<
7&,%& 8/' (2.72 6. <.H ./ 7,6&,2 <.H/ ),9,3'26 866'26,.2 82) .1-'/586,.2B
N.6& J'99'/- 82) NH<'/- -&.H9) -6/.239< %.2-,)'/ .168,2,23 68; 8)5,%' $/.0 8 %.04'6'26 4/.$'--,.289 1'%8H-' 6&' $')'/89 82) -686' 68;
%.2-'TH'2%'- .$ 8 6/82-8%6,.2 %82 1' %.049'; 82) -H1E'%6 6. %&823'B
+&/.H3&.H6 <.H/ /'89 4/.4'/6< 6/82-8%6,.2 <.H 08< /'%',5' 0./' 6&82 .2' ),-%9.-H/' $./0F )'4'2),23 H4.2 6&' 2H01'/ .$ 83'26-
8--,-6,23 ,2 6&' 6/82-8%6,.2B +&' 987 /'TH,/'- '8%& 83'26 7,6& 7&.0 <.H &85' 0./' 6&82 8 %8-H89 /'986,.2-&,4 6. 4/'-'26 <.H 7,6& 6&,-
),-%9.-H/' $./0B S.H -&.H9) /'8) ,6- %.26'26- '8%& 6,0' ,6 ,- 4/'-'26') 6. <.HF %.2-,)'/,23 6&' /'986,.2-&,4 1'67''2 <.H 82) 6&' /'89
'-686' 83'26 ,2 <.H/ -4'%,$,% 6/82-8%6,.2B .>83 983L@A3745 MA4E 8NL@7953 =>5 O4A?838AN3 AM $5L=8AN3 HPQRCGS =A HPQRCHTF 8NL@738?5F
AM =>5 %8?8@ %A95 35= MA4=> AN OUV5 HC )5U9 8= LU45M7@@<C #IW* ,%X-'W&*"+* )*%*#1. 'D , %'1/ 'D .0#$ "#$%&'$()*
,-" .0* 1').#'-$ 'D .0* %#Y#& %'"* 1)#-.*" '- .0* $*%'-" 1,+*C

   NH<'/ C J'99'/            U82)9./)        +'2826                                                                8LQ[KHQJ 7TRWS A?3 995 O86'
   NH<'/         J'99'/      U82)9./)        +'2826                                                                                                         O86'

I3'26                                                        @KH 5>6; 7TRWS                                                                     OVQ U,%B W )+)+1+*/
                                                        V'89 Q-686' N/.('/ "M,/0*
N<                                                                                       ;DTN 5LDQFLWOOL OVQ U,%B W )*11)+..                                O86'
                                "J89'-4'/-.2 ./ N/.('/XI--.%,86'F ,$ 82<*

Y >?>CF =89,$./2,8 I--.%,86,.2 .$ VQIU+PVJZF #2%B

," )*Y#$*" GHIHG 21,+* G 'D HB

                      "#$%&'$()* )*+,)"#-+ )*,& *$.,.* ,+*-%/ )*&,.#'-$0#1 2," 1,+* G 'D HB
9B@ 2736 4JHLI& +/(( ;' 0E<F@?< 0M@& 8LCK@ )*(( 1LJ=<GD 20 /),(,                                                     R&.2'L +*+-.+,)((             M8;L               5CGNB@GA 4JHLI
6<JD 2C<G>CLEEC                         R/.)H%') 7,6& U.2' G.9$ +/82-8%6,.2- "[,4M./0 Q),6,.2* @C@ \ ]8/7..) J6F JH,6' >>??F O8998-F +^ @_>?C    777B97.9$B%.0
      Case 2:21-bk-16674-ER                             Doc 263 Filed 06/23/22 Entered 06/23/22 17:43:12                                                            Desc
                                                        Main Document     Page 16 of 57
                                %#Y#& %'"* $*%.#'-$ HPQRCGS Z HPQRCHT 2HPQRCG[ ,11*,)$ '- .0* D)'-.B
>?@ABCDB I- H-') ,2 J'%6,.2- >?@AB@ 82) >?@ABC` 6. >?@AB>`F ,2%9H-,5'F 6&' $.99.7,23 6'/0- &85' 6&' $.99.7,23 0'82,23-L
2UB aI3'26b 0'82- 8 4'/-.2 8%6,23 H2)'/ 4/.5,-,.2- .$ +,69' A "%.00'2%,23 7,6& J'%6,.2 >>A_* ,2 8 /'89 4/.4'/6< 6/82-8%6,.2F 82) ,2%9H)'- 8 4'/-.2
7&. ,- 9,%'2-') 8- 8 /'89 '-686' 1/.('/ H2)'/ =&846'/ D "%.00'2%,23 7,6& J'%6,.2 C?CD?* .$ R8/6 C .$ O,5,-,.2 ` .$ 6&' NH-,2'-- 82) R/.$'--,.2- =.)'F
82) H2)'/ 7&.-' 9,%'2-' 8 9,-6,23 ,- ';'%H6') ./ 82 .$$'/ 6. 4H/%&8-' ,- .168,2')B +&' 83'26 ,2 6&' /'89 4/.4'/6< 6/82-8%6,.2 1'8/- /'-4.2-,1,9,6< $./ 6&86
83'26K- -89'-4'/-.2- ./ 1/.('/ 8--.%,86'- 7&. 4'/$./0 8- 83'26- .$ 6&' 83'26B G&'2 8 -89'-4'/-.2 ./ 1/.('/ 8--.%,86' .7'- 8 )H6< 6. 82< 4/,2%,489F
./ 6. 82< 1H<'/ ./ -'99'/ 7&. ,- 2.6 8 4/,2%,489F ,2 8 /'89 4/.4'/6< 6/82-8%6,.2F 6&86 )H6< ,- 'TH,589'26 6. 6&' )H6< .7') 6. 6&86 48/6< 1< 6&' 1/.('/ $./ 7&.0
6&' -89'-4'/-.2 ./ 1/.('/ 8--.%,86' $H2%6,.2-B 2;B aNH<'/b 0'82- 8 6/82-$'/'' ,2 8 /'89 4/.4'/6< 6/82-8%6,.2F 82) ,2%9H)'- 8 4'/-.2 7&. ';'%H6'- 82 .$$'/
6. 4H/%&8-' /'89 4/.4'/6< $/.0 8 -'99'/ 6&/.H3& 82 83'26F ./ 7&. -''(- 6&' -'/5,%'- .$ 82 83'26 ,2 0./' 6&82 8 %8-H89F 6/82-,6./<F ./ 4/'9,0,28/< 0822'/F
7,6& 6&' .1E'%6 .$ '26'/,23 ,26. 8 /'89 4/.4'/6< 6/82-8%6,.2B aNH<'/b ,2%9H)'- 5'2)'' ./ 9'--'' .$ /'89 4/.4'/6<B 2LB a=.00'/%,89 /'89 4/.4'/6<b 0'82-
899 /'89 4/.4'/6< ,2 6&' -686'F ';%'46 "C* -,239'X$80,9< /'-,)'26,89 /'89 4/.4'/6<F ">* )7'99,23 H2,6- 08)' -H1E'%6 6. =&846'/ > "%.00'2%,23 7,6&
J'%6,.2 CA`?* .$ +,69' _F "D* 8 0.1,9'&.0'F 8- )'$,2') ,2 J'%6,.2 @AcBDF "`* 58%826 982)F ./ "_* 8 /'%/'86,.289 5'&,%9'F 8- )'$,2') ,2 J'%6,.2 @AAB>AB 29B aOH89
83'26b 0'82- 82 83'26 8%6,23F ',6&'/ ),/'%69< ./ 6&/.H3& 8 -89'-4'/-.2 ./ 1/.('/ 8--.%,86'F 8- 83'26 $./ 1.6& 6&' -'99'/ 82) 6&' 1H<'/ ,2 8 /'89 4/.4'/6<
6/82-8%6,.2B 25B aU,-6,23 83/''0'26b 0'82- 8 7/,66'2 %.26/8%6 1'67''2 8 -'99'/ .$ /'89 4/.4'/6< 82) 82 83'26F 1< 7&,%& 6&' 83'26 &8- 1''2 8H6&./,[')
6. -'99 6&' /'89 4/.4'/6< ./ 6. $,2) ./ .168,2 8 1H<'/F ,2%9H),23 /'2)'/,23 .6&'/ -'/5,%'- $./ 7&,%& 8 /'89 '-686' 9,%'2-' ,- /'TH,/') 6. 6&' -'99'/ 4H/-H826
6. 6&' 6'/0- .$ 6&' 83/''0'26B 2MB aJ'99'/K- 83'26b 0'82- 8 4'/-.2 7&. &8- .168,2') 8 9,-6,23 .$ /'89 4/.4'/6< 6. 8%6 8- 82 83'26 $./ %.04'2-86,.2B
2VB aU,-6,23 4/,%'b ,- 6&' 80.H26 ';4/'--') ,2 ).998/- -4'%,$,') ,2 6&' 9,-6,23 $./ 7&,%& 6&' -'99'/ ,- 7,99,23 6. -'99 6&' /'89 4/.4'/6< 6&/.H3& 6&' -'99'/K- 83'26B
2>B aP$$'/,23 4/,%'b ,- 6&' 80.H26 ';4/'--') ,2 ).998/- -4'%,$,') ,2 82 .$$'/ 6. 4H/%&8-' $./ 7&,%& 6&' 1H<'/ ,- 7,99,23 6. 1H< 6&' /'89 4/.4'/6<B 28B aP$$'/ 6.
4H/%&8-'b 0'82- 8 7/,66'2 %.26/8%6 ';'%H6') 1< 8 1H<'/ 8%6,23 6&/.H3& 8 1H<'/K- 83'26 6&86 1'%.0'- 6&' %.26/8%6 $./ 6&' -89' .$ 6&' /'89 4/.4'/6< H4.2
8%%'4682%' 1< 6&' -'99'/B 2\B aV'89 4/.4'/6<b 0'82- 82< '-686' -4'%,$,') 1< -H1),5,-,.2 "C* ./ ">* .$ J'%6,.2 @dC ,2 4/.4'/6<F 82) ,2%9H)'- "C* -,239'X$80,9<
/'-,)'26,89 4/.4'/6<F ">* 0H96,H2,6 /'-,)'26,89 4/.4'/6< 7,6& 0./' 6&82 $.H/ )7'99,23 H2,6-F "D* %.00'/%,89 /'89 4/.4'/6<F "`* 58%826 982)F "_* 8 3/.H2) 9'8-'
%.H49') 7,6& ,04/.5'0'26-F ./ "d* 8 082H$8%6H/') &.0' 8- )'$,2') ,2 J'%6,.2 Cc??@ .$ 6&' ]'896& 82) J8$'6< =.)'F ./ 8 0.1,9'&.0' 8- )'$,2') ,2
J'%6,.2 Cc??c .$ 6&' ]'896& 82) J8$'6< =.)'F 7&'2 .$$'/') $./ -89' ./ -.9) 6&/.H3& 82 83'26 4H/-H826 6. 6&' 8H6&./,6< %.268,2') ,2 J'%6,.2 C?CDCBd .$ 6&'
NH-,2'-- 82) R/.$'--,.2- =.)'B 2]B aV'89 4/.4'/6< 6/82-8%6,.2b 0'82- 8 6/82-8%6,.2 $./ 6&' -89' .$ /'89 4/.4'/6< ,2 7&,%& 82 83'26 ,- /'68,2') 1< 8 1H<'/F
-'99'/F ./ 1.6& 8 1H<'/ 82) -'99'/ 6. 8%6 ,2 6&86 6/82-8%6,.2F 82) ,2%9H)'- 8 9,-6,23 ./ 82 .$$'/ 6. 4H/%&8-'B 2@B aJ'99Fb a-89'Fb ./ a-.9)b /'$'/- 6. 8 6/82-8%6,.2
$./ 6&' 6/82-$'/ .$ /'89 4/.4'/6< $/.0 6&' -'99'/ 6. 6&' 1H<'/ 82) ,2%9H)'- ';%&823'- .$ /'89 4/.4'/6< 1'67''2 6&' -'99'/ 82) 1H<'/F 6/82-8%6,.2- $./ 6&'
%/'86,.2 .$ 8 /'89 4/.4'/6< -89'- %.26/8%6 7,6&,2 6&' 0'82,23 .$ J'%6,.2 >Ac_F 82) 6/82-8%6,.2- $./ 6&' %/'86,.2 .$ 8 9'8-'&.9) ';%''),23 .2' <'8/K- )H/86,.2B
2EB aJ'99'/b 0'82- 6&' 6/82-$'/./ ,2 8 /'89 4/.4'/6< 6/82-8%6,.2 82) ,2%9H)'- 82 .72'/ 7&. 9,-6- /'89 4/.4'/6< 7,6& 82 83'26F 7&'6&'/ ./ 2.6 8
6/82-$'/ /'-H96-F ./ 7&. /'%',5'- 82 .$$'/ 6. 4H/%&8-' /'89 4/.4'/6< .$ 7&,%& &' ./ -&' ,- 6&' .72'/ $/.0 82 83'26 .2 1'&89$ .$ 82.6&'/B aJ'99'/b
,2%9H)'- 1.6& 8 5'2)./ 82) 8 9'--./ .$ /'89 4/.4'/6<B 2NB aNH<'/K- 83'26b 0'82- 82 83'26 7&. /'4/'-'26- 8 1H<'/ ,2 8 /'89 4/.4'/6< 6/82-8%6,.2B
HPQRCGTC I -'99'/K- 83'26 82) 1H<'/K- 83'26 -&899 4/.5,)' 6&' -'99'/ 82) 1H<'/ ,2 8 /'89 4/.4'/6< 6/82-8%6,.2 7,6& 8 %.4< .$ 6&' ),-%9.-H/' $./0 -4'%,$,') ,2
J'%6,.2 >?@ABCdF 82) -&899 .168,2 8 -,32') 8%(2.79')30'26 .$ /'%',46 $/.0 6&86 -'99'/ 82) 1H<'/F ';%'46 8- 4/.5,)') ,2 J'%6,.2 >?@ABC_F 8- $.99.7-L 2UB
+&' -'99'/K- 83'26F ,$ 82<F -&899 4/.5,)' 6&' ),-%9.-H/' $./0 6. 6&' -'99'/ 4/,./ 6. '26'/,23 ,26. 6&' 9,-6,23 83/''0'26B 2;B +&' 1H<'/K- 83'26 -&899 4/.5,)'
6&' ),-%9.-H/' $./0 6. 6&' 1H<'/ 8- -..2 8- 4/8%6,%819' 4/,./ 6. ';'%H6,.2 .$ 6&' 1H<'/K- .$$'/ 6. 4H/%&8-'B #$ 6&' .$$'/ 6. 4H/%&8-' ,- 2.6 4/'48/') 1< 6&'
1H<'/K- 83'26F 6&' 1H<'/K- 83'26 -&899 4/'-'26 6&' ),-%9.-H/' $./0 6. 6&' 1H<'/ 2.6 986'/ 6&82 6&' 2';6 1H-,2'-- )8< 8$6'/ /'%',5,23 6&' .$$'/ 6. 4H/%&8-'
$/.0 6&' 1H<'/B
HPQRCG^C #2 82< %,/%H0-682%' ,2 7&,%& 6&' -'99'/ ./ 1H<'/ /'$H-'- 6. -,32 82 8%(2.79')30'26 .$ /'%',46 4H/-H826 6. J'%6,.2 >?@ABC`F 6&' 83'26 -&899 -'6
$./6&F -,32F 82) )86' 8 7/,66'2 )'%98/86,.2 .$ 6&' $8%6- .$ 6&' /'$H-89B
HPQRCG[ V'4/.)H%') .2 R83' C .$ 6&,- IO $./0B
HPQRCGQ2UB I- -..2 8- 4/8%6,%819'F 6&' 1H<'/K- 83'26 -&899 ),-%9.-' 6. 6&' 1H<'/ 82) -'99'/ 7&'6&'/ 6&' 83'26 ,- 8%6,23 ,2 6&' /'89 4/.4'/6< 6/82-8%6,.2 8-
6&' 1H<'/K- 83'26F ./ 8- 8 )H89 83'26 /'4/'-'26,23 1.6& 6&' 1H<'/ 82) 6&' -'99'/B +&,- /'986,.2-&,4 -&899 1' %.2$,/0') ,2 6&' %.26/8%6 6. 4H/%&8-' 82) -'99
/'89 4/.4'/6< ./ ,2 8 -'48/86' 7/,6,23 ';'%H6') ./ 8%(2.79')3') 1< 6&' -'99'/F 6&' 1H<'/F 82) 6&' 1H<'/K- 83'26 4/,./ 6. ./ %.,2%,)'26 7,6& ';'%H6,.2 .$ 6&86
%.26/8%6 1< 6&' 1H<'/ 82) 6&' -'99'/F /'-4'%6,5'9<B 2;B I- -..2 8- 4/8%6,%819'F 6&' -'99'/K- 83'26 -&899 ),-%9.-' 6. 6&' -'99'/ 7&'6&'/ 6&' -'99'/K- 83'26 ,-
8%6,23 ,2 6&' /'89 4/.4'/6< 6/82-8%6,.2 8- 6&' -'99'/K- 83'26F ./ 8- 8 )H89 83'26 /'4/'-'26,23 1.6& 6&' 1H<'/ 82) -'99'/B +&,- /'986,.2-&,4 -&899 1' %.2$,/0') ,2
6&' %.26/8%6 6. 4H/%&8-' 82) -'99 /'89 4/.4'/6< ./ ,2 8 -'48/86' 7/,6,23 ';'%H6') ./ 8%(2.79')3') 1< 6&' -'99'/ 82) 6&' -'99'/K- 83'26 4/,./ 6. ./ %.,2%,)'26
7,6& 6&' ';'%H6,.2 .$ 6&86 %.26/8%6 1< 6&' -'99'/B
=P\M#VeI+#P\L 2LB +&' %.2$,/086,.2 /'TH,/') 1< -H1),5,-,.2- "8* 82) "1* -&899 1' ,2 6&' $.99.7,23 $./0L
      J'99'/K- N/.('/83' M,/0                       OP \P+ =PeRUQ+QB JIeRUQ P\US                                               U,%'2-' \H01'/ ffffffffffffff
      #- 6&' 1/.('/ .$ "%&'%( .2'*L        6&' -'99'/g ./    1.6& 6&' 1H<'/ 82) -'99'/B ")H89 83'26*
      J'99'/K- I3'26                                OP \P+ =PeRUQ+QB JIeRUQ P\US                                               U,%'2-' \H01'/ ffffffffffffff
      #- "%&'%( .2'*L      6&' J'99'/K- I3'26B "-89'-4'/-.2 ./ 1/.('/ 8--.%,86'*         1.6& 6&' NH<'/K- 82) J'99'/K- I3'26B ")H89 83'26*
      NH<'/K- N/.('/83' M,/0                        OP \P+ =PeRUQ+QB JIeRUQ P\US                                               U,%'2-' \H01'/ ffffffffffffff
      #- 6&' 1/.('/ .$ "%&'%( .2'*L        6&' 1H<'/g ./     1.6& 6&' 1H<'/ 82) -'99'/B ")H89 83'26*
      NH<'/K- I3'26                                 OP \P+ =PeRUQ+QB JIeRUQ P\US                                               U,%'2-' \H01'/ ffffffffffffff
      #- "%&'%( .2'*L      6&' NH<'/K- I3'26B "-89'-4'/-.2 ./ 1/.('/ 8--.%,86'*          1.6& 6&' NH<'/K- 82) J'99'/K- I3'26B ")H89 83'26*
29B +&' ),-%9.-H/'- 82) %.2$,/086,.2 /'TH,/') 1< 6&,- -'%6,.2 -&899 1' ,2 8)),6,.2 6. 6&' ),-%9.-H/' /'TH,/') 1< J'%6,.2 >?@ABC`B I2 83'26K- )H6< 6. 4/.5,)'
),-%9.-H/' 82) %.2$,/086,.2 .$ /'4/'-'2686,.2 ,2 6&,- -'%6,.2 08< 1' 4'/$./0') 1< 8 /'89 '-686' -89'-4'/-.2 ./ 1/.('/ 8--.%,86' 8$$,9,86') 7,6& 6&86 1/.('/B
HPQRCG_ "V'4'89') 4H/-H826 6. INXC>cA*
HPQRCGR +&' 48<0'26 .$ %.04'2-86,.2 ./ 6&' .19,386,.2 6. 48< %.04'2-86,.2 6. 82 83'26 1< 6&' -'99'/ ./ 1H<'/ ,- 2.6 2'%'--8/,9< )'6'/0,286,5' .$ 8
48/6,%H98/ 83'2%< /'986,.2-&,4 1'67''2 82 83'26 82) 6&' -'99'/ ./ 1H<'/B I 9,-6,23 83'26 82) 8 -'99,23 83'26 08< 83/'' 6. -&8/' 82< %.04'2-86,.2 ./
%.00,--,.2 48,)F ./ 82< /,3&6 6. 82< %.04'2-86,.2 ./ %.00,--,.2 $./ 7&,%& 82 .19,386,.2 8/,-'- 8- 6&' /'-H96 .$ 8 /'89 '-686' 6/82-8%6,.2F 82) 6&' 6'/0- .$
82< -H%& 83/''0'26 -&899 2.6 2'%'--8/,9< 1' )'6'/0,286,5' .$ 8 48/6,%H98/ /'986,.2-&,4B
HPQRCHP \.6&,23 ,2 6&,- 8/6,%9' 4/'5'26- 82 83'26 $/.0 -'9'%6,23F 8- 8 %.2),6,.2 .$ 6&' 83'26K- '049.<0'26F 8 -4'%,$,% $./0 .$ 83'2%< /'986,.2-&,4 2.6
-4'%,$,%899< 4/.&,1,6') 1< 6&,- 8/6,%9' ,$ 6&' /'TH,/'0'26- .$ J'%6,.2 >?@ABC` 82) J'%6,.2 >?@ABC@ 8/' %.049,') 7,6&B
HPQRCHG 2UB I )H89 83'26 08< 2.6F 7,6&.H6 6&' ';4/'-- 4'/0,--,.2 .$ 6&' -'99'/F ),-%9.-' 6. 6&' 1H<'/ 82< %.2$,)'26,89 ,2$./086,.2 .168,2') $/.0 6&' -'99'/B
2;B I )H89 83'26 08< 2.6F 7,6&.H6 6&' ';4/'-- 4'/0,--,.2 .$ 6&' 1H<'/F ),-%9.-' 6. 6&' -'99'/ 82< %.2$,)'26,89 ,2$./086,.2 .168,2') $/.0 6&' 1H<'/B 2LB
a=.2$,)'26,89 ,2$./086,.2b 0'82- $8%6- /'986,23 6. 6&' %9,'26K- $,282%,89 4.-,6,.2F 0.6,586,.2-F 18/38,2,23 4.-,6,.2F ./ .6&'/ 4'/-.289 ,2$./086,.2 6&86 08<
,048%6 4/,%'F -H%& 8- 6&' -'99'/ ,- 7,99,23 6. 8%%'46 8 4/,%' 9'-- 6&82 6&' 9,-6,23 4/,%' ./ 6&' 1H<'/ ,- 7,99,23 6. 48< 8 4/,%' 3/'86'/ 6&82 6&' 4/,%' .$$'/')B
29B +&,- -'%6,.2 ).'- 2.6 896'/ ,2 82< 78< 6&' )H6< ./ /'-4.2-,1,9,6< .$ 8 )H89 83'26 6. 82< 4/,2%,489 7,6& /'-4'%6 6. %.2$,)'26,89 ,2$./086,.2 .6&'/ 6&82 4/,%'B
HPQRCHH \.6&,23 ,2 6&,- 8/6,%9' 4/'%9H)'- 8 -'99'/K- 83'26 $/.0 89-. 1',23 8 1H<'/K- 83'26B #$ 8 -'99'/ ./ 1H<'/ ,2 8 6/82-8%6,.2 %&..-'- 6. 2.6 1' /'4/'-'26')
1< 82 83'26F 6&86 ).'- 2.6F .$ ,6-'9$F 08(' 6&86 83'26 8 )H89 83'26B
HPQRCHS I %.26/8%6 1'67''2 6&' 4/,2%,489 82) 83'26 08< 1' 0.),$,') ./ 896'/') 6. %&823' 6&' 83'2%< /'986,.2-&,4 86 82< 6,0' 1'$./' 6&' 4'/$./082%' .$
6&' 8%6 7&,%& ,- 6&' .1E'%6 .$ 6&' 83'2%< 7,6& 6&' 7/,66'2 %.2-'26 .$ 6&' 48/6,'- 6. 6&' 83'2%< /'986,.2-&,4B
HPQRCHT \.6&,23 ,2 6&,- 8/6,%9' -&899 1' %.2-6/H') 6. ',6&'/ ),0,2,-& 6&' )H6< .$ ),-%9.-H/' .7') 1H<'/- 82) -'99'/- 1< 83'26- 82) 6&',/ 8--.%,86' 9,%'2-''-F
-H183'26-F 82) '049.<''- ./ 6. /'9,'5' 83'26- 82) 6&',/ 8--.%,86' 9,%'2-''-F -H183'26-F 82) '049.<''- $/.0 9,81,9,6< $./ 6&',/ %.2)H%6 ,2 %.22'%6,.2 7,6&
8%6- 3.5'/2') 1< 6&,- 8/6,%9' ./ $./ 82< 1/'8%& .$ 8 $,)H%,8/< )H6< ./ 8 )H6< .$ ),-%9.-H/'B
Y >?>CF =89,$./2,8 I--.%,86,.2 .$ VQIU+PVJZF #2%B h2,6') J686'- %.4</,3&6 987 "+,69' C@ hBJB =.)'* $./1,)- 6&' H28H6&./,[') ),-6/,1H6,.2F ),-498< 82) /'4/.)H%6,.2 .$ 6&,-
$./0F ./ 82< 4./6,.2 6&'/'.$F 1< 4&.6.%.4< 08%&,2' ./ 82< .6&'/ 0'82-F ,2%9H),23 $8%-,0,9' ./ %.04H6'/,[') $./086-B +]#J MPVe ]IJ NQQ\ IRRVPiQO NS +]Q
=IU#MPV\#I IJJP=#I+#P\ PM VQIU+PVJZB \P VQRVQJQ\+I+#P\ #J eIOQ IJ +P +]Q UQjIU iIU#O#+S PV I==hVI=S PM I\S RVPi#J#P\ #\ I\S JRQ=#M#=
+VI\JI=+#P\B I VQIU QJ+I+Q NVPkQV #J +]Q RQVJP\ lhIU#M#QO +P IOi#JQ P\ VQIU QJ+I+Q +VI\JI=+#P\JB #M SPh OQJ#VQ UQjIU PV +I^ IOi#=QF
=P\JhU+ I\ IRRVPRV#I+Q RVPMQJJ#P\IUB +&,- $./0 ,- 08)' 858,9819' 6. /'89 '-686' 4/.$'--,.289- 6&/.H3& 82 83/''0'26 7,6& ./ 4H/%&8-' $/.0 6&' =89,$./2,8
I--.%,86,.2 .$ VQIU+PVJZB #6 ,- 2.6 ,26'2)') 6. ,)'26,$< 6&' H-'/ 8- 8 VQIU+PVZB VQIU+PVZ ,- 8 /'3,-6'/') %.99'%6,5' 0'01'/-&,4 08/( 7&,%& 08< 1' H-') .29< 1<
0'01'/- .$ 6&' \I+#P\IU IJJP=#I+#P\ PM VQIU+PVJZ 7&. -H1-%/,1' 6. ,6- =.)' .$ Q6&,%-B
         RH19,-&') 82) O,-6/,1H6') 1<L
         VQIU QJ+I+Q NhJ#\QJJ JQVi#=QJF UU=B
         " #$%#&'&"() *+ ,-. /012345620 0774/208246 43 59018457;
         _>_ J.H6& i,/3,9 I5'2H'F U.- I23'9'-F =89,$./2,8 A??>?
," )*Y#$*" GHIHG 21,+* H 'D HB
              "#$%&'$()* )*+,)"#-+ )*,& *$.,.* ,+*-%/ )*&,.#'-$0#1 2," 1,+* H 'D HB
                               R/.)H%') 7,6& U.2' G.9$ +/82-8%6,.2- "[,4M./0 Q),6,.2* @C@ \ ]8/7..) J6F JH,6' >>??F O8998-F +^ @_>?C   777B97.9$B%.0   5CGNB@GA 4JHLI
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                                                              D,#) 0'($#-+ ` "#$%)#a#-,.#'- ,"Y#$')/
                                                                                            2%C,C)C DA4E D0",F GPIHPB

GC     *b(,& ,%%*$$ .' 0'($#-+ D') ,&&c I99 &.H-,23 ,2 =89,$./2,8 ,- 858,9819' 6. 899 4'/-.2-B O,-%/,0,286,.2 8- 2.6') 1'9.7 ,-
       4/.&,1,6') 1< 987B V'-.H/%'- 8/' 858,9819' $./ 6&.-' 7&. &85' ';4'/,'2%') H2'TH89 6/'860'26 H2)'/ 6&' 987B
HC     D*"*),& ,-" $.,.* &,W$ 1)'0#K#. "#$%)#a#-,.#'- ,+,#-$. #"*-.#D#*" 1)'.*%.*" %&,$$*$c
       ,C MQOQVIU MI#V ]PhJ#\j I=+ "aM]Ib* +,69' i### .$ 6&' =,5,9 V,3&6- I%6g `> hBJB=B mm Dd?CXDdCAg R/.&,1,6- ),-%/,0,286,.2 ,2
            -89'-F /'2689 ./ $,282%,23 .$ /'-,)'26,89 &.H-,23 838,2-6 4'/-.2- ,2 4/.6'%6') %98--'-g
       KC =IU#MPV\#I MI#V QeRUPSeQ\+ I\O ]PhJ#\j I=+ "aMQ]Ib* =89,$./2,8 j.5'/20'26 =.)' "aj=b* mmC>A??X
            C>AAdFC>A__g > =89,$./2,8 =.)' .$ V'3H986,.2- "a==Vb* mmC>??_XC>>@Cg R/.&,1,6- ),-%/,0,286,.2 ,2 -89'-F /'2689 ./ $,282%,23 .$
            &.H-,23 .44./6H2,6< 838,2-6 4'/-.2- ,2 4/.6'%6') %98--'- 1< 4/.5,)'/- .$ &.H-,23 8%%.00.)86,.2 82) $,282%,89 8--,-682%'
            -'/5,%'- 8- /'986') 6. &.H-,23g
       %C =IU#MPV\#I h\Vh] =#i#U V#j]+J I=+ "ah2/H&b* =89,$./2,8 =,5,9 =.)' "a==b* m_Cg R/.&,1,6- 1H-,2'-- '-6819,-&0'26- $/.0
            ),-%/,0,286,23 838,2-6F 82) /'TH,/'- $H99 82) 'TH89 8%%.00.)86,.2F 8)582683'-F $8%,9,6,'-F 4/,5,9'3'-F 82) -'/5,%'- 6. 4'/-.2-
            ,2 4/.6'%6') %98--'-g
       "C IeQV#=I\J G#+] O#JIN#U#+#QJ I=+ "aIOIb* `> hBJB=B mmC>CcCXC>CcAg +,69' ### .$ 6&' IOI 4/.&,1,6- ),-%/,0,286,.2 18-')
            .2 ),-81,9,6< ,2 4H19,% 8%%.00.)86,.2-g 82)
       *C P+]QV MI#V ]PhJ#\j UIGJL J'%6,.2 _?` .$ V'&81,9,686,.2 I%6 .$ CA@D >A hBJB=B m@A`g V894& =,5,9 V,3&6- I%6 == m_CB@Bg
            =89,$./2,8 O,-819') R'/-.2- I%6g == mm_`X__BD>g 82< 9.%89 %,6< ./ %.H26< $8,/ &.H-,23 ./),282%'-F 8- 8449,%819'B
SC     1'.*-.#,& &*+,& )*a*"#*$ D') (-&,WD(& "#$%)#a#-,.#'-c Y8A@U=8AN3 AM MU84 >A738NV @Ud3 EU< 4537@= 8N
       EAN5=U4< L8?8@ M8N53F 8N\7NL=8?5 45@85MF LAEO5N3U=A4< UN9IA4 O7N8=8?5 9UEUV53F UN9 U==A4N5< M553 UN9 LA3=3C
TC     1)'.*%.*" %&,$$*$I%0,),%.*)#$.#%$c G&'6&'/ -4'%,$,') ,2 M')'/89 ./ J686' 987 ./ 1.6&F ),-%/,0,286,.2 838,2-6 4'/-.2-
       ,$ 18-') .2 6&86 4'/-.2K- 1'9.23,23 6.F 8--.%,86,.2 7,6&F ./ 4'/%',5') 0'01'/-&,4 6.F 82< .$ 6&' $.99.7,23 %98--'- ./ %86'3./,'- ,-
       4/.&,1,6')B
     V8%'                            =.9./                                    I2%'-6/<                              \86,.289 P/,3,2                      V'9,3,.2
     J';                             J';H89 P/,'2686,.2                       j'2)'/                                j'2)'/ #)'26,6<                      j'2)'/ Q;4/'--,.2
                                     M80,9,89 J686H- "$80,9< 7,6& 8           J.H/%' .$ #2%.0' "'B3BF               O,-81,9,6< "e'2689 n
     e8/,689 J686H-                                                                                                                                      e'),%89 =.2),6,.2
                                     %&,9) ./ %&,9)/'2 H2)'/ Cc*              J'%6,.2 c i.H%&'/*                    R&<-,%89*

     =,6,['2-&,4                     R/,08/< U823H83'                         #00,3/86,.2 J686H-                    e,9,68/<oi'6'/82 J686H-              I3'
                 =/,0,289 ],-6./< "2.2X/'9'5826 %.25,%6,.2-*                                                               I2< 8/1,6/8/< %&8/8%6'/,-6,%
^C     .0* %,&#D')-#, "*1,).a*-. 'D )*,& *$.,.* )*b(#)*$ .),#-#-+ ,-" $(1*)Y#$#'- .' 1)*Y*-. 0'($#-+
       "#$%)#a#-,.#'- K/ )*,& *$.,.* &#%*-$**$c
       ,C =89,$./2,8 NH-,2'-- n R/.$'--,.2- =.)' "aNnR=b* mC?C@?B_"8*"`* /'TH,/'- D &.H/- .$ 6/8,2,23 .2 $8,/ &.H-,23 $./ OVQ 9,%'2-'
           /'2'789g V'89 Q-686' V'3H986,.2 m>@>_"$* /'TH,/'- 1/.('/- 7&. .5'/-'' -89'-4'/-.2- 6. 1' $80,9,8/ 7,6& 6&' /'TH,/'0'26- .$
           $')'/89 82) -686' 987- /'986,23 6. 6&' 4/.&,1,6,.2 .$ ),-%/,0,286,.2B
       KC i,.986,.2 .$ OVQ /'3H986,.2- ./ /'89 '-686' 987- 838,2-6 &.H-,23 ),-%/,0,286,.2 1< 8 /'89 '-686' 9,%'2-'' 08< /'-H96 ,2 6&' 9.--
           ./ -H-4'2-,.2 .$ 6&' 9,%'2-''K- /'89 '-686' 9,%'2-'B NnR= mC?C@@"9*"C*g C? ==V m>@c?
[C     )*,&.')e ')+,-#f,.#'-$ 1)'0#K#. "#$%)#a#-,.#'-L \IV =.)' .$ Q6&,%- I/6,%9' C? 4/.&,1,6- ),-%/,0,286,.2 ,2
       '049.<0'26 4/8%6,%'- ./ ,2 /'2)'/,23 /'89 '-686' 9,%'2-' -'/5,%'- 838,2-6 82< 4'/-.2 1'%8H-' .$ /8%'F %.9./F /'9,3,.2F -';F
       &82),%84F $80,9,89 -686H-F 286,.289 ./,3,2F -';H89 ./,'2686,.2F ./ 3'2)'/ ,)'26,6< 1< VQIU+PVJZB
QC     W0' #$ )*b(#)*" .' %'a1&/ W#.0 D,#) 0'($#-+ &,W$g
       N'9.7 ,- 8 2.2X';%9H-,5' 9,-6 .$ 4/.5,)'/- .$ &.H-,23 8%%.00.)86,.2- ./ $,282%,89 8--,-682%' -'/5,%'- 8- /'986') 6. &.H-,23 7&.
       8/' 0.-6 9,('9< 6. 1' '2%.H26'/') ,2 8 &.H-,23 6/82-8%6,.2 82) 7&. 0H-6 %.049< 7,6& $8,/ &.H-,23 987-B
             p     J'99'/-                                     p   U82)9./)-                                                  p JH19'--./-
             p     V'89 '-686' 9,%'2-''-                       p   V'89 '-686' 1/.('/83' $,/0-                                p R/.4'/6< 08283'/-
             p     e.1,9'&.0' 48/(-                            p   ].0'.72'/- I--.%,86,.2- "a]PI-b*g                          p N82(- 82) e./6383' 9'2)'/-
             p     #2-H/82%' %.0482,'-                         p   j.5'/20'26 &.H-,23 -'/5,%'-
_C     *h,a1&*$ 'D %'-"(%. .0,. a,/ -'. K* a'.#Y,.*" K/ "#$%)#a#-,.')/ #-.*-. K(. %'(&" 0,Y* ,
       "#$%)#a#-,.')/ *DD*%.c
       ,C R/,./ 6. 8%%'4682%' .$ 82 .$$'/F 8-(,23 $./ ./ .$$'/,23 1H<'/ 4'/-.289 ,2$./086,.2 ./ 9'66'/- $/.0 6&' 1H<'/F '-4'%,899< 7,6& 4&.6.-B
           +&.-' 6<4'- .$ ).%H0'26- 08< ,28)5'/6'269< /'5'89F ./ 1' 4'/%',5') 8- /'5'89,23F 4/.6'%6') -686H- ,2$./086,.2 6&'/'1< ,2%/'8-,23
           6&' /,-( .$ 28B 8%6H89 ./ H2%.2-%,.H- 1,8-F 82) 288B 4.6'26,89 9'389 %98,0- 838,2-6 -'99'/- 82) .6&'/- 1< 4/.-4'%6,5' 1H<'/- 7&.-'
           .$$'/- 7'/' /'E'%6')B
       KC V'$H-,23 6. /'26 28B 82 H44'/ 9'5'9 H2,6 6. 82 '9)'/9< 6'2826 .H6 .$ %.2%'/2 $./ 6&' 6'2826K- 81,9,6< 6. 285,386' -68,/- ./ 288B 8 &.H-'
           7,6& 8 4..9 6. 8 4'/-.2 7,6& <.H23 %&,9)/'2 .H6 .$ %.2%'/2 $./ 6&' %&,9)/'2K- -8$'6<B
RC     *h,a1&*$ 'D (-&,WD(& ') #a1)'1*) %'-"(%. K,$*" '- , 1)'.*%.*" %&,$$ ') %0,),%.*)#$.#%c
       ,C V'$H-,23 6. 2'3.6,86' $./ 8 -89'F /'2689 ./ $,282%,23 ./ .6&'/7,-' 08(' 8 &.H-,23 .44./6H2,6< H2858,9819'g $8,9,23 6. 4/'-'26 .$$'/-
           )H' 6. 8 4'/-.2K- 4/.6'%6') -686H-g
       KC V'$H-,23 ./ $8,9,23 6. -&.7F /'26F -'99 ./ $,282%' &.H-,23g a%&822'9,23b ./ a-6''/,23b 8 4/.-4'%6,5' 1H<'/ ./ 6'2826 6. ./ 878< $/.0 8
           48/6,%H98/ 8/'8 )H' 6. 6&86 4'/-.2K- 4/.6'%6') -686H- ./ 1'%8H-' .$ 6&' /8%,89F /'9,3,.H- ./ '6&2,% %.04.-,6,.2 .$ 6&' 2',3&1./&..)g
       %C aN9.%(1H-6,23b ./ %8H-,23 a482,% -'99,23b 1< ,2)H%,23 8 9,-6,23F -89' ./ /'2689 18-') .2 6&' 3/.H2)- .$ 9.-- .$ 589H' .$ 4/.4'/6<F
           ,2%/'8-' ,2 %/,0'F ./ )'%9,2' ,2 -%&..9 TH89,6< )H' 6. 6&' '26/< ./ 4/.-4'%6,5' '26/< .$ 4'.49' ,2 4/.6'%6') %86'3./,'- ,26. 6&'
           2',3&1./&..)g
       "C e8(,23 82< -686'0'26 ./ 8)5'/6,-'0'26 6&86 ,2),%86'- 82< 4/'$'/'2%'F 9,0,686,.2F ./ ),-%/,0,286,.2g
Y >?>?F =89,$./2,8 I--.%,86,.2 .$ VQIU+PVJZF #2%B
D0", GPIHP 21,+* G 'D HB
                                     D,#) 0'($#-+ ` "#$%)#a#-,.#'- ,"Y#$')/ 2D0", 1,+* G 'D HB
9B@ 2736 4JHLI& +/(( ;' 0E<F@?< 0M@& 8LCK@ )*(( 1LJ=<GD 20 /),(,                                                     R&.2'L +*+-.+,)((            M8;L                  5CGNB@GA 4JHLI
6<JD 2C<G>CLEEC                         R/.)H%') 7,6& U.2' G.9$ +/82-8%6,.2- "[,4M./0 Q),6,.2* @C@ \ ]8/7..) J6F JH,6' >>??F O8998-F +^ @_>?C   777B97.9$B%.0
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     *C #2TH,/,23 81.H6 4/.6'%6') %&8/8%6'/,-6,%- "-H%& 8- 8-(,23 6'2826 8449,%826- ,$ 6&'< 8/' 08//,')F ./ 4/.-4'%6,5' 4H/%&8-'/- ,$
        6&'< &85' %&,9)/'2 ./ 8/' 49822,23 6. -68/6 8 $80,9<*g
    DC h-,23 %/,0,289 &,-6./< ,2$./086,.2 1'$./' .6&'/7,-' 8$$,/0,23 '9,3,1,9,6<F 82) 7,6&.H6 8 9'3899< -H$$,%,'26 EH-6,$,%86,.2g
    +C M8,9,23 6. 8--'-- $,282%,89 -682)8/)- 18-') .2 6&' 4./6,.2 .$ 6&' ,2%.0' /'-4.2-,19' 1< 8 6'2826 7&. /'%',5'- 3.5'/20'26 -H1-,),'-
        "-H%& 8- 18-,23 82 .6&'/7,-' 2'H6/89 /'26 6. ,2%.0' /86,. .2 6&' 7&.9' /'26 /86&'/ 6&82 EH-6 6&' 48/6 .$ /'26 6&86 ,- 6&' 6'2826K-
        /'-4.2-,1,9,6<*g
    0C O'2<,23 8 &.0' 9.82 ./ &.0'.72'/K- ,2-H/82%'g
    #C P$$'/,23 ,2$'/,./ 6'/0-F %.2),6,.2-F 4/,5,9'3'-F $8%,9,6,'- ./ -'/5,%'-g
    iC h-,23 ),$$'/'26 TH89,$,%86,.2 %/,6'/,8 ./ 4/.%')H/'- $./ -89' ./ /'2689 .$ &.H-,23 -H%& 8- ,2%.0' -682)8/)-F 8449,%86,.2
        /'TH,/'0'26-F 8449,%86,.2 $''-F %/'),6 8289<-'-F -89' ./ /'2689 844/.589 4/.%')H/'- ./ .6&'/ /'TH,/'0'26-g
    XC ]8/8--,23 8 4'/-.2g
    &C +8(,23 82 8)5'/-' 8%6,.2 18-') .2 4/.6'%6') %&8/8%6'/,-6,%-g
    aC V'$H-,23 6. 4'/0,6 8 /'8-.2819' 0.),$,%86,.2 6. 6&' 4/'0,-'-F 8- /'TH'-6') 1< 8 4'/-.2 7,6& 8 ),-81,9,6< "-H%& 8- /'$H-,23 6.
        899.7 8 7&''9 %&8,/ 1.H2) 6'2826 6. ,2-6899F 86 6&',/ ';4'2-'F 8 /804 .5'/ $/.26 ./ /'8/ -6'4-F ./ /'$H-,23 6. 899.7 8 4&<-,%899<
        ),-819') 6'2826 $/.0 ,2-6899,23F 86 6&',/ .72 ';4'2-'F 3/81 18/- ,2 8 -&.7'/ ./ 186&6H1*g
    -C V'$H-,23 6. 08(' /'8-.2819' 8%%.00.)86,.2 ,2 4.9,%,'-F /H9'-F 4/8%6,%'-F ./ -'/5,%'- $./ 8 4'/-.2 7,6& 8 ),-81,9,6< "-H%& 8- 6&'
        $.99.7,23F ,$ 82 8%6H89 ./ 4/.-4'%6,5' 6'2826 7,6& 8 ),-81,9,6< &8- 8 -'/5,%' 82,089 ./ -H44./6 82,089*L
        28B M8,9,23 6. 899.7 6&86 4'/-.2 6. (''4 6&' -'/5,%' 82,089 ./ '0.6,.289 -H44./6 82,089 ,2 /'2689 4/.4'/6<F
        288B =&8/3,23 6&86 4'/-.2 &,3&'/ /'26 ./ ,2%/'8-') -'%H/,6< )'4.-,6F ./
        2888B M8,9,23 6. -&.7 /'2689 ./ -89' 4/.4'/6< 6. 6&86 4'/-.2 7&. ,- 8%%.0482,') 1< 6&' -'/5,%' 82,089 ./ -H44./6 82,089F 82)g
    'C V'689,86,23 $./ 8--'/6,23 /,3&6- H2)'/ $8,/ &.H-,23 987-B
GPC *h,a1&*$ 'D 1'$#.#Y* 1),%.#%*$c
    ,C V'89 '-686' 9,%'2-''- 7./(,23 7,6& 1H<'/- ./ 6'2826- -&.H9) 8449< 6&' -80' .1E'%6,5' 4/.4'/6< -'9'%6,.2 %/,6'/,8F -H%& 8-
        9.%86,.2o2',3&1./&..)F 4/.4'/6< $'86H/'-F 82) 4/,%' /823' 82) .6&'/ %.2-,)'/86,.2-F 6. 899 4/.-4'%6-B
    KC V'89 '-686' 9,%'2-''- -&.H9) 4/.5,)' %.049'6' 82) .1E'%6,5' ,2$./086,.2 6. 899 %9,'26- 18-') .2 6&' %9,'26K- -'9'%6,.2 %/,6'/,8B
    %C V'89 '-686' 9,%'2-''- -&.H9) 4/.5,)' 6&' -80' 4/.$'--,.289 %.H/6'-< ,2 /'-4.2),23 6. ,2TH,/,'-F -&8/,23 .$ ,2$./086,.2 82)
        .$$'/- .$ 8--,-682%' 6. 899 %9,'26- 82) 4/.-4'%6-B
    "C ].H-,23 4/.5,)'/- -&.H9) 2.6 08(' 82< -686'0'26 ./ 8)5'/6,-'0'26 6&86 ),/'%69< ./ ,2),/'%69< ,049,'- 4/'$'/'2%'F 9,0,686,.2F ./
        ),-%/,0,286,.2 /'38/),23 82< 4/.6'%6') %&8/8%6'/,-6,% "-H%& 8- a2. %&,9)/'2b ./ aQ239,-&X-4'8('/- .29<b*B
    *C ].H-,23 4/.5,)'/- -&.H9) H-' 8 -'9'%6,.2 4/.%'-- /'9<,23 .2 .1E'%6,5' ,2$./086,.2 81.H6 8 4/.-4'%6,5' 1H<'/K- .$$'/ ./ 6'2826K-
        8449,%86,.2 82) 2.6 -''( 82< ,2$./086,.2 6&86 08< ),-%9.-' 82< 4/.6'%6') %&8/8%6'/,-6,%- "-H%& 8- H-,23 8 -H008/< ).%H0'26F
        'B3B =BIBVB M./0 JheXePF 6. %.048/' 0H96,49' .$$'/- .2 .1E'%6,5' 6'/0-*B
GGC D,#) 0'($#-+ )*$'()%*$L #$ <.H &85' TH'-6,.2- 81.H6 <.H/ .19,386,.2- ./ /,3&6- H2)'/ 6&' M8,/ ].H-,23 987-F ./ <.H 6&,2(
    <.H &85' 1''2 ),-%/,0,286') 838,2-6F <.H 08< 7826 6. %.268%6 .2' ./ 0./' .$ 6&' -.H/%'- 9,-6') 1'9.7 6. ),-%H-- 7&86 <.H %82 ).
    81.H6 ,6F 82) 7&'6&'/ 6&' /'-.H/%' ,- 819' 6. 8--,-6 <.HB
    ,C M')'/89L >==O3cIIdddC>79CVA?IO4AV4UEjAMM8L53IMU84j>A738NVj567U@jAOO
    KC J686'L >==O3cIIdddC9M5>CLUCVA?I>A738NVI
    %C U.%89L 9.%89 M8,/ ].H-,23 =.H2%,9 .$$,%' "2.2X4/.$,6F $/'' -'/5,%'*
    "C OVQL >==O3cIIdddC945CLUCVA?I%AN37E543ID8@5%AEO@U8N=C>=E@
    *C U.%89 I--.%,86,.2 .$ VQIU+PVJZB U,-6 858,9819' 86L >==O3cIIdddCLU4CA4VI5NILAN=UL=73I4A3=543I@ALU@U33AL8U=8AN4A3=54B
    DC I2< TH89,$,') =89,$./2,8 $8,/ &.H-,23 866./2'<F ./ ,$ 8449,%819'F 982)9./)X6'2826 866./2'<B
GHC &#a#.*" *h%*1.#'-$ .' D,#) 0'($#-+ )*b(#)*a*-.$c -A O543AN 3>A7@9 45@< AN UN< 5kL5O=8AN ;5@Ad d8=>A7= M843=
    355]8NV @5VU@ U9?8L5 U;A7= d>5=>54 =>5 5kL5O=8AN UOO@853 =A =>584 38=7U=8ANC )5U@ 53=U=5 @8L5N3553 U45 NA= 67U@8M859 =A
    O4A?895 U9?8L5 AN =>5 UOO@8LU=8AN AM =>535 5kL5O=8AN3C
    ,C U'3899< %.049,826 -'2,./ &.H-,23 ,- ';'046 $/.0 M]IF MQ]I 82) h2/H& 8- /'986') 6. 83' ./ $80,9,89 -686H- .29<g
    KC I2 .72'/ .$ 8 -,239'X$80,9< /'-,)'2%' 7&. /'-,)'- 86 6&' 4/.4'/6< 7,6& .2' 9.)3'/ 08< 1' ';'046 $/.0 MQ]I $./ /'2689
        4H/4.-'-F RVPi#OQO NA 45U@ 53=U=5 @8L5N355 83 8N?A@?59 ,2 6&' /'2689g
    %C I2 .72'/ .$ 8 -,239'X$80,9< /'-,)'2%' 08< 1' ';'046 $/.0 M]I $./ -89' ./ /'2689 4H/4.-'-F RVPi#OQO 28B NA 45U@ 53=U=5
        @8L5N355 83 8N?A@?59 ,2 6&' -89' ./ /'2689 82) 288B 2. ),-%/,0,286./< 8)5'/6,-,23 ,- H-')F 82) 2888B 6&' .72'/ .72- 2. 0./' 6&82
        6&/'' -,239'X$80,9< /'-,)'2%'-B P6&'/ /'-6/,%6,.2- 8449<g
    "C I2 .72'/ .$ /'-,)'26,89 4/.4'/6< 7,6& .2' 6. $.H/ H2,6- 7&. /'-,)'- 86 6&' 4/.4'/6<F 08< 1' ';'046 $/.0 M]I $./ /'2689
        4H/4.-'-F RVPi#OQO NA 45U@ 53=U=5 @8L5N355 83 8N?A@?59 ,2 6&' /'2689g 82)
    *C N.6& M]I 82) MQ]I ). 2.6 8449< 6. /..0086' -,6H86,.2-B J''F 3"&( <*$#&=> /*$=?&@ A 5**BB",.C?*B 11/F ddd MBD) C>Cd ">?CA*B
    DC J,2%' 1.6& 6&' C`6& I0'2)0'26 .$ 6&' hBJB =.2-6,6H6,.2 82) 6&' =,5,9 V,3&6- I%6 .$ Ccdd 4/.&,1,6 ),-%/,0,286,.2 18-') .2 /8%'g
        6&' M]I 82) MQ]I ';'046,.2- ). 2.6 ';6'2) 6. ),-%/,0,286,.2 18-') .2 /8%'B
NH<'/o+'2826 82) J'99'/oU82)9./) &85' /'8)F H2)'/-682) 82) 8%(2.79')3' /'%',46 .$ 8 %.4< .$ 6&,- M8,/ ].H-,23 n O,-%/,0,286,.2 I)5,-./<B
NH<'/o+'2826                                                                                                                                  O86'
NH<'/o+'2826                                                                                                                                  O86'
J'99'/oU82)9./)                                                                                     8LQ[KHQJ 7TRWS A?3 995                    O86'
J'99'/oU82)9./)                                                                                                                               O86'
Y >?>?F =89,$./2,8 I--.%,86,.2 .$ VQIU+PVJZF #2%B h2,6') J686'- %.4</,3&6 987 "+,69' C@ hBJB =.)'* $./1,)- 6&' H28H6&./,[') ),-6/,1H6,.2F ),-498< 82) /'4/.)H%6,.2 .$ 6&,- $./0F ./
82< 4./6,.2 6&'/'.$F 1< 4&.6.%.4< 08%&,2' ./ 82< .6&'/ 0'82-F ,2%9H),23 $8%-,0,9' ./ %.04H6'/,[') $./086-B +]#J MPVe ]IJ NQQ\ IRRVPiQO NS +]Q =IU#MPV\#I
IJJP=#I+#P\ PM VQIU+PVJZB \P VQRVQJQ\+I+#P\ #J eIOQ IJ +P +]Q UQjIU iIU#O#+S PV I==hVI=S PM I\S RVPi#J#P\ #\ I\S JRQ=#M#= +VI\JI=+#P\B I
VQIU QJ+I+Q NVPkQV #J +]Q RQVJP\ lhIU#M#QO +P IOi#JQ P\ VQIU QJ+I+Q +VI\JI=+#P\JB #M SPh OQJ#VQ UQjIU PV +I^ IOi#=QF =P\JhU+ I\
IRRVPRV#I+Q RVPMQJJ#P\IUB +&,- $./0 ,- 08)' 858,9819' 6. /'89 '-686' 4/.$'--,.289- 6&/.H3& 82 83/''0'26 7,6& ./ 4H/%&8-' $/.0 6&' =89,$./2,8 I--.%,86,.2 .$
VQIU+PVJZB #6 ,- 2.6 ,26'2)') 6. ,)'26,$< 6&' H-'/ 8- 8 VQIU+PVZB VQIU+PVZ ,- 8 /'3,-6'/') %.99'%6,5' 0'01'/-&,4 08/( 7&,%& 08< 1' H-') .29< 1< 0'01'/- .$ 6&'
\I+#P\IU IJJP=#I+#P\ PM VQIU+PVJZ 7&. -H1-%/,1' 6. ,6- =.)' .$ Q6&,%-B
          RH19,-&') 82) O,-6/,1H6') 1<L
          VQIU QJ+I+Q NhJ#\QJJ JQVi#=QJF UU=B
          " #$%#&'&"() *+ ,-. /012345620 0774/208246 43 59018457;
          _>_ J.H6& i,/3,9 I5'2H'F U.- I23'9'-F =89,$./2,8 A??>?
D0", GPIHP 21,+* H 'D HB
                                   D,#) 0'($#-+ ` "#$%)#a#-,.#'- ,"Y#$')/ 2D0", 1,+* H 'D HB
                                 R/.)H%') 7,6& U.2' G.9$ +/82-8%6,.2- "[,4M./0 Q),6,.2* @C@ \ ]8/7..) J6F JH,6' >>??F O8998-F +^ @_>?C 777B97.9$B%.0   5CGNB@GA 4JHLI
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                                                 1'$$#K&* )*1)*$*-.,.#'- 'D a')* .0,- '-* K(/*)
                                                       ') $*&&*) l "#$%&'$()* ,-" %'-$*-.
                                                                                      2%C,C)C DA4E 1)K$F )5?8359 GHIHGB

I /'89 '-686' 1/.('/ "N/.('/*F 7&'6&'/ 8 %./4./86,.2F 48/62'/-&,4 ./ -.9' 4/.4/,'6./-&,4F 08< /'4/'-'26 0./' 6&82 .2' 1H<'/
./ -'99'/B +&,- 0H96,49' /'4/'-'2686,.2 %82 .%%H/ 6&/.H3& 82 ,2),5,)H89 9,%'2-') 8- 8 1/.('/ ./ -89'-4'/-.2 ./ 6&/.H3& ),$$'/'26
,2),5,)H89 1/.('/K- ./ -89'-4'/-.2- "8--.%,86' 9,%'2-''-* 8%6,23 H2)'/ 6&' N/.('/K- 9,%'2-'B +&' 8--.%,86' 9,%'2-''- 08< 1'
7./(,23 .H6 .$ 6&' -80' ./ ),$$'/'26 .$$,%' 9.%86,.2-B
a7@=8O@5 K7<543c N/.('/ ",2),5,)H899< ./ 6&/.H3& ,6- 8--.%,86' 9,%'2-''-* 08< 1' 7./(,23 7,6& 082< 4/.-4'%6,5' 1H<'/- 86
6&' -80' 6,0'B +&'-' 4/.-4'%6,5' 1H<'/- 08< &85' 82 ,26'/'-6 ,2F 82) 08(' .$$'/- .2F 6&' -80' 4/.4'/6,'-B J.0' .$ 6&'-'
4/.4'/6,'- 08< 1' 9,-6') 7,6& N/.('/ 82) -.0' 08< 2.6B N/.('/ 7,99 2.6 9,0,6 ./ /'-6/,%6 82< 48/6,%H98/ 1H<'/ $/.0 08(,23
82 .$$'/ .2 82< 48/6,%H98/ 4/.4'/6< 7&'6&'/ ./ 2.6 N/.('/ /'4/'-'26- .6&'/ 1H<'/- ,26'/'-6') ,2 6&' -80' 4/.4'/6<B
a7@=8O@5 $5@@543c N/.('/ ",2),5,)H899< ./ 6&/.H3& ,6- 8--.%,86' 9,%'2-''-* 08< &85' 9,-6,23- .2 082< 4/.4'/6,'- 86 6&' -80'
6,0'B I- 8 /'-H96F N/.('/ 7,99 866'046 6. $,2) 1H<'/- $./ '8%& .$ 6&.-' 9,-6') 4/.4'/6,'-B J.0' 9,-6') 4/.4'/6,'- 08< 844'89 6.
6&' -80' 4/.-4'%6,5' 1H<'/-B J.0' 4/.4'/6,'- 08< 866/8%6 0./' 4/.-4'%6,5' 1H<'/- 6&82 .6&'/-B J.0' .$ 6&'-' 4/.-4'%6,5'
1H<'/- 08< 1' /'4/'-'26') 1< N/.('/ 82) -.0' 08< 2.6B N/.('/ 7,99 08/('6 899 9,-6') 4/.4'/6,'- 6. 899 4/.-4'%6,5' 1H<'/-
7&'6&'/ ./ 2.6 N/.('/ &8- 82.6&'/ ./ .6&'/ 9,-6') 4/.4'/6,'- 6&86 08< 844'89 6. 6&' -80' 4/.-4'%6,5' 1H<'/-B
"7U@ ,V5NL<c #$ J'99'/ ,- /'4/'-'26') 1< N/.('/F J'99'/ 8%(2.79')3'- 6&86 1/.('/ 08< /'4/'-'26 4/.-4'%6,5' 1H<'/-
.$ J'99'/K- 4/.4'/6< 82) %.2-'26- 6. N/.('/ 8%6,23 8- 8 )H89 83'26 $./ 1.6& -'99'/ 82) 1H<'/ ,2 6&86 6/82-8%6,.2B #$ NH<'/
,- /'4/'-'26') 1< N/.('/F 1H<'/ 8%(2.79')3'- 6&86 N/.('/ 08< /'4/'-'26 -'99'/- .$ 4/.4'/6< 6&86 NH<'/ ,- ,26'/'-6') ,2
8%TH,/,23 82) %.2-'26- 6. N/.('/ 8%6,23 8- 8 )H89 83'26 $./ 1.6& 1H<'/ 82) -'99'/ 7,6& /'38/) 6. 6&86 4/.4'/6<B
#2 6&' '5'26 .$ )H89 83'2%<F -'99'/ 82) 1H<'/ 83/'' 6&86L 8 )H89 83'26 08< 2.6F 7,6&.H6 6&' ';4/'-- 4'/0,--,.2 .$ 6&'
/'-4'%6,5' 48/6<F ),-%9.-' 6. 6&' .6&'/ 48/6< %.2$,)'26,89 ,2$./086,.2F ,2%9H),23F 1H6 2.6 9,0,6') 6.F $8%6- /'986,23 6. ',6&'/ 6&'
1H<'/K- ./ -'99'/K- $,282%,89 4.-,6,.2F 0.6,586,.2-F 18/38,2,23 4.-,6,.2F ./ .6&'/ 4'/-.289 ,2$./086,.2 6&86 08< ,048%6 4/,%'F
,2%9H),23 6&' -'99'/K- 7,99,232'-- 6. 8%%'46 8 4/,%' 9'-- 6&82 6&' 9,-6,23 4/,%' ./ 6&' 1H<'/K- 7,99,232'-- 6. 48< 8 4/,%'
3/'86'/ 6&82 6&' 4/,%' .$$'/')g 82) ';%'46 8- -'6 $./6& 81.5'F 8 )H89 83'26 ,- .19,386') 6. ),-%9.-' (2.72 $8%6- 086'/,899<
8$$'%6,23 6&' 589H' ./ )'-,/81,9,6< .$ 6&' R/.4'/6< 6. 1.6& 48/6,'-B
'MM543 NA= N5L533U48@< LANM895N=8U@c NH<'/ ,- 8)5,-') 6&86 -'99'/ ./ 9,-6,23 83'26 08< ),-%9.-' 6&' ';,-6'2%'F 6'/0-F ./
%.2),6,.2- .$ 1H<'/K- .$$'/ H29'-- 899 48/6,'- 82) 6&',/ 83'26 &85' -,32') 8 7/,66'2 %.2$,)'26,89,6< 83/''0'26B G&'6&'/ 82< -H%&
,2$./086,.2 ,- 8%6H899< ),-%9.-') )'4'2)- .2 082< $8%6./-F -H%& 8- %H//'26 08/('6 %.2),6,.2-F 6&' 4/'58,9,23 4/8%6,%' ,2 6&' /'89
'-686' %.00H2,6<F 6&' 9,-6,23 83'26K- 08/('6,23 -6/86'3< 82) 6&' ,2-6/H%6,.2- .$ 6&' -'99'/B
NH<'/ 82) -'99'/ H2)'/-682) 6&86 N/.('/ 08< /'4/'-'26 0./' 6&82 .2' 1H<'/ ./ 0./' 6&82 .2' -'99'/ 82) '5'2 1.6& 1H<'/
82) -'99'/ .2 6&' -80' 6/82-8%6,.2 82) %.2-'26- 6. -H%& /'986,.2-&,4-B
$5@@54 UN9IA4 K7<54 UL]NAd@59V53 45U98NV UN9 7N9543=UN98NV =>83 1A338;@5 )5O4535N=U=8AN AM aA45 .>UN 'N5
K7<54 A4 $5@@54 l "83L@A3745 UN9 %AN35N= UN9 UV4553 =A =>5 UV5NL< OA338;8@8=853 983L@A359C

J'99'/                                                                                                             ;JNUIGNH 9QOSP A?5 <<7 O86'
J'99'/                                                                                                                                                          O86'
NH<'/                                                                                                                                                           O86'
NH<'/                                                                                                                                                           O86'
NH<'/K- N/.('/83' M,/0 @IG 7>8= 9QOSP                                                                                     OVQ U,% W                             O86'
N<                                                                                                                        OVQ U,% W                             O86'
    =CQK 7JCNEJSLLJ
J'99'/K- N/.('/83' M,/0 @IG 7>8= 9QOSP                                                                                    OVQ U,% W +-+-3-,1                    O86'
N<                                                                                                                        OVQ U,% W +,33+-00                    O86'
    =CQK 7JCNEJSLLJ
Y >?>CF =89,$./2,8 I--.%,86,.2 .$ VQIU+PVJZF #2%B h2,6') J686'- %.4</,3&6 987 "+,69' C@ hBJB =.)'* $./1,)- 6&' H28H6&./,[') ),-6/,1H6,.2F ),-498< 82) /'4/.)H%6,.2 .$ 6&,- $./0F
./ 82< 4./6,.2 6&'/'.$F 1< 4&.6.%.4< 08%&,2' ./ 82< .6&'/ 0'82-F ,2%9H),23 $8%-,0,9' ./ %.04H6'/,[') $./086-B +]#J MPVe ]IJ NQQ\ IRRVPiQO NS +]Q
=IU#MPV\#I IJJP=#I+#P\ PM VQIU+PVJZB \P VQRVQJQ\+I+#P\ #J eIOQ IJ +P +]Q UQjIU iIU#O#+S PV I==hVI=S PM I\S RVPi#J#P\ #\ I\S JRQ=#M#=
+VI\JI=+#P\B I VQIU QJ+I+Q NVPkQV #J +]Q RQVJP\ lhIU#M#QO +P IOi#JQ P\ VQIU QJ+I+Q +VI\JI=+#P\JB #M SPh OQJ#VQ UQjIU PV +I^ IOi#=QF
=P\JhU+ I\ IRRVPRV#I+Q RVPMQJJ#P\IUB +&,- $./0 ,- 08)' 858,9819' 6. /'89 '-686' 4/.$'--,.289- 6&/.H3& 82 83/''0'26 7,6& ./ 4H/%&8-' $/.0 6&' =89,$./2,8
I--.%,86,.2 .$ VQIU+PVJZB #6 ,- 2.6 ,26'2)') 6. ,)'26,$< 6&' H-'/ 8- 8 VQIU+PVZB VQIU+PVZ ,- 8 /'3,-6'/') %.99'%6,5' 0'01'/-&,4 08/( 7&,%& 08< 1' H-') .29< 1<
0'01'/- .$ 6&' \I+#P\IU IJJP=#I+#P\ PM VQIU+PVJZ 7&. -H1-%/,1' 6. ,6- =.)' .$ Q6&,%-B
          RH19,-&') 82) O,-6/,1H6') 1<L
          VQIU QJ+I+Q NhJ#\QJJ JQVi#=QJF UU=B
          " #$%#&'&"() *+ ,-. /012345620 0774/208246 43 59018457;
          _>_ J.H6& i,/3,9 I5'2H'F U.- I23'9'-F =89,$./2,8 A??>?
1)K$ )*Y#$*" GHIHG 21,+* G 'D GB

               1'$$#K&* )*1)*$*-.,.#'- 'D a')* .0,- '-* K(/*) ') $*&&*) 21)K$ 1,+* G 'D GB
9B@ 2736 4JHLI& +/(( ;' 0E<F@?< 0M@& 8LCK@ )*(( 1LJ=<GD 20 /),(,                                                     R&.2'L +*+-.+,)((            M8;L                 5CGNB@GA 4JHLI
6<JD 2C<G>CLEEC                         R/.)H%') 7,6& U.2' G.9$ +/82-8%6,.2- "[,4M./0 Q),6,.2* @C@ \ ]8/7..) J6F JH,6' >>??F O8998-F +^ @_>?C   777B97.9$B%.0
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                                                                    Y,%,-. &,-" &#$.#-+ ,+)**a*-.
                                                                                     2%C,C)C DA4E Y&&F )5?8359 [IHPB



O86' R/'48/')L June 17, 2022

GC    *h%&($#Y* ,(.0')#f,.#'-c                                      Jinzheng Group USA LLC                                                                              "qP72'/q*
      &'/'1< '049.<- 82) 3/826-                                       The CREM Group                                                                                    "qN/.('/q*
      1'3,22,23 ")86'*                              82) '2),23 86 CCL_A RBeB .2 ")86'*                                                                          "qU,-6,23 R'/,.)q*
      6&' ';%9H-,5' 82) ,//'5.%819' /,3&6 6.L X JQUUF UQIJQF Q^=]I\jQF PR+#P\F ./               P+]QV
      6&' /'89 4/.4'/6< )'-%/,1') 8-L                           Multiple Addresses; See Addendum #1                                                                            F
      -,6H86') ,2                                    "=,6<*F                           "=.H26<*F =89,$./2,8F                                                         "r,4 =.)'*F
      I--'--./K- R8/%'9 \.BL See Addendum #1 "qR/.4'/6<q*B
HC    &#$.#-+ 1)#%* ,-" .*)a$c
      ,C +&' 9,-6,23 4/,%' -&899 1'
                                                                                              O.998/- "s                                                                        *B
      KC I)),6,.289 +'/0-L Listing Price Subject to Offer.
                                                                                                                                           B
SC    %'a1*-$,.#'- .' K)'X*)c
      -A=8L5c .>5 UEA7N= A4 4U=5 AM 45U@ 53=U=5 LAEE8338AN3 83 NA= M8k59 ;< @UdC .>5< U45 35= ;< 5UL> K4A]54 8N98?897U@@< UN9
      EU< ;5 N5VA=8U;@5 ;5=d55N 'dN54 UN9 K4A]54 245U@ 53=U=5 LAEE8338AN3 8NL@795 U@@ LAEO5N3U=8AN UN9 M553 =A K4A]54BC
      ,C P72'/ 83/''- 6. 48< 6. N/.('/ 8- %.04'2-86,.2 $./ -'/5,%'- ,//'-4'%6,5' .$ 83'2%< /'986,.2-&,4"-*L X                5.000    4'/%'26
          .$ 6&' 9,-6,23 4/,%' "./ ,$ 8 4H/%&8-' 83/''0'26 ,- '26'/') ,26.F .$ 6&' %.26/8%6 4/,%'*F ./        s                              F
          I\O                                                              F 8- $.99.7-L
          2GB #$ )H/,23 6&' U,-6,23 R'/,.)F ./ 82< ';6'2-,.2F N/.('/F %..4'/86,23 1/.('/F P72'/ ./ 82< .6&'/ 4'/-.2 4/.%H/'- 8 /'8)<F 7,99,23
               82) 819' 1H<'/"-* ./ 6/82-$'/''"-* 7&.-' .$$'/ 6. 4H/%&8-'F 9'8-'F ';%&823'F .46,.2F ./ .6&'/7,-' 6/82-$'/ 6&' R/.4'/6< .2
               82< 4/,%' 82) 6'/0- ,- 8%%'46') 1< P72'/F 4/.5,)') 6&' NH<'/ ./ +/82-$'/'' %.049'6'- 6&' 6/82-8%6,.2 ./ ,- 4/'5'26') $/.0
               ).,23 -. 1< P72'/B "#6 ,- 83/'') 1< P72'/ 6&86 82< /'$'/'2%' 6. NH<'/ ./ R/.-4'%6,5' NH<'/ ,2 6&,- I3/''0'26 -&899 82)
               ).'- 89-. ,2%9H)' +/82-$'/'' ./ R/.-4'%6,5' +/82-$'/''B N/.('/ ,- '26,69') 6. %.04'2-86,.2 7&'6&'/ 82< '-%/.7 ./ .6&'/
               6/82-$'/ /'-H96,23 $/.0 -H%& .$$'/ %9.-'- )H/,23 ./ 8$6'/ 6&' ';4,/86,.2 .$ 6&' U,-6,23 R'/,.) ./ 82< ';6'2-,.2B*
      ') 2HB #$ 7,6&,2 180 %89'2)8/ )8<- "8* 8$6'/ 6&' '2) .$ 6&' U,-6,23 R'/,.) ./ 82< ';6'2-,.2g ./ "1* 8$6'/ 82< %82%'9986,.2 .$ 6&,-
               I3/''0'26F H29'-- .6&'/7,-' 83/'')F P72'/ '26'/- ,26. 8 %.26/8%6 6. -'99F %.25'<F 9'8-' ./ .6&'/7,-' 6/82-$'/ 6&' R/.4'/6< 6.
               82<.2' "aR/.-4'%6,5' NH<'/b* ./ 6&86 4'/-.2K- /'986') '26,6<L 28B 7&. 4&<-,%899< '26'/') 82) 78- -&.72 6&' R/.4'/6<
               )H/,23 6&' U,-6,23 R'/,.) ./ 82< ';6'2-,.2 1< N/.('/ ./ 8 %..4'/86,23 1/.('/g ./ 288B $./ 7&.0 N/.('/ ./ 82< %..4'/86,23
               1/.('/ -H10,66') 6. P72'/ 8 -,32')F 7/,66'2 .$$'/ 6. 8%TH,/'F 9'8-' ';%&823' ./ .168,2 82 .46,.2 .2 6&' R/.4'/6<B
               P72'/F &.7'5'/F -&899 &85' 2. .19,386,.2 6. N/.('/ H2)'/ 48/83/84& DI">* H29'--F 2.6 986'/ 6&82 6&' '2) .$ 6&' U,-6,23
               R'/,.) ./ 82< ';6'2-,.2 ./ %82%'9986,.2F N/.('/ &8- 3,5'2 P72'/ 8 7/,66'2 2.6,%' .$ 6&' 280'- .$ -H%& R/.-4'%6,5' NH<'/-B
      ') 2SB #$F 7,6&.H6 N/.('/K- 4/,./ 7/,66'2 %.2-'26F 6&' R/.4'/6< ,- 7,6&)/872 $/.0 -89'F %.25'<')F 9'8-')F /'26')F .6&'/7,-'
               6/82-$'//')F ./ 08)' H208/('6819' 1< 8 5.9H268/< 8%6 .$ P72'/ )H/,23 6&' U,-6,23 R'/,.)F ./ 82< ';6'2-,.2B
      KC #$ %.049'6,.2 .$ 6&' -89' ,- 4/'5'26') 1< 8 48/6< 6. 6&' 6/82-8%6,.2 .6&'/ 6&82 P72'/F 6&'2 %.04'2-86,.2 7&,%& .6&'/7,-'
          7.H9) &85' 1''2 '8/2') H2)'/ 48/83/84& DI -&899 1' 48<819' .29< ,$ 82) 7&'2 P72'/ %.99'%6- )8083'- 1< -H,6F 8/1,6/86,.2F
          -'669'0'26 ./ .6&'/7,-'F 82) 6&'2 ,2 82 80.H26 'TH89 6. 6&' 9'--'/ .$ .2'X&89$ .$ 6&' )8083'- /'%.5'/') ./ 6&' 81.5'
          %.04'2-86,.2F 8$6'/ $,/-6 )')H%6,23 6,69' 82) '-%/.7 ';4'2-'- 82) 6&' ';4'2-'- .$ %.99'%6,.2F ,$ 82<B
      %C #2 8)),6,.2F P72'/ 83/''- 6. 48< N/.('/L
      "C P72'/ &8- 1''2 8)5,-') .$ N/.('/K- 4.9,%< /'38/),23 %..4'/86,.2 7,6&F 82) 6&' 80.H26 .$ %.04'2-86,.2 .$$'/') 6.F .6&'/
          1/.('/-B
          2GB N/.('/ ,- 8H6&./,[') 6. %..4'/86' 7,6& 82) %.04'2-86' 1/.('/- 48/6,%,486,23 6&/.H3& 6&' 0H96,49' 9,-6,23 -'/5,%'"-* "aeUJb*
               1< .$$'/,23 6. eUJ 1/.('/- .H6 .$ N/.('/K- %.04'2-86,.2 -4'%,$,') ,2 DIF ',6&'/ X            2.000     4'/%'26 .$ 6&' 4H/%&8-'
               4/,%'F ./ s                             B
          2HB N/.('/ ,- 8H6&./,[') 6. %..4'/86' 7,6& 82) %.04'2-86' 1/.('/- .4'/86,23 .H6-,)' 6&' eUJ 8- 4'/ N/.('/K- 4.9,%<B
      *C P72'/ &'/'1< ,//'5.%819< 8--,32- 6. N/.('/ 6&' 81.5' %.04'2-86,.2 $/.0 P72'/K- $H2)- 82) 4/.%'')- ,2 '-%/.7B N/.('/
          08< -H10,6 6&,- I3/''0'26F 8- ,2-6/H%6,.2- 6. %.04'2-86' N/.('/ 4H/-H826 6. 48/83/84& DIF 6. 82< '-%/.7 /'38/),23 6&'
          R/.4'/6< ,25.95,23 P72'/ 82) 8 1H<'/F R/.-4'%6,5' NH<'/ ./ .6&'/ 6/82-$'/''B
      DC 2GB P72'/ /'4/'-'26- 6&86 P72'/ &8- 2.6 4/'5,.H-9< '26'/') ,26. 8 9,-6,23 83/''0'26 7,6& 82.6&'/ 1/.('/ /'38/),23 6&'
               R/.4'/6<F H29'-- -4'%,$,') 8- $.99.7-L                                                                                        B
          2HB P72'/ 78//826- 6&86 P72'/ &8- 2. .19,386,.2 6. 48< %.04'2-86,.2 6. 82< .6&'/ 1/.('/ /'38/),23 6&' R/.4'/6< H29'--
               6&' R/.4'/6< ,- 6/82-$'//') 6. 82< .$ 6&' $.99.7,23 ,2),5,)H89- ./ '26,6,'-L
                                                                                                                                             B
          2SB #$ 6&' R/.4'/6< ,- -.9) 6. 82<.2' 9,-6') 81.5' )H/,23 6&' 6,0' P72'/ ,- .19,386') 6. %.04'2-86' 82.6&'/ 1/.('/L
               28B N/.('/ ,- 2.6 '26,69') 6. %.04'2-86,.2 H2)'/ 6&,- I3/''0'26g 82) 288B N/.('/ ,- 2.6 .19,386') 6. /'4/'-'26 P72'/ ,2
               -H%& 6/82-8%6,.2B


Y >?>?F =89,$./2,8 I--.%,86,.2 .$ VQIU+PVJZF #2%                                                                 P72'/K- #2,6,89-      "                *   "         *

Y&& )*Y#$*" [IHP 21,+* G 'D ^B
                                              Y,%,-. &,-" &#$.#-+ ,+)**a*-. 2Y&& 1,+* G 'D ^B
The CREM Group, 3900 W. Alameda Ave, Suite 1200 Burbank CA 91505                                                     R&.2'L 3236835100            M8;L                Jinzheng Group
Mark Cianciulli                         R/.)H%') 7,6& U.2' G.9$ +/82-8%6,.2- "[,4M./0 Q),6,.2* @C@ \ ]8/7..) J6F JH,6' >>??F O8998-F +^ @_>?C   777B97.9$B%.0
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R/.4'/6< I))/'--L ;WOVLSOH 3GGTHUUHU2 ?HH 3GGHQGWP &*' '                                                    O86'L 8WQH */' +)++
TC , #.*a$ *h%&("*" ,-" #-%&("*"c h29'-- .6&'/7,-' -4'%,$,') ,2 8 /'89 '-686' 4H/%&8-' 83/''0'26F 899 $,;6H/'- 82)
         $,66,23- 6&86 8/' 8668%&') 6. 6&' R/.4'/6< 8/' ,2%9H)')F 82) 4'/-.289 4/.4'/6< ,6'0- 8/' ';%9H)')F $/.0 6&' 4H/%&8-' 4/,%'B
         ,""#.#'-,& #.*a$ *h%&("*"c                                                                                                         B
         ,""#.#'-,& #.*a$ #-%&("*"c                                                                                                       B
         P72'/ ,26'2)- 6&86 6&' 81.5' ,6'0- 1' ';%9H)') ./ ,2%9H)') ,2 .$$'/,23 6&' R/.4'/6< $./ -89'F 1H6 H2)'/-682)- 6&86g 28B 6&'
         4H/%&8-' 83/''0'26 -H4'/-')'- 82< ,26'26,.2 ';4/'--') 81.5' 82) 7,99 H96,086'9< )'6'/0,2' 7&,%& ,6'0- 8/' ';%9H)') 82)
         ,2%9H)') ,2 6&' -89'g 82) 288B N/.('/ ,- 2.6 /'-4.2-,19' $./ 82) ).'- 2.6 3H8/826'' 6&86 6&' 81.5' ';%9H-,.2- 82)o./ ,2%9H-,.2-
         7,99 1' ,2 6&' 4H/%&8-' 83/''0'26B
    KC 2GB &*,$*" ') -'. 'W-*" #.*a$c +&' $.99.7,23 ,6'0- 8/' 9'8-') ./ 2.6 .72') 1< P72'/L
              J.98/ 4.7'/ -<-6'0              G86'/ J.$6'2'/
         2HB &#*-*" #.*a$c +&' $.99.7,23 ,6'0- &85' 1''2 $,282%') 82) 8 9,'2 &8- 1''2 498%') .2 6&' R/.4'/6< 6. -'%H/' 48<0'26L
              J.98/ 4.7'/ -<-6'0
               P72'/ 7,99 4/.5,)' 6. NH<'/F 8- 48/6 .$ 6&' -89'- 83/''0'26F %.4,'- .$ 9'8-' ).%H0'26-F ./ .6&'/ ).%H0'26- .19,386,23
               P72'/ 6. 48< $./ 82< -H%& 9'8-') ./ 9,'2') ,6'0B
^C a(&.#1&* &#$.#-+ $*)Y#%*c
    ,C W0,. #$ ,- a&$g +&' eUJ ,- 8 )86818-' .$ 4/.4'/6,'- $./ -89' 6&86 ,- 858,9819' 82) ),--'0,286') 6. 82) 8%%'--,19' 1< 899
         .6&'/ /'89 '-686' 83'26- 7&. 8/' 48/6,%,4826- ./ -H1-%/,1'/- 6. 6&' eUJB I- -'6 $./6& ,2 OU4UV4UO> QF 48/6,%,4826- 82)
         -H1-%/,1'/- %.2)H%6,23 4H19,% 08/('6,23 .$ 8 4/.4'/6< 9,-6,23 0H-6 -H10,6 6&' 4/.4'/6< ,2$./086,.2 6. 6&' eUJB R/.4'/6<
         ,2$./086,.2 -H10,66') 6. 6&' eUJ )'-%/,1'- 6&' 4/,%'F 6'/0- 82) %.2),6,.2- H2)'/ 7&,%& 6&' P72'/K- 4/.4'/6< ,- .$$'/') $./
         -89' ",2%9H),23 1H6 2.6 9,0,6') 6. 6&' 9,-6,23 1/.('/K- .$$'/ .$ %.04'2-86,.2 6. .6&'/ 1/.('/-*B #6 ,- 9,('9< 6&86 8 -,32,$,%826
         2H01'/ .$ /'89 '-686' 4/8%6,6,.2'/- ,2 82< 3,5'2 8/'8 8/' 48/6,%,4826- ./ -H1-%/,1'/- 6. 6&' eUJB +&' eUJ 08< 89-. 1' 48/6
         .$ 8 /'%,4/.%89 83/''0'26 6. 7&,%& .6&'/ 0H96,49' 9,-6,23 -'/5,%'- 1'9.23B V'89 '-686' 83'26- 1'9.23,23 6. .6&'/ 0H96,49'
         9,-6,23 -'/5,%'- 6&86 &85' /'%,4/.%89 83/''0'26- 7,6& 6&' eUJ 89-. &85' 8%%'-- 6. 6&' ,2$./086,.2 -H10,66') 6. 6&' eUJB +&'
         eUJ 08< $H/6&'/ 6/82-0,6 9,-6,23 ,2$./086,.2 6. #26'/2'6 -,6'- 6&86 4.-6 4/.4'/6< 9,-6,23- .29,2'B
    KC W0,. #-D')a,.#'- #$ 1)'Y#"*" .' .0* a&$c I99 6'/0- .$ 6&' 6/82-8%6,.2F ,2%9H),23 -89'- 4/,%' 82) $,282%,23F
         ,$ 8449,%819'F 28B 7,99 1' 4/.5,)') 6. 6&' eUJ ,2 7&,%& 6&' R/.4'/6< ,- 9,-6') $./ 4H19,%86,.2F ),--'0,286,.2 82) H-' 1<
         4'/-.2- 82) '26,6,'- .2 6'/0- 844/.5') 1< 6&' eUJF 82) 288B 08< 1' 4/.5,)') 6. 6&' eUJ '5'2 ,$ 6&' R/.4'/6< 78- 2.6 9,-6')
         7,6& 6&' eUJB P72'/ %.2-'26- 6. N/.('/ 4/.5,),23 8 %.4< .$ 6&,- 9,-6,23 83/''0'26 6. 6&' eUJ ,$ /'TH,/') 1< 6&' eUJB
    %C W0,. #$ K)'X*)J$ a&$g N/.('/ ,- 8 48/6,%,4826o-H1-%/,1'/ 6.                            @KH ;9?              eH96,49' U,-6,23 J'/5,%'
         "eUJ* 82) 4.--,19< .6&'/-B +&86 eUJ ,- "./ ,$ %&'%(')         ,- 2.6* 6&' 4/,08/< eUJ $./ 6&' 3'.3/84&,% 8/'8 .$ 6&' R/.4'/6<B
         G&'2 /'TH,/') 1< 48/83/84& @ ./ 1< 6&' eUJF R/.4'/6< 7,99 1' 9,-6') 7,6& 6&' eUJ"-* -4'%,$,') 81.5'B
[C   K*-*D#.$ 'D ($#-+ .0* a&$m #a1,%. 'D '1.#-+ '(. 'D .0* a&$
     ,C *h1'$()* .' K(/*)$ .0)'(+0 a&$c U,-6,23 4/.4'/6< 7,6& 82 eUJ ';4.-'- 82 -'99'/K- 4/.4'/6< 6. 899 /'89 '-686'
        83'26- 82) 1/.('/- "82) 6&',/ 4.6'26,89 1H<'/ %9,'26-* 7&. 8/' 48/6,%,4826- ./ -H1-%/,1'/- 6. 6&' eUJ ./ 8
        /'%,4/.%86,23 eUJB +&' eUJ 08< $H/6&'/ 6/82-0,6 6&' eUJ )86818-' 6. #26'/2'6 -,6'- 6&86 4.-6 4/.4'/6< 9,-6,23- .29,2'B
     KC #a1,%. 'D '1.#-+ '(. 'D a&$c #$ P72'/ '9'%6- 6. ';%9H)' 6&' R/.4'/6< $/.0 6&' eUJF P72'/ H2)'/-682)- 82)
        8%(2.79')3'- 6&86L 28B P72'/ ,- 8H6&./,[,23 9,0,6') ';4.-H/' .$ 6&' R/.4'/6< 82) \P 08/('6,23 ./ 8)5'/6,-,23 .$ 6&'
        R/.4'/6< 6. 6&' 4H19,% 7,99 .%%H/g 288B /'89 '-686' 83'26- 82) 1/.('/- $/.0 .6&'/ /'89 '-686' .$$,%'-F 82) 6&',/ 1H<'/
        %9,'26-F 7&. &85' 8%%'-- 6. 6&86 eUJ 08< 2.6 1' 878/' 6&86 P72'/K- R/.4'/6< ,- .$$'/') $./ -89'g 2888B #2$./086,.2
        81.H6 P72'/K- R/.4'/6< 7,99 2.6 1' 6/82-0,66') $/.0 6&' eUJ 6. 58/,.H- /'89 '-686' #26'/2'6 -,6'- 6&86 8/' H-') 1< 6&'
        4H19,% 6. -'8/%& $./ 4/.4'/6< 9,-6,23- 82)g 28?B /'89 '-686' 83'26-F 1/.('/- 82) 0'01'/- .$ 6&' 4H19,% 08< 1' H2878/'
        .$ 6&' 6'/0- 82) %.2),6,.2- H2)'/ 7&,%& P72'/ ,- 08/('6,23 6&' R/.4'/6<B
     %C )*"(%.#'- #- *h1'$()*c I2< /')H%6,.2 ,2 ';4.-H/' .$ 6&' R/.4'/6< 08< 9.7'/ 6&' 2H01'/ .$ .$$'/- 82) 2'386,5'9<
        ,048%6 6&' -89'- 4/,%'B
     "C -'. &#$.#-+ 1)'1*)./ #- , &'%,& a&$c #$ 6&' R/.4'/6< ,- 9,-6') ,2 82 eUJ 7&,%& ).'- 2.6 %.5'/ 6&' 3'.3/84&,%
        8/'8 7&'/' 6&' R/.4'/6< ,- 9.%86') 6&'2 /'89 '-686' 83'26- 82) 1/.('/- 7./(,23 6&86 6'//,6./<F 82) NH<'/- 6&'<
        /'4/'-'26 9..(,23 $./ 4/.4'/6< ,2 6&' 2',3&1./&..)F 08< 2.6 1' 878/' 6&' R/.4'/6< ,- $./ -89'B

         'dN54J3 #N8=8U@3 2                     B2                    B               K4A]54J3I,V5N=J3 #N8=8U@3 2                                     B2                        B

QC   1(K&#% a,)X*.#-+ 'D 1)'1*)./c
     ,C %&*,) %''1*),.#'- 1'&#%/c eUJ /H9'- /'TH,/' " O. \P+ /'TH,/' X -'' @M* 6&86 /'-,)'26,89 /'89 4/.4'/6< 7,6& .2' 6.
        $.H/ H2,6- 82) 58%826 9.6 9,-6,23- 1' -H10,66') 6. 6&' eUJ 7,6&,2 C 1H-,2'-- )8< .$ 82< 4H19,% 08/('6,23B
     KC 1(K&#% a,)X*.#-+ W#.0#- %&*,) %''1*),.#'-c 28B 17;@8L EU4]5=8NV ,2%9H)'-F 1H6 ,- 2.6 9,0,6') 6.F $9<'/-
        ),-498<') ,2 7,2).7-F <8/) -,32-F ),3,689 08/('6,23 .2 4H19,% $8%,23 7'1-,6'-F 1/.('/83' 7'1-,6' ),-498<-F ),3,689
        %.00H2,%86,.2- 08/('6,23 82) '08,9 198-6-F 0H96,X1/.('/83' 9,-6,23 -&8/,23 2'67./(-F 08/('6,23 6. %9.-') ./ 4/,586'
        9,-6,23 %9H1- ./ 3/.H4-F 82) 8449,%86,.2- 858,9819' 6. 6&' 3'2'/89 4H19,%B 288B RH19,% 08/('6,23 ).'- 2.6 ,2%9H)' 82
        .$$,%' ';%9H-,5' 9,-6,23 7&'/' 6&'/' ,- ),/'%6 4/.0.6,.2 .$ 6&' 9,-6,23 1'67''2 6&' 1/.('/- 82) 9,%'2-''- 8$$,9,86') 7,6&
        6&' 9,-6,23 1/.('/83'F 82) .2'X6.X.2' 4/.0.6,.2 1'67''2 6&'-' 9,%'2-''- 82) 6&',/ %9,'26-B
     %C n%'a#-+ $''-o $.,.($ #a1,%. '- a,)X*.#-+c P72'/ ,- 8)5,-') 6. ),-%H-- 7,6& N/.('/ 6&' 0'82,23 .$
        a=.0,23 J..2b 8- 6&86 6'/0 8449,'- 6. 6&' eUJ ,2 7&,%& 6&' R/.4'/6< 7,99 1' 9,-6')F 82) &.7 82< =.0,23 J..2 -686H-
        7,99 ,048%6 7&'2 82) &.7 8 9,-6,23 7,99 1' 5,'7819' 6. 6&' 4H19,% 5,8 6&' eUJB P72'/ ).'- " ).'- 2.6* 8H6&./,['
        N/.('/ 6. H6,9,[' =.0,23 J..2 -686H-F ,$ 82<B
     "C 'dN54 #N3=47L=3 K4A]54c
        2GB P72'/ ,2-6/H%6- N/.('/ 6. 08/('6 6&' R/.4'/6< 6. 6&' 4H19,%F 82) 6. -68/6 08/('6,23 .2 6&' 1'3,22,23 )86' .$ 6&,-
              I3/''0'26 ./                      ")86'*B
Y&& )*Y#$*" [IHP 21,+* H 'D ^B                                                                           P72'/K- #2,6,89-         "                   *    "                    *
                                     Y,%,-. &,-" &#$.#-+ ,+)**a*-. 2Y&& 1,+* H 'D ^B
                          R/.)H%') 7,6& U.2' G.9$ +/82-8%6,.2- "[,4M./0 Q),6,.2* @C@ \ ]8/7..) J6F JH,6' >>??F O8998-F +^ @_>?C       777B97.9$B%.0            5CGNB@GA 4JHLI
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R/.4'/6< I))/'--L ;WOVLSOH 3GGTHUUHU2 ?HH 3GGHQGWP &*' '                                                          O86'L 8WQH */' +)++
    ') 2HB          P72'/ ,2-6/H%6- N/.('/ \P+ 6. 08/('6 6&' R/.4'/6< 6. 6&' 4H19,%B "eUJ 08< /'TH,/' =BIBVB M./0 JQUe ./
                9.%89 'TH,589'26 $./0* P72'/ H2)'/-682)- 6&86 2. 4H19,% 08/('6,23 7,99 .%%H/ 82) 6&' -%.4' .$ 08/('6,23 6&86
                7,99 .%%H/ 7,99 %.2-,-6 .29< .$ ),/'%6 .2'X.2X.2' 4/.0.6,.2 1'67''2 6&' 1/.('/- 82) 9,%'2-''- 8$$,9,86') 7,6& 6&'
                9,-6,23 1/.('/83' 82) 6&',/ /'-4'%6,5' %9,'26-B
    *C W>5=>54 Q"2GB A4 Q"2HB 83 35@5L=59F P72'/ H2)'/-682)- 82) 83/''- 6&86 -&.H9) 82< 4H19,% 08/('6,23 .$ 6&'
         4/.4'/6< .%%H/F 6&' R/.4'/6< 9,-6,23 7,99 1' -H10,66') 6. 6&' eUJ 7,6&,2 C 1H-,2'-- )8<B
    DC          %&*,) %''1*),.#'- 1'&#%/ "'*$ -'. ,11&/c R8/83/84&- @I ".6&'/ 6&82 6&' 9823H83' ,2 6&' 48/'26&'6,%89*F
                @NF @O 82) @Q ). 2.6 8449< 6. 6&,- 9,-6,23B N/.('/ -&899 ),-%9.-' 6. P72'/ 82) .168,2 P72'/K- %.2-'26 $./ 82<
                ,2-6/H%6,.2 6. 2.6 08/('6 6&' R/.4'/6< .2 6&' eUJ ./ 6. 6&' 4H19,%B
_C a&$ ",., '- .0* #-.*)-*.c eUJ /H9'- 899.7 eUJ )868 6. 1' 08)' 858,9819' 1< 6&' eUJ 6. 8)),6,.289 #26'/2'6 -,6'-
    H29'-- N/.('/ 3,5'- 6&' eUJ ,2-6/H%6,.2- 6. 6&' %.26/8/<B J4'%,$,% ,2$./086,.2 6&86 %82 1' ';%9H)') $/.0 6&' #26'/2'6 8-
    4'/0,66') 1< "./ ,2 8%%./)82%' 7,6&* 6&' eUJ ,- 8- $.99.7-L
    ,C 1)'1*)./ ') 1)'1*)./ ,"")*$$c P72'/ %82 ,2-6/H%6 N/.('/ 6. &85' 6&' eUJ 2.6 ),-498< 6&' R/.4'/6< ./ 6&'
         R/.4'/6< 8))/'-- .2 6&' #26'/2'6 "=BIBVB M./0 JQU#*B P72'/ H2)'/-682)- 6&86 ',6&'/ .$ 6&'-' .46X.H6- 7.H9) 0'82
         %.2-H0'/- -'8/%&,23 $./ 9,-6,23- .2 6&' #26'/2'6 08< 2.6 -'' 6&' R/.4'/6< ./ R/.4'/6<K- 8))/'-- ,2 /'-4.2-' 6. 6&',/ -'8/%&B
    KC D*,.()* '1.l'(.$c P72'/ %82 ,2-6/H%6 N/.('/ 6. 8)5,-' 6&' eUJ 6&86 P72'/ ).'- 2.6 7826 5,-,6./- 6. eUJ
         R8/6,%,4826 ./ JH1-%/,1'/ G'1-,6'- ./ Q9'%6/.2,% O,-498<- 6&86 ),-498< 6&' R/.4'/6< 9,-6,23 6. &85' 6&' $'86H/'- 1'9.7
         "=BIBVB M./0 JQU#*B P72'/ H2)'/-682)- 28B 6&86 6&'-' .46X.H6- 8449< .29< 6. G'1-,6'- ./ Q9'%6/.2,% O,-498<- .$ eUJ
         R8/6,%,4826- 82) JH1-%/,1'/- 7&. 8/' /'89 '-686' 1/.('/ 82) 83'26 0'01'/- .$ 6&' eUJg 288B 6&86 .6&'/ #26'/2'6 -,6'-
         08< ./ 08< 2.6 &85' 6&' $'86H/'- -'6 $./6& &'/',2g 82) 2888B 6&86 2',6&'/ N/.('/ 2./ 6&' eUJ 08< &85' 6&' 81,9,6< 6.
         %.26/.9 ./ 19.%( -H%& $'86H/'- .2 .6&'/ #26'/2'6 -,6'-B
         2GB %'aa*-.$ ,-" )*Y#*W$c +&' 81,9,6< 6. 7/,6' %.00'26- ./ /'5,'7- 81.H6 6&' R/.4'/6< .2 6&.-' -,6'-g ./ 6&' 81,9,6< 6.
                9,2( 6. 82.6&'/ -,6' %.268,2,23 -H%& %.00'26- ./ /'5,'7- ,$ 6&' 9,2( ,- ,2 ,00'),86' %.2EH2%6,.2 7,6& 6&' R/.4'/6< ),-498<B
         2HB ,(.'a,.*" *$.#a,.* 'D Y,&(*c +&' 81,9,6< 6. %/'86' 82 8H6.086') '-6,086' .$ 589H' ./ 6. 9,2( 6. 82.6&'/
                -,6' %.268,2,23 -H%& 82 '-6,086' .$ 589H' ,$ 6&' 9,2( ,- ,2 ,00'),86' %.2EH2%6,.2 7,6& 6&' R/.4'/6< ),-498<B
                    P72'/ '9'%6- 6. .46 .H6 .$ %'/68,2 #26'/2'6 $'86H/'- 8- 4/.5,)') 1< =BIBVB M./0 JQU# ./ 6&' 9.%89 'TH,589'26 $./0B
'''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
RC 'W-*) )*1)*$*-.,.#'-$c P72'/ /'4/'-'26- 6&86F H29'-- .6&'/7,-' -4'%,$,') ,2 7/,6,23F P72'/ ,- H2878/' .$L
    ''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
    28B 82< \.6,%' .$ O'$8H96 /'%./)') 838,2-6 6&' R/.4'/6<g 288B 82< )'9,2TH'26 80.H26- )H' H2)'/ 82< 9.82 -'%H/') 1<F ./
    ''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
    .6&'/ .19,386,.2 8$$'%6,23F 6&' R/.4'/6<g 2888B 82< 182(/H46%<F ,2-.95'2%< ./ -,0,98/ 4/.%''),23 8$$'%6,23 6&' R/.4'/6<g
    ''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
    28?B 82< 9,6,386,.2F 8/1,6/86,.2F 8)0,2,-6/86,5' 8%6,.2F 3.5'/20'26 ,25'-6,386,.2 ./ .6&'/ 4'2),23 ./ 6&/'86'2') 8%6,.2
    ''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
    6&86 8$$'%6- ./ 08< 8$$'%6 6&' R/.4'/6< ./ P72'/K- 81,9,6< 6. 6/82-$'/ ,6g 82) 2?B 82< %H//'26F 4'2),23 ./ 4/.4.-') -4'%,89
    ''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
    8--'--0'26- 8$$'%6,23 6&' R/.4'/6<B P72'/ -&899 4/.0469< 2.6,$< N/.('/ ,2 7/,6,23 ,$ P72'/ 1'%.0'- 878/' .$ 82< .$
    '''''''''''''''''''''''''''''''''''''
    6&'-' ,6'0- )H/,23 6&' U,-6,23 R'/,.) ./ 82< ';6'2-,.2 6&'/'.$B
GPC K)'X*)J$ ,-" 'W-*)J$ "(.#*$c
    ,C N/.('/ 83/''- 6. ';'/%,-' /'8-.2819' '$$./6 82) )H' ),9,3'2%' 6. 8%&,'5' 6&' 4H/4.-'- .$ 6&,- I3/''0'26B h29'--
         P72'/ 3,5'- N/.('/ 7/,66'2 ,2-6/H%6,.2- 6. 6&' %.26/8/<F N/.('/ ,- 8H6&./,[')F 1H6 2.6 /'TH,/')F 6. 28B ./)'/ /'4./6-
         82) ),-%9.-H/'- ,2%9H),23 6&.-' -4'%,$,') ,2 @= 8- 2'%'--8/<F 288B 8)5'/6,-' 82) 08/('6 6&' R/.4'/6< 1< 82< 0'6&.)
         82) ,2 82< 0'),H0 -'9'%6') 1< N/.('/F ,2%9H),23 eUJ 82) 6&' #26'/2'6F 82)F 6. 6&' ';6'26 4'/0,66') 1< 6&'-' 0'),8F
         %.26/.9 6&' ),--'0,286,.2 .$ 6&' ,2$./086,.2 -H10,66') 6. 82< 0'),H0g 82) 2888B ),-%9.-' 6. 82< /'89 '-686' 9,%'2-''
         08(,23 82 ,2TH,/< 6&' /'%',46 .$ 82< .$$'/- .2 6&' R/.4'/6< 82) 6&' .$$'/,23 4/,%' .$ -H%& .$$'/-B
    KC N/.('/ 83/''- 6. 4/'-'26 899 .$$'/- /'%',5') $./ P72'/K- R/.4'/6<F 82) 4/'-'26 6&'0 6. P72'/ 8- -..2 8- 4.--,19'F
         H29'-- P72'/ 3,5'- N/.('/ 7/,66'2 ,2-6/H%6,.2- 6. 6&' %.26/8/<B
    %C P72'/ 83/''- 6. %.2-,)'/ .$$'/- 4/'-'26') 1< N/.('/F 82) 6. 8%6 ,2 3..) $8,6& 6. 8%%.049,-& 6&' -89' .$ 6&' R/.4'/6<
         1<F 80.23 .6&'/ 6&,23-F 08(,23 6&' R/.4'/6< 858,9819' $./ -&.7,23 86 /'8-.2819' 6,0'- 82)F -H1E'%6 6. 48/83/84& DMF
         /'$'//,23 6. N/.('/ 899 ,2TH,/,'- .$ 82< 48/6< ,26'/'-6') ,2 6&' R/.4'/6<B P72'/ ,- /'-4.2-,19' $./ )'6'/0,2,23 86 7&86
         4/,%' 6. 9,-6 82) -'99 6&' R/.4'/6<B
    "C #N?53=8VU=8AN3 UN9 )5OA4=3c P72'/ 83/''-F 7,6&,2 ^ 2A4 *) B "U<3 .$ 6&' 1'3,22,23 )86' .$ 6&,- I3/''0'26F 6. 48< $./ 6&'
         $.99.7,23 4/'X-89' /'4./6-L         J6/H%6H/89 R'-6 =.26/.9   j'2'/89 R/.4'/6< #2-4'%6,.2         ].0'.72'/- I--.%,86,.2 O.%H0'26-
             P6&'/                                                                             B #$ R/.4'/6< ,- 9.%86') ,2 8 =.00.2 #26'/'-6
         O'5'9.40'26 ./ ].0'.72'/- I--.%,86,.2F P72'/ ,- 8)5,-') 6&86 6&'/' 08< 1' 1'2'$,6- 6. .168,2,23 82< /'TH,/') ).%H0'26-
         4/,./ 6. '26'/,23 ,26. '-%/.7 7,6& 82< 1H<'/B JH%& 1'2'$,6- 08< ,2%9H)'F 1H6 2.6 1' 9,0,6') 6.F 4.6'26,899< 1',23 819' 6. 9.7'/
         %.-6- ,2 .168,2,23 6&' ).%H0'26- 82) 85.,),23 82< 4.6'26,89 )'98<- ./ %.049,%86,.2- )H' 6. 986' ./ -9.7 )'9,5'/< .$ -H%& ).%H0'26-B
    *C P72'/ 83/''- 6. 4/.5,)' N/.('/ 82) 6/82-$'/''"-* 899 7/,66'2 ),-%9.-H/'-F 8- /'TH,/') 1< 987B P72'/ $H/6&'/ 83/''-
         6. ,00'),86'9< ),-%9.-' ,2 7/,6,23 82< %.2),6,.2 (2.72 6. P72'/ 6&86 8$$'%6- 6&' R/.4'/6<F ,2%9H),23F 1H6 2.6 9,0,6')
         6.F 82< 48-6 ./ %H//'26 3'2'/86,.2F -6./83'F /'9'8-'F 6&/'86'2') /'9'8-'F ),-4.-89F 82) 4/'-'2%' 82) 9.%86,.2 .$
         8-1'-6.-F R=N 6/82-$./0'/-F 4'6/.9'H0 4/.)H%6-F $9800819' ';49.-,5'-F H2)'/3/.H2) -6./83' 682(-F 82) .6&'/
         &8[8/).H-F 6.;,% ./ %.2680,286') -H1-682%'- ./ %.2),6,.2- ,2F ./F ./ 81.H6 6&' R/.4'/6<B P72'/ -&899 08,268,2 4H19,%
         9,81,9,6< 82) 4/.4'/6< )8083' ,2-H/82%' .2 6&' R/.4'/6< )H/,23 6&' U,-6,23 R'/,.) ./ 82< ';6'2-,.2B P72'/ 78,5'- 899
         -H1/.386,.2 /,3&6- H2)'/ 82< ,2-H/82%' 838,2-6 N/.('/F %..4'/86,23 1/.('/- ./ '049.<''-B
    ''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
    DC P72'/ $H/6&'/ 83/''- 6. ,2)'02,$<F )'$'2) 82) &.9) N/.('/ &8/09'-- $/.0 899 %98,0-F ),-4H6'-F 9,6,386,.2F EH)30'26-F 866./2'<
         '''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
         $''-     82) %.-6- 8/,-,23 $/.0 82< ,2%.//'%6 ./ ,2%.049'6' ,2$./086,.2 -H449,') 1< P72'/F ./ $/.0 82< 086'/,89 $8%6- 6&86
         ''''''''''''''''''''''''''''''''''''''''''''&''''''''''
         P72'/ (2.7- 1H6 $8,9- 6. ),-%9.-' ,2%9H),23 )823'/.H- ./ &,))'2 %.2),6,.2- .2 6&' R/.4'/6<B
    +C       "#$ %&'%(')* +&' 8668%&') 4/.4'/6< ),-%9.-H/'- ,- 48/6 .$ 6&,- U,-6,23 I3/''0'26 82) 08< 1' 4/.5,)') 6. R/.-4'%6,5'
         +/82-$'/''-B
GGC "*1'$#.c N/.('/ ,- 8H6&./,[') 6. 8%%'46 82) &.9) .2 P72'/K- 1'&89$ 82< )'4.-,6- 6. 1' 8449,') 6.78/) 6&' 4H/%&8-' 4/,%'B
GHC ,+*-%/ )*&,.#'-$0#1$c
    ,C O#J=UPJhVQL +&' J'99'/ 8%(2.79')3'- /'%',46 .$ 8 C qO,-%9.-H/' V'38/),23 V'89 Q-686' I3'2%< V'986,.2-&,4-q
         "=BIBVB M./0 IO*B
Y&& )*Y#$*" [IHP 21,+* S 'D ^B                                                                            P72'/K- #2,6,89-       "            *   "             *
                                     Y,%,-. &,-" &#$.#-+ ,+)**a*-. 2Y&& 1,+* S 'D ^B
                      R/.)H%') 7,6& U.2' G.9$ +/82-8%6,.2- "[,4M./0 Q),6,.2* @C@ \ ]8/7..) J6F JH,6' >>??F O8998-F +^ @_>?C   777B97.9$B%.0           5CGNB@GA 4JHLI
     Case 2:21-bk-16674-ER                         Doc 263 Filed 06/23/22 Entered 06/23/22 17:43:12                                                     Desc
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R/.4'/6< I))/'--L ;WOVLSOH 3GGTHUUHU2 ?HH 3GGHQGWP &*' '                                                      O86'L 8WQH */' +)++
    KC 'W-*) )*1)*$*-.,.#'-c N/.('/ -&899 /'4/'-'26 P72'/ ,2 82< /'-H96,23 6/82-8%6,.2F ';%'46 8- -4'%,$,') ,2
         48/83/84& DMB
    %C 1'$$#K&* "(,& ,+*-%/ W#.0 K(/*)c O'4'2),23 H4.2 6&' %,/%H0-682%'-F ,6 08< 1' 2'%'--8/< ./ 844/.4/,86'
         $./ N/.('/ 6. 8%6 8- 82 83'26 $./ 1.6& P72'/ 82) 1H<'/F ';%&823' 48/6<F ./ .2' ./ 0./' 8)),6,.289 48/6,'- "aNH<'/b*B
         N/.('/ -&899F 8- -..2 8- 4/8%6,%819'F ),-%9.-' 6. P72'/ 82< '9'%6,.2 6. 8%6 8- 8 )H89 83'26 /'4/'-'26,23 1.6& P72'/
         82) NH<'/B #$ 8 NH<'/ ,- 4/.%H/') ),/'%69< 1< N/.('/ ./ 82 8--.%,86'X9,%'2-'' ,2 N/.('/K- $,/0F P72'/ &'/'1< %.2-'26-
         6. N/.('/ 8%6,23 8- 8 )H89 83'26 $./ P72'/ 82) NH<'/B #2 6&' '5'26 .$ 82 ';%&823'F P72'/ &'/'1< %.2-'26- 6. N/.('/
         %.99'%6,23 %.04'2-86,.2 $/.0 8)),6,.289 48/6,'- $./ -'/5,%'- /'2)'/')F 4/.5,)') 6&'/' ,- ),-%9.-H/' 6. 899 48/6,'- .$
         -H%& 83'2%< 82) %.04'2-86,.2B P72'/ H2)'/-682)- 82) 83/''- 6&86L 8 )H89 83'26 08< 2.6F 7,6&.H6 6&' ';4/'--
         4'/0,--,.2 .$ 6&' /'-4'%6,5' 48/6<F ),-%9.-' 6. 6&' .6&'/ 48/6< %.2$,)'26,89 ,2$./086,.2F ,2%9H),23F 1H6 2.6 9,0,6') 6.F
         $8%6- /'986,23 6. ',6&'/ 6&' NH<'/K- ./ P72'/K- $,282%,89 4.-,6,.2F 0.6,586,.2-F 18/38,2,23 4.-,6,.2F ./ .6&'/ 4'/-.289
         ,2$./086,.2 6&86 08< ,048%6 4/,%'F ,2%9H),23 6&' P72'/K- 7,99,232'-- 6. 8%%'46 8 4/,%' 9'-- 6&82 6&' 9,-6,23 4/,%' ./
         6&' NH<'/K- 7,99,232'-- 6. 48< 8 4/,%' 3/'86'/ 6&82 6&' 4/,%' .$$'/')g 82) ';%'46 8- -'6 $./6& 81.5'F 8 )H89 83'26 ,-
         .19,386') 6. ),-%9.-' (2.72 $8%6- 086'/,899< 8$$'%6,23 6&' 589H' ./ )'-,/81,9,6< .$ 6&' R/.4'/6< 6. 1.6& 48/6,'-B
    "C %'-D#)a,.#'-c N/.('/ -&899 %.2$,/0 6&' 83'2%< /'986,.2-&,4 )'-%/,1') 81.5'F ./ 8- 0.),$,')F ,2 7/,6,23F 4/,./ 6. ./
         %.2%H//'26 7,6& P72'/K- ';'%H6,.2 .$ 8 4H/%&8-' 83/''0'26B
    *C 1A=5N=8U@@< %AEO5=8NV $5@@543 UN9 K7<543c P72'/ H2)'/-682)- 6&86 N/.('/ 08< &85' ./ .168,2 9,-6,23- .2 .6&'/ 4/.4'/6,'-F
         82) 6&86 4.6'26,89 1H<'/- 08< %.2-,)'/F 08(' .$$'/- .2F ./ 4H/%&8-' 6&/.H3& N/.('/F 4/.4'/6< 6&' -80' 8- ./ -,0,98/ 6.
         P72'/K- R/.4'/6<B P72'/ %.2-'26- 6. N/.('/K- /'4/'-'2686,.2 .$ -'99'/- 82) 1H<'/- .$ .6&'/ 4/.4'/6,'- 1'$./'F )H/,23 82) 8$6'/
         6&' '2) .$ 6&,- I3/''0'26B P72'/ 8%(2.79')3'- /'%',46 .$ 8 C aR.--,19' V'4/'-'2686,.2 .$ e./' 6&82 P2' NH<'/ ./ J'99'/ X
         O,-%9.-H/' 82) =.2-'26b "=BIBVB M./0 RVNJ*B
GSC $*%()#./F #-$(),-%*F $0'W#-+$F ,("#' ,-" Y#"*'c N/.('/ ,- 2.6 /'-4.2-,19' $./ 9.-- .$ ./ )8083' 6. 4'/-.289
    ./ /'89 4/.4'/6<F ./ 4'/-.2F 7&'6&'/ 866/,1H6819' 6. H-' .$ 8 ('<-8$'o9.%(1.;F 8 -&.7,23 .$ 6&' R/.4'/6<F ./ .6&'/7,-'B
    +&,/) 48/6,'-F ,2%9H),23F 1H6 2.6 9,0,6') 6.F 844/8,-'/-F ,2-4'%6./-F 1/.('/- 82) 4/.-4'%6,5' 1H<'/-F 08< &85' 8%%'-- 6.F
    82) 68(' 5,)'.- 82) 4&.6.3/84&- .$F 6&' ,26'/,./ .$ 6&' R/.4'/6<B P72'/ 83/''-L 28B 6. 68(' /'8-.2819' 4/'%8H6,.2- 6.
    -8$'3H8/) 82) 4/.6'%6 589H819'- 6&86 0,3&6 1' 8%%'--,19' )H/,23 -&.7,23- .$ 6&' R/.4'/6<g 288B 6. .168,2 ,2-H/82%' 6.
    4/.6'%6 838,2-6 6&'-' /,-(-B N/.('/ ).'- 2.6 08,268,2 ,2-H/82%' 6. 4/.6'%6 P72'/B R'/-.2- 5,-,6,23 6&' R/.4'/6< 08< 2.6
    1' 878/' 6&86 6&'< %.H9) 1' /'%./)') 1< 8H),. ./ 5,-H89 )'5,%'- ,2-6899') 1< P72'/ "-H%& 8- a2822< %80-b 82) &,))'2
    -'%H/,6< %80'/8-*B P72'/ ,- 8)5,-') 6. 4.-6 2.6,%' ),-%9.-,23 6&' ';,-6'2%' .$ -'%H/,6< )'5,%'-B
GTC 10'.'+),10$ ,-" #-.*)-*. ,"Y*).#$#-+c
    ,C #2 ./)'/ 6. '$$'%6,5'9< 08/('6 6&' R/.4'/6< $./ -89' ,6 ,- .$6'2 2'%'--8/< 6. 4/.5,)' 4&.6.3/84&-F ,2%9H),23 8'/,89
         4&.6.3/84&-F 5,/6H89 6.H/- 82) .6&'/ 0'),8 6. 1H<'/-B P72'/ 83/''- "./                 ,$ %&'%(')F ).'- 2.6 83/''* 6&86 N/.('/
         ./ .6&'/- 08< 4&.6.3/84& ./ .6&'/7,-' '9'%6/.2,%899< %846H/' ,083'- .$ 6&' ';6'/,./ 82) ,26'/,./ .$ 6&' R/.4'/6<
         "a#083'-b* $./ -686,% 82)o./ 5,/6H89 6.H/- .$ 6&' R/.4'/6< 1< 1H<'/- 82) .6&'/- $./ H-' .2 N/.('/K- 7'1-,6'F 6&' eUJF
         82) .6&'/ 08/('6,23 086'/,89- 82) -,6'-B P72'/ 8%(2.79')3'- 6&86 ,$ N/.('/ '2383'- 6&,/) 48/6,'- 6. %846H/' 82)o./
         /'4/.)H%' 82) ),-498< #083'-F 6&' 83/''0'26 1'67''2 N/.('/ 82) 6&.-' 6&,/) 48/6,'- 08< 4/.5,)' -H%& 6&,/) 48/6,'-
         7,6& %'/68,2 /,3&6- 6. 6&.-' #083'-B +&' /,3&6- 6. 6&' #083'- 08< ,048%6 N/.('/K- %.26/.9 ./ 98%( .$ %.26/.9 .$ $H6H/'
         H-' .$ 6&' #083'-B #$ P72'/ ,- %.2%'/2')F P72'/ -&.H9) /'TH'-6 6&86 N/.('/ 4/.5,)' 82< 6&,/) 48/6,'-K 83/''0'26
         ,048%6,23 6&' #083'-B P72'/ 89-. 8%(2.79')3'- 6&86 .2%' #083'- 8/' 498%') .2 6&' #26'/2'6 2',6&'/ N/.('/ 2./
         P72'/ &8- %.26/.9 .5'/ 7&. %82 5,'7 -H%& #083'- 82) 7&86 H-' 5,'7'/- 08< 08(' .$ 6&' #083'-F ./ &.7 9.23
         -H%& #083'- 08< /'08,2 858,9819' .2 6&' #26'/2'6B P72'/ $H/6&'/ 8--,32- 82< /,3&6- ,2 899 #083'- 6. 6&' N/.('/o
         I3'26 82) 83/''- 6&86 -H%& #083'- 8/' 6&' 4/.4'/6< .$ N/.('/oI3'26 82) 6&86 N/.('/oI3'26 08< H-' -H%& #083'- $./
         8)5'/6,-,23F ,2%9H),23 4.-6 -89' 82) $./ N/.('/oI3'26K- 1H-,2'-- ,2 6&' $H6H/'B
    KC P72'/ 8%(2.79')3'- 6&86 4/.-4'%6,5' 1H<'/- 82)o./ .6&'/ 4'/-.2- %.0,23 .26. 6&' 4/.4'/6< 08< 68(' 4&.6.3/84&-F
         5,)'.- ./ .6&'/ ,083'- .$ 6&' 4/.4'/6<B P72'/ H2)'/-682)- 6&86 N/.('/ ).'- 2.6 &85' 6&' 81,9,6< 6. %.26/.9 ./ 19.%(
         6&' 68(,23 82) H-' .$ #083'- 1< 82< -H%& 4'/-.2-B "#$ %&'%(')*             P72'/ ,2-6/H%6- N/.('/ 6. 4H19,-& ,2 6&' eUJ 6&86
         68(,23 .$ #083'- ,- 9,0,6') 6. 6&.-' 4'/-.2- 4/'48/,23 I44/8,-89 ./ #2-4'%6,.2 /'4./6-B P72'/ 8%(2.79')3'- 6&86
         H28H6&./,[') 4'/-.2- 08< 68(' ,083'- 7&. ). 2.6 &85' 8%%'-- 6. ./ &85' 2.6 /'8) 82< 9,0,6,23 ,2-6/H%6,.2 ,2 6&' eUJ
         ./ 7&. 68(' ,083'- /'38/)9'-- .$ 82< 9,0,6,23 ,2-6/H%6,.2 ,2 6&' eUJB P2%' #083'- 8/' 68('2 82)o./ 4H6 ,26. '9'%6/.2,%
         ),-498< .2 6&' #26'/2'6 ./ .6&'/7,-'F 2',6&'/ N/.('/ 2./ P72'/ &8- %.26/.9 .5'/ 7&. 5,'7- -H%& #083'- 2./ 7&86 H-'
         5,'7'/- 08< 08(' .$ 6&' #083'-B
G^C X*/$,D*I&'%XK'hc I ('< -8$'o9.%(1.; ,- )'-,32') 6. &.9) 8 ('< 6. 6&' R/.4'/6< 6. 4'/0,6 8%%'-- 6. 6&' R/.4'/6< 1<
    N/.('/F %..4'/86,23 1/.('/-F eUJ 48/6,%,4826-F 6&',/ 8H6&./,[') 9,%'2-''- 82) /'4/'-'2686,5'-F 8H6&./,[') ,2-4'%6./-F
    82) 8%%.0482,') 4/.-4'%6,5' 1H<'/-B P72'/ $H/6&'/ 83/''- 6&86 N/.('/F 86 N/.('/K- ),-%/'6,.2F 82) 7,6&.H6 $H/6&'/
    844/.589 $/.0 P72'/F -&899 &85' 6&' /,3&6 6. 3/826 8%%'-- 6. 82) %.25'< P72'/K- %.2-'26 6. 8%%'-- 6&' R/.4'/6< 6.
    ,2-4'%6./-F 844/8,-'/-F 7./('/-F /'48,/ 4'/-.2-F 82) .6&'/ 4'/-.2- /'TH,/,23 '26/< 6. 6&' R/.4'/6< ,2 ./)'/ 6. $8%,9,686'
    6&' -89' .$ 6&' R/.4'/6<B N/.('/F %..4'/86,23 1/.('/-F eUJ 82) I--.%,86,.2-oN.8/)- .$ VQIU+PVJZ 8/' 2.6 ,2-H/'/-
    838,2-6 ,2EH/<F 6&'$6F 9.--F 582)89,-0 ./ )8083' 866/,1H6') 6. 6&' H-' .$ 8 ('< -8$'o9.%(1.;B P72'/ ).'- "./ ,$ %&'%(')       ).'- 2.6*
    8H6&./,[' N/.('/ 6. ,2-6899 8 ('< -8$'o9.%(1.;B #$ P72'/ ).'- 2.6 .%%H4< 6&' R/.4'/6<F P72'/ -&899 1' /'-4.2-,19' $./ .168,2,23
    .%%H4826"-*K 7/,66'2 4'/0,--,.2 $./ H-' .$ 8 ('< -8$'o9.%(1.; "=BIBVB M./0 kUI*B
G[C $#+-c P72'/ ).'- "./ ,$ %&'%(') ).'- 2.6* 8H6&./,[' N/.('/ 6. ,2-6899 8 MPV JIUQoJPUO -,32 .2 6&' R/.4'/6<B
GQC *b(,& 0'($#-+ '11').(-#./c +&' R/.4'/6< ,- .$$'/') ,2 %.049,82%' 7,6& $')'/89F -686' 82) 9.%89 826,X),-%/,0,286,.2 987-B
G_C ,..')-*/ D**$c #2 82< 8%6,.2F 4/.%''),23 ./ 8/1,6/86,.2 1'67''2 P72'/ 82) N/.('/ 6. '2$./%' 6&' %.04'2-86,.2 4/.5,-,.2- .$ 6&,-
    I3/''0'26F 6&' 4/'58,9,23 P72'/ ./ N/.('/ -&899 1' '26,69') 6. /'8-.2819' 866./2'< $''- 82) %.-6- $/.0 6&' 2.2X4/'58,9,23 P72'/ ./
    N/.('/F ';%'46 8- 4/.5,)') ,2 48/83/84& >>IB
GRC ,""#.#'-,& .*)a$c             VQP I)5,-./< U,-6,23 "=BIBVB M./0 VQPU*        J&./6 J89' #2$./086,.2 82) I)5,-./< "=BIBVB M./0 JJ#I*
       +/H-6 I)5,-./< "=BIBVB M./0 +I*
       P72'/ ,26'2)- 6. ,2%9H)' 8 %.26,23'2%< 6. 4H/%&8-' 8 /'498%'0'26 4/.4'/6< 8- 48/6 .$ 82< /'-H96,23 6/82-8%6,.2
    9LUVLQJ 3JTHHPHQV VR EH LQFOWGHG YLVK VKH UDOH RI STRSHTVLHU OLUVHG LQ 3GGHQGWP &*
    ?HOOHT GLUFORUHU VKHTH LU D EDQNTWSVFZ VKDV LU DIIHFVLQJ VKH STRSHTVZ(
    ?HH DGGLVLRQDO VHTPU RQ 3GGHQGWP &+(
Y&& )*Y#$*" [IHP 21,+* T 'D ^B                                                      P72'/K- #2,6,89- "            * "           *
                                     Y,%,-. &,-" &#$.#-+ ,+)**a*-. 2Y&& 1,+* T 'D ^B
                      R/.)H%') 7,6& U.2' G.9$ +/82-8%6,.2- "[,4M./0 Q),6,.2* @C@ \ ]8/7..) J6F JH,6' >>??F O8998-F +^ @_>?C   777B97.9$B%.0   5CGNB@GA 4JHLI
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R/.4'/6< I))/'--L ;WOVLSOH 3GGTHUUHU2 ?HH 3GGHQGWP &*' '                                              O86'L 8WQH */' +)++
HPC a,-,+*a*-. ,11)'Y,&c #$ 82 8--.%,86'X9,%'2-'' ,2 N/.('/K- .$$,%' "-89'-4'/-.2 ./ 1/.('/X8--.%,86'* '26'/- ,26.
    6&,- I3/''0'26 .2 N/.('/K- 1'&89$F 82) N/.('/ ./ e8283'/ ).'- 2.6 844/.5' .$ ,6- 6'/0-F N/.('/ ./ e8283'/ &8- 6&'
    /,3&6 6. %82%'9 6&,- I3/''0'26F ,2 7/,6,23F 7,6&,2 _ O8<- 8$6'/ ,6- ';'%H6,.2B
HGC $(%%*$$')$ ,-" ,$$#+-$c +&,- I3/''0'26 -&899 1' 1,2),23 H4.2 P72'/ 82) P72'/K- -H%%'--./- 82) 8--,32-B
''''''''''''''''''
HHC "#$1(.* )*$'&(.#'-c
    ''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
    ,C a*"#,.#'-c P72'/ 82) N/.('/ 83/'' 6. 0'),86' 82< ),-4H6' ./ %98,0 8/,-,23 1'67''2 6&'0 /'38/),23 6&' .19,386,.2
         '''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
         6. 48< %.04'2-86,.2 H2)'/ 6&,- I3/''0'26F 1'$./' /'-./6,23 6. 8/1,6/86,.2 ./ %.H/6 8%6,.2B e'),86,.2 $''-F ,$ 82<F
         '''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
         -&899 1' ),5,)') 'TH899< 80.23 6&' 48/6,'- ,25.95')B #$F $./ 82< ),-4H6' ./ %98,0 6. 7&,%& 6&,- 48/83/84& 8449,'-F
         '''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
         82< 48/6< 28B %.00'2%'- 82 8%6,.2 7,6&.H6 $,/-6 866'046,23 6. /'-.95' 6&' 0866'/ 6&/.H3& 0'),86,.2F ./ 288B 1'$./'
         '''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
         %.00'2%'0'26 .$ 82 8%6,.2F /'$H-'- 6. 0'),86' 8$6'/ 8 /'TH'-6 &8- 1''2 08)'F 6&'2 6&86 48/6< -&899 2.6 1' '26,69')
         '''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
         6. /'%.5'/ 866./2'< $''-F '5'2 ,$ 6&'< 7.H9) .6&'/7,-' 1' 858,9819' 6. 6&86 48/6< ,2 82< -H%& 8%6,.2B Q;%9H-,.2- $/.0
         ''''''''''''''''''''''''''''''''''
         6&,- 0'),86,.2 83/''0'26 8/' -4'%,$,') ,2 48/83/84& >>NB
    ''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
    KC ,""#.#'-,& a*"#,.#'- .*)a$c .>5 MA@@Ad8NV EU==543 3>U@@ ;5 5kL@7959 M4AE E598U=8ANc 28B U \798L8U@ A4
         '''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
         NANl\798L8U@ MA45L@A3745 A4 A=>54 UL=8AN A4 O4AL5598NV =A 5NMA4L5 U 9559 AM =473=F EA4=VUV5 A4 8N3=U@@E5N=
         '''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
         @UN9 3U@5 LAN=4UL= U3 95M8N59 8N %8?8@ %A95 pHR_^m 288B UN 7N@UdM7@ 95=U8N54 UL=8ANm 2888B =>5 M8@8NV A4
         '''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
         5NMA4L5E5N= AM U E5L>UN8LJ3 @85Nm UN9 28?B UN< EU==54 =>U= 83 d8=>8N =>5 \748398L=8AN AM U O4A;U=5F 3EU@@
         '''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
         L@U8E3 A4 ;UN]47O=L< LA74=C .>5 M8@8NV AM U LA74= UL=8AN =A 5NU;@5 =>5 45LA498NV AM U NA=8L5 AM O5N98NV
         ''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
         UL=8ANF MA4 A4954 AM U==UL>E5N=F 45L58?543>8OF 8N\7NL=8ANF A4 A=>54 O4A?838ANU@ 45E59853F 3>U@@ NA= LAN3=8=7=5
         '''''''''''''''''''''''''''''''
         '
         U dU8?54 A4 ?8A@U=8AN AM =>5 E598U=8AN O4A?838AN3C
    ''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
    %C ,)K#.),.#'- ,"Y#$')/c #$ J'99'/ 82) N/.('/ )'-,/' 6. /'-.95' ),-4H6'- 8/,-,23 1'67''2 6&'0 6&/.H3& 8/1,6/86,.2 /86&'/
         ''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
         6&82 %.H/6F 6&'< %82 ).%H0'26 6&',/ 83/''0'26 1< 8668%&,23 82) -,32,23 82 I/1,6/86,.2 I3/''0'26 "=BIBVB M./0 IVN*B
HSC *-.#)* ,+)**a*-.c I99 4/,./ ),-%H--,.2-F 2'3.6,86,.2- 82) 83/''0'26- 1'67''2 6&' 48/6,'- %.2%'/2,23 6&' -H1E'%6
    0866'/ .$ 6&,- I3/''0'26 8/' -H4'/-')') 1< 6&,- I3/''0'26F 7&,%& %.2-6,6H6'- 6&' '26,/' %.26/8%6 82) 8 %.049'6'
    82) ';%9H-,5' ';4/'--,.2 .$ 6&',/ 83/''0'26 82) 08< 2.6 1' %.26/8),%6') 1< '5,)'2%' .$ 82< 4/,./ 83/''0'26 ./
    %.26'04./82'.H- ./89 83/''0'26B #$ 82< 4/.5,-,.2 .$ 6&,- I3/''0'26 ,- &'9) 6. 1' ,2'$$'%6,5' ./ ,2589,)F 6&' /'08,2,23
    4/.5,-,.2- 7,99 2'5'/6&'9'-- 1' 3,5'2 $H99 $./%' 82) '$$'%6B +&,- I3/''0'26 82) 82< -H449'0'26F 8))'2)H0 ./
    0.),$,%86,.2F ,2%9H),23 82< 4&.6.%.4< ./ $8%-,0,9'F 08< 1' ';'%H6') ,2 %.H26'/48/6-B
HTC 'W-*)$0#1F .#.&* ,-" ,(.0')#./c 'dN54 dU44UN=3 =>U=c 28B P72'/ ,- 6&' .72'/ .$ 6&' R/.4'/6<g 288B 2. .6&'/
    4'/-.2- ./ '26,6,'- &85' 6,69' 6. 6&' R/.4'/6<g 82) 2888B P72'/ &8- 6&' 8H6&./,6< 6. 1.6& ';'%H6' 6&,- I3/''0'26 82) -'99
    6&' R/.4'/6<B Q;%'46,.2- 6. .72'/-&,4F 6,69' 82) 8H6&./,6< 8/' 8- $.99.7-L 8LQ[KHQJ 7TRWS A?3 995

C  )*1)*$*-.,.#Y* %,1,%#./c +&,- U,-6,23 I3/''0'26 ,- 1',23 -,32') $./ P72'/ 1< 82 ,2),5,)H89 8%6,23 ,2 8 V'4/'-'2686,5'
   =848%,6< 8- -4'%,$,') ,2 6&' 8668%&') V'4/'-'2686,5' =848%,6< J,3286H/' O,-%9.-H/' "=BIBVB M./0 V=JOXJ*B G&'/'5'/ 6&'
   -,3286H/' ./ ,2,6,89- .$ 6&' /'4/'-'2686,5' ,)'26,$,') ,2 6&' V=JO 844'8/ .2 6&,- I3/''0'26 ./ 82< /'986') ).%H0'26-F ,6 -&899 1'
   )''0') 6. 1' ,2 8 /'4/'-'2686,5' %848%,6< $./ 6&' '26,6< )'-%/,1') 82) 2.6 ,2 82 ,2),5,)H89 %848%,6<F H29'-- .6&'/7,-' ,2),%86')B
   P72'/ 28B /'4/'-'26- 6&86 6&' '26,6< $./ 7&,%& 6&' ,2),5,)H89 ,- -,32,23 89/'8)< ';,-6- 82) 288B -&899 O'9,5'/ 6. N/.('/F 7,6&,2 D O8<-
   8$6'/ ';'%H6,.2 .$ 6&,- I3/''0'26F '5,)'2%' .$ 8H6&./,6< 6. 8%6 "-H%& 8- 1H6 2.6 9,0,6') 6.L 8449,%819' 6/H-6 ).%H0'26F ./ 4./6,.2
   6&'/'.$F 9'66'/- 6'-680'268/<F %.H/6 ./)'/F 4.7'/ .$ 866./2'<F /'-.9H6,.2F ./ $./086,.2 ).%H0'26- .$ 6&' 1H-,2'-- '26,6<*B
''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''''
K< 38VN8NV ;5@AdF 'dN54 UL]NAd@59V53 =>U= 'dN54 >U3 45U9F 7N9543=UN93F 45L58?59 U LAO< AM UN9 UV4553 =A =>5 =54E3 AM =>83
&83=8NV ,V455E5N= UN9 UN< U==UL>59 3L>597@5 AM LAEO5N3U=8ANC

P72'/                                                                                                                  8LQ[KHQJ 7TRWS A?3 995 O86'
I))/'-- ;WOVLSOH 3GGTHUUHU2 ?HH 3GGHQGWP &*                                    =,6<                                             J686'     r,4
+'9'4&.2'                        M8;                                                     QX08,9

P72'/                                                                                                                                                       O86'
I))/'-- ;WOVLSOH 3GGTHUUHU2 ?HH 3GGHQGWP &*                                    =,6<                                                    J686'          r,4
+'9'4&.2'                        M8;                                                     QX08,9

     I)),6,.289 J,3286H/' I))'2)H0 8668%&') "=BIBVB M./0 IJI*

V'89 Q-686' N/.('/ "M,/0* @KH 5>6; 7TRWS                                                                                                    OVQ U,%B W )+)+1+*/
I))/'-- ,1)) B( 3ODPHGD 3XH' ?WLVH *+))                                        =,6< 4WTEDQN                                            J686' 53    r,4 1*-)-
N<                                                +'9B&-,-'/0-(.+**              QX08,9 83<724<586<9=;<5)498                      OVQ U,%BW*+11*,//          O86'
     '(.+ &*(-)*/,,*
N<                                                +'9B                           QX08,9                                           OVQ U,%BW                  O86'


C +7. N/.('/- 7,6& ),$$'/'26 %.0482,'- 8/' %.X9,-6,23 6&' R/.4'/6<B =.X9,-6,23 N/.('/ ,2$./086,.2 ,- .2 6&' 8668%&') I)),6,.289 N/.('/
I%(2.79')3'0'26 "=BIBVB M./0 INI*B
Y >?>?F =89,$./2,8 I--.%,86,.2 .$ VQIU+PVJZF #2%B h2,6') J686'- %.4</,3&6 987 "+,69' C@ hBJB =.)'* $./1,)- 6&' H28H6&./,[') ),-6/,1H6,.2F ),-498< 82) /'4/.)H%6,.2 .$
6&,- $./0F ./ 82< 4./6,.2 6&'/'.$F 1< 4&.6.%.4< 08%&,2' ./ 82< .6&'/ 0'82-F ,2%9H),23 $8%-,0,9' ./ %.04H6'/,[') $./086-B +]#J MPVe ]IJ NQQ\ IRRVPiQO NS +]Q
=IU#MPV\#I IJJP=#I+#P\ PM VQIU+PVJZB \P VQRVQJQ\+I+#P\ #J eIOQ IJ +P +]Q UQjIU iIU#O#+S PV I==hVI=S PM I\S RVPi#J#P\ #\ I\S JRQ=#M#=
+VI\JI=+#P\B I VQIU QJ+I+Q NVPkQV #J +]Q RQVJP\ lhIU#M#QO +P IOi#JQ P\ VQIU QJ+I+Q +VI\JI=+#P\JB #M SPh OQJ#VQ UQjIU PV +I^ IOi#=QF
=P\JhU+ I\ IRRVPRV#I+Q RVPMQJJ#P\IUB +&,- $./0 ,- 08)' 858,9819' 6. /'89 '-686' 4/.$'--,.289- 6&/.H3& 82 83/''0'26 7,6& ./ 4H/%&8-' $/.0 6&' =89,$./2,8 I--.%,86,.2
.$ VQIU+PVJZB #6 ,- 2.6 ,26'2)') 6. ,)'26,$< 6&' H-'/ 8- 8 VQIU+PVZB VQIU+PVZ ,- 8 /'3,-6'/') %.99'%6,5' 0'01'/-&,4 08/( 7&,%& 08< 1' H-') .29< 1< 0'01'/- .$ 6&'
\I+#P\IU IJJP=#I+#P\ PM VQIU+PVJZ 7&. -H1-%/,1' 6. ,6- =.)' .$ Q6&,%-B
           RH19,-&') 82) O,-6/,1H6') 1<L
           VQIU QJ+I+Q NhJ#\QJJ JQVi#=QJF UU=B
           " #$%#&'&"() *+ ,-. /"@&+*(=&" 0##*?&",&*= *+ 59018457;
           _>_ J.H6& i,/3,9 I5'2H'F U.- I23'9'-F =89,$./2,8 A??>?
Y&& )*Y#$*" [IHP 21,+* ^ 'D ^B                                                                                      V'5,'7') 1<
                                         Y,%,-. &,-" &#$.#-+ ,+)**a*-. 2Y&& 1,+* ^ 'D ^B
                              R/.)H%') 7,6& U.2' G.9$ +/82-8%6,.2- "[,4M./0 Q),6,.2* @C@ \ ]8/7..) J6F JH,6' >>??F O8998-F +^ @_>?C   777B97.9$B%.0    5CGNB@GA 4JHLI
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                                                                     $*&&*)J$ Y,%,-. &,-" ,"Y#$')/
                                                                                         2%C,C)C DA4E $Y&,F GHIGRB


GC #-.)'"(%.#'-c J'99,23 4/.4'/6< ,2 =89,$./2,8 ,- 8 4/.%'-- 6&86 ,25.95'- 082< -6'4-B M/.0 -68/6 6. $,2,-&F ,6 %.H9)
   68(' 82<7&'/' $/.0 8 $'7 7''(- 6. 082< 0.26&-F )'4'2),23 H4.2 6&' %.2),6,.2 .$ <.H/ R/.4'/6<F 9.%89 08/('6
   %.2),6,.2- 82) .6&'/ $8%6./-B S.H &85' 89/'8)< 68('2 82 ,04./6826 -6'4 1< 9,-6,23 <.H/ R/.4'/6< $./ -89' 7,6& 8 9,%'2-')
   /'89 '-686' 1/.('/B S.H/ 1/.('/ 7,99 &'94 3H,)' <.H 6&/.H3& 6&' 4/.%'-- 82) 08< /'$'/ <.H 6. .6&'/ 4/.$'--,.289-F 8-
   2'')')B +&,- 8)5,-./< 8))/'--'- 082< 6&,23- <.H 08< 2'') 6. 6&,2( 81.H6 82) ). 8- <.H 08/('6 <.H/ R/.4'/6<B
   J.0' .$ 6&'-' 6&,23- 8/' /'TH,/'0'26- ,04.-') H4.2 <.HF ',6&'/ 1< 987 ./ 1< 6&' 9,-6,23 ./ -89' %.26/8%6B P6&'/- 8/'
   -,049< 4/8%6,%89 0866'/- 6&86 08< 8/,-' )H/,23 6&' 4/.%'--B R9'8-' /'8) 6&,- ).%H0'26 %8/'$H99< 82)F ,$ <.H &85' 82<
   TH'-6,.2-F 8-( <.H/ 1/.('/ ./ 844/.4/,86' 9'389 ./ 68; 8)5,-./ $./ &'94B
HC "#$%&'$()*$c
   ,C +5N54U@ "83L@A3745 "7=853c S.H 0H-6 8$$,/086,5'9< ),-%9.-' 6. 6&' 1H<'/F ,2 7/,6,23F 82< 82) 899 (2.72 $8%6- 6&86
       086'/,899< 8$$'%6 6&' 589H' ./ )'-,/81,9,6< .$ <.H/ R/.4'/6<B S.H 0H-6 ),-%9.-' 6&'-' $8%6- 7&'6&'/ ./ 2.6 8-(')
       81.H6 -H%& 0866'/- 1< 6&' 1H<'/F 82< 1/.('/F ./ 82<.2' '9-'B +&,- )H6< 6. ),-%9.-' 8449,'- '5'2 ,$ 6&' 1H<'/
       83/''- 6. 4H/%&8-' <.H/ R/.4'/6< ,2 ,6- 4/'-'26 %.2),6,.2 7,6&.H6 /'TH,/,23 <.H 6. 08(' 82< /'48,/-B #$ <.H ). 2.6
       (2.7 7&86 ./ &.7 6. ),-%9.-'F <.H -&.H9) %.2-H96 8 /'89 '-686' 866./2'< ,2 =89,$./2,8 .$ <.H/ %&..-,23B N/.('/
       %822.6 8)5,-' <.H .2 6&' 9'389 -H$$,%,'2%< .$ 82< ),-%9.-H/'- <.H 08('B
   KC $O5L8M8L %AN=4UL=7U@ "83L@A3745 "7=853c
       "C* +&' i8%826 U82) RH/%&8-' I3/''0'26 4/.5,)'- 6&86 6&' -'99'/ -&899F ,$ /'TH,/') 1< U87F )'9,5'/ 6. 1H<'/
            ,2$./086,.2 /'38/),23 '8/6&TH8('-F '25,/.20'2689 &8[8/)-F $9..) &8[8/)-F 82) $,/' &8[8/)-
       ">* #$ -'99'/ &8- 8%6H89 (2.79')3'F 6&' RH/%&8-' =.26/8%6 /'TH,/'- -'99'/ 6. ),-%9.-' 28B U'389 R/.%''),23-
            8$$'%6,23 6&' R/.4'/6<F 288B I3/,%H96H/89 h-' /'-6/,%6,.2-F 2888B O'') /'-6/,%6,.2-g 28?B M8/0 h-' 82) /,3&6 6. $8/0
            ,--H'-F 2?B Q2)823'/') J4'%,'- ,--H'-F 2?8B Q25,/.20'2689 ]8[8/)-F 2?88B =.00.2 G899-F 2?888B U82)9.%(')
            4/.4'/6<F 28kB Q8-'0'26- 82) Q2%/.8%&0'26-F 2kB J.,9 $,99 82) J.,9 4/.19'0-F 2k8B Q8/6&TH8(' )8083'F 2k88B
            r.2,23 #--H'-F 2k888B \',3&1./&..) 4/.19'0-B
       "D* Q;,-6,23 V'2689 82) J'/5,%' 83/''0'26- 0H-6 1' ),-%9.-')B
       "`* J'99'/ ,- 89-. /'TH,/') 6. 08(' 8 3..) $8,6& '$$./6 6. .168,2 82) )'9,5'/ 6. 6&' 1H<'/ 8 ),-%9.-H/' 2.6,%' $/.0
            6&' 844/.4/,86' 9.%89 83'2%<",'-* 81.H6 82< -4'%,89 68; 9'5,') .2 <.H/ R/.4'/6< 4H/-H826 6. 6&' e'99.XV..-
            =.00H2,6< M8%,9,6,'- I%6F 6&' #04/.5'0'26 N.2) I%6 .$ CAC_F 82) 8 2.6,%' %.2%'/2,23 6&' %.26/8%6H89
            8--'--0'26 4/.5,)') 1< -'%6,.2 _cAcB>` .$ 6&' J6/''6- 82) ],3&78<- =.)'B
       "_* =.00.2 #26'/'-6 O'5'9.40'26-L #$ 6&' R/.4'/6< ,- ,2 8 %.00.2 ,26'/'-6 )'5'9.40'26F <.H 0H-6 4/.5,)' 6.
            6&' 1H<'/ %.4,'- .$ 6&' 3.5'/2,23 ).%H0'26-F 6&' 0.-6 /'%'26 $,282%,89 -686'0'26- ),-6/,1H6')F 82) .6&'/
            ).%H0'26- /'TH,/') 1< 987 ./ %.26/8%6B #$ <.H ). 2.6 &85' 8 %H//'26 5'/-,.2 .$ 6&'-' ).%H0'26-F <.H %82
            /'TH'-6 6&'0 $/.0 6&' 08283'0'26 .$ <.H/ &.0'.72'/-K 8--.%,86,.2B +. 85.,) )'98<-F <.H 8/' '2%.H/83')
            6. .168,2 6&'-' ).%H0'26- 8- -..2 8- 4.--,19'F '5'2 ,$ <.H &85' 2.6 <'6 '26'/') ,26. 8 4H/%&8-' 83/''0'26
            6. -'99 <.H/ R/.4'/6<B
       "d* =.26/8%6 +'/0- 82) =.2),6,.2-L I 1H<'/ 08< /'TH'-6F 8- 48/6 .$ 6&' %.26/8%6 $./ 6&' -89' .$ <.H/ R/.4'/6<F
            6&86 <.H 48< $./ /'48,/- 6. 6&' R/.4'/6< 82) .6&'/ ,6'0-B S.H/ )'%,-,.2 .2 7&'6&'/ ./ 2.6 6. %.049< 7,6& 8
            1H<'/K- /'TH'-6- 08< 8$$'%6 <.H/ 81,9,6< 6. -'99 <.H/ R/.4'/6< 86 8 -4'%,$,') 4/,%'B
   %C '=>54 &5VU@ "7=853 W8=>>A@98NV .Uk53c h2)'/ $')'/89 82) =89,$./2,8 68; 987-F 8 1H<'/ ,- /'TH,/') 6. 7,6&&.9) 8
       4./6,.2 .$ 6&' 4H/%&8-' 4/,%' $/.0 <.H/ -89' 4/.%'')- $./ 68; 4H/4.-'- H29'-- <.H -,32 82 8$$,)85,6 .$ 2.2X$./',32
       -686H- 82) =89,$./2,8 /'-,)'2%<F ./ -.0' .6&'/ ';'046,.2 8449,'- 82) ,- ).%H0'26')B
   "C 14A>8;8=8AN ,VU8N3= "83L48E8NU=8ANc O,-%/,0,286./< %.2)H%6 ,2 6&' -89' .$ /'89 4/.4'/6< 838,2-6 ,2),5,)H89-
       1'9.23,23 6. 9'3899< 4/.6'%6') %98--'- ,- 8 5,.986,.2 .$ 6&' 987B
SC &*+,& ,-" .,h #a1&#%,.#'-$c S.H/ R/.4'/6< 08< &85' 9'389F 68;F ,2-H/82%'F 6,69' ./ .6&'/ ,049,%86,.2-B S.H
   -&.H9) %.2-H96 82 844/.4/,86' 4/.$'--,.289 $./ 8)5,%' .2 6&'-' 0866'/-B
TC a,)X*.#-+ %'-$#"*),.#'-$c
   ,C 145l$U@5 #N3O5L=8AN3 UN9 %AN38954U=8AN3c S.H -&.H9) %.2-,)'/ ).,23 7&86 <.H %82 6. 4/'48/' <.H/ R/.4'/6<
       $./ -89'B e82< 4'.49' 8/' 2.6 878/' .$ )'$'%6- ,2 ./ 4/.19'0- 7,6& 6&',/ .72 R/.4'/6<B P2' 78< 6. 08(' <.H/-'9$
       878/' ,- 6. .168,2 4/.$'--,.289 ,2-4'%6,.2- 4/,./ 6. -89'B R/'X-89' ,2-4'%6,.2- 08< ,2%9H)' 8 3'2'/89 4/.4'/6<
       ,2-4'%6,.2 82) 82 ,2-4'%6,.2 .$ 6&' -'46,% ./ 7'99 -<-6'0-F ,$ 82<F 80.23 .6&'/-B N< ).,23 6&,-F <.H 6&'2 &85' 82
       .44./6H2,6< 6. 08(' /'48,/- 1'$./' <.H/ R/.4'/6< ,- -.9)F 7&,%& 08< '2&82%' ,6- 08/('681,9,6<B k''4 ,2 0,2)F
       &.7'5'/F 6&86 82< 4/.19'0- /'5'89') 1< -H%& ,2-4'%6,.2 /'4./6- ./ /'48,/- 6&86 &85' 1''2 08)'F 7&'6&'/ ./ 2.6
       ),-%9.-') ,2 8 /'4./6F -&.H9) 1' ),-%9.-') 6. 6&' 1H<'/ "-'' aO,-%9.-H/'-b ,2 48/83/84& > 81.5'*B +&,- ,- 6/H' '5'2
       ,$ 6&' 1H<'/ 3'6- &,-o&'/ .72 ,2-4'%6,.2- %.5'/,23 6&' -80' 8/'8B P168,2,23 ,2-4'%6,.2 /'4./6- 08< 89-. 8--,-6
       <.H )H/,23 %.26/8%6 2'3.6,86,.2- 7,6& 6&' 1H<'/B
   KC $UM5=< 145LU7=8AN3c I)5'/6,-,23 82) 08/('6,23 <.H/ R/.4'/6< $./ -89'F ,2%9H),23F 1H6 2.6 9,0,6') 6.F 498%,23 8

Y >?CAF =89,$./2,8 I--.%,86,.2 .$ VQIU+PVJZF #2%B
$Y&, GHIGR 21,+* G 'D HB
                                             $*&&*)J$ Y,%,-. &,-" ,"Y#$')/ 2$Y&, 1,+* G 'D HB
9B@ 2736 4JHLI& +/(( ;' 0E<F@?< 0M@& 8LCK@ )*(( 1LJ=<GD 20 /),(,                                                     R&.2'L +*+-.+,)((            M8;L          5CGNB@GA 4JHLI
6<JD 2C<G>CLEEC                         R/.)H%') 7,6& U.2' G.9$ +/82-8%6,.2- "[,4M./0 Q),6,.2* @C@ \ ]8/7..) J6F JH,6' >>??F O8998-F +^ @_>?C   777B97.9$B%.0
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      ('<-8$'o9.%(1.;F '/'%6,23 MPV JIUQ -,32-F 82) ),--'0,286,23 4&.6.3/84&-F 5,)'.684'-F 82) 5,/6H89 6.H/- .$ 6&'
      R/.4'/6<F 08< E'.48/),[' 6&' -8$'6< .$ <.H/ R/.4'/6<B S.H 8/' -6/.239< '2%.H/83') 6. 08,268,2 ,2-H/82%'F 82) 6.
      68(' 82< 82) 899 4.--,19' 4/'%8H6,.2- 82) -8$'3H8/)- 6. 4/.6'%6 R/.4'/6<F 82) <.H/ 1'9.23,23-F ,2%9H),23
      589H819'- 9.%86') .2 6&' R/.4'/6<B
   %C *kO5N353c S.H 8/' 8)5,-') 6&86 <.HF 2.6 6&' N/.('/F 8/' /'-4.2-,19' $./ 6&' $''- 82) %.-6-F ,$ 82<F 6. %.049< 7,6&
      <.H/ )H6,'- 82) .19,386,.2- 6. 6&' 1H<'/ .$ <.H/ R/.4'/6<B
^C '.0*) #.*a$c




     J'99'/ &8- /'8) 82) H2)'/-682)- 6&,- I)5,-./<B N< -,32,23 1'9.7F J'99'/ 8%(2.79')3'- /'%',46 .$ 8 %.4< .$ 6&,- ).%H0'26B

     J'99'/                                                                                                                                        O86'
     ;JNUIGNH 9QOSP A?5 <<7
     R/,26 \80'
     J'99'/                                                                                                                                        O86'

     R/,26 \80'
     V'89 Q-686' N/.('/ "U,-6,23 M,/0* @IG 7>8= 9QOSP                                                                                       OVQ U,%W +-+-3-,1
     N<                                                                      =CQK 7JCNEJSLLJ OVQ U,% W +,33+-00                                     O86'
     N<                                                                                                OVQ U,% W                                    O86'
     I))/'-- .3++ B* 5LCMGFC 5TG( ?SJRG ,-++                                                  =,6< 6SQDCNK                                   J686' 75      r,4 3,/+/
     +'9'4&.2' &.-.'02.)/,++                                          M8;                                            QX08,9 MCQK4EQGMHQOSPQG*EOM




Y >?CAF =89,$./2,8 I--.%,86,.2 .$ VQIU+PVJZF #2%B h2,6') J686'- %.4</,3&6 987 "+,69' C@ hBJB =.)'* $./1,)- 6&' H28H6&./,[') ),-6/,1H6,.2F ),-498< 82) /'4/.)H%6,.2 .$ 6&,-
$./0F ./ 82< 4./6,.2 6&'/'.$F 1< 4&.6.%.4< 08%&,2' ./ 82< .6&'/ 0'82-F ,2%9H),23 $8%-,0,9' ./ %.04H6'/,[') $./086-B
+]#J MPVe ]IJ NQQ\ IRRVPiQO NS +]Q =IU#MPV\#I IJJP=#I+#P\ PM VQIU+PVJZB \P VQRVQJQ\+I+#P\ #J eIOQ IJ +P +]Q UQjIU iIU#O#+S PV
I==hVI=S PM I\S RVPi#J#P\ #\ I\S JRQ=#M#= +VI\JI=+#P\B I VQIU QJ+I+Q NVPkQV #J +]Q RQVJP\ lhIU#M#QO +P IOi#JQ P\ VQIU QJ+I+Q
+VI\JI=+#P\JB #M SPh OQJ#VQ UQjIU PV +I^ IOi#=QF =P\JhU+ I\ IRRVPRV#I+Q RVPMQJJ#P\IUB
+&,- $./0 ,- 08)' 858,9819' 6. /'89 '-686' 4/.$'--,.289- 6&/.H3& 82 83/''0'26 7,6& ./ 4H/%&8-' $/.0 6&' =89,$./2,8 I--.%,86,.2 .$ VQIU+PVJZB #6 ,- 2.6 ,26'2)') 6. ,)'26,$<
6&' H-'/ 8- 8 VQIU+PVZB VQIU+PVZ ,- 8 /'3,-6'/') %.99'%6,5' 0'01'/-&,4 08/( 7&,%& 08< 1' H-') .29< 1< 0'01'/- .$ 6&' \I+#P\IU IJJP=#I+#P\ PM VQIU+PVJZ
7&. -H1-%/,1' 6. ,6- =.)' .$ Q6&,%-B
          RH19,-&') 82) O,-6/,1H6') 1<L
          VQIU QJ+I+Q NhJ#\QJJ JQVi#=QJF UU=B
          " #$%#&'&"() *+ ,-. /012345620 0774/208246 43 59018457;
          _>_ J.H6& i,/3,9 I5'2H'F U.- I23'9'-F =89,$./2,8 A??>?
$Y&, GHIGR 21,+* H 'D HB
                                          $*&&*)J$ Y,%,-. &,-" ,"Y#$')/ 2$Y&, 1,+* H 'D HB
                           R/.)H%') 7,6& U.2' G.9$ +/82-8%6,.2- "[,4M./0 Q),6,.2* @C@ \ ]8/7..) J6F JH,6' >>??F O8998-F +^ @_>?C   777B97.9$B%.0           5CGNB@GA 4JHLI
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                                                      %,&#D')-#, %'-$(a*) 1)#Y,%/ ,%. ,"Y#$')/F
                                                                "#$%&'$()* ,-" -'.#%*
                                                                                   2%C,C)C DA4E %%1,F )5?8359 GHIHGB




+&' =89,$./2,8 =.2-H0'/ R/,58%< I%6 "%.00'2%,23 7,6& =,5,9 =.)' m C@AcBC??* "a==RIb* 3/826- 6. =89,$./2,8 /'-,)'26-
%'/68,2 /,3&6- ,2 6&',/ 4/,586'F 4'/-.289 ,2$./086,.2 "aR#b* 6&86 ,- %.99'%6') 1< %.0482,'- 7,6& 7&.0 6&'< ). 1H-,2'--B
h2)'/ 6&' ==RIF R# ,- )'$,2') 1/.8)9< 6. '2%.048-- 2.2X4H19,% /'%./)- ,2$./086,.2 6&86 %.H9) /'8-.2819< 1' 9,2(')
),/'%69< ./ ,2),/'%69< 6. <.HB R# %.H9) 4.6'26,899< ,2%9H)' 4&.6.3/84&- .$F ./ -89'- ,2$./086,.2 81.H6F <.H/ 4/.4'/6<B

OH/,23 6&' 4/.%'-- .$ 1H<,23 82) -'99,23 /'89 '-686' <.H/ R# 7,99 1' %.99'%6') 82) 9,('9< -&8/') 7,6& .6&'/-F ,2%9H),23 /'89
'-686' 9,%'2-''-F 8 eH96,49' U,-6,23 J'/5,%'F /'89 '-686' ,26'/2'6 7'1-,6'-F -'/5,%' 4/.5,)'/-F 9'2)'/-F 82) 6,69' 82) '-%/.7
%.0482,'-F 6. 280' -'5'/89 4.--,1,9,6,'-B NH-,2'--'- 6&86 8/' %.5'/') 1< 6&' ==RI 8/' /'TH,/') 6. 3/826 <.H 58/,.H-
/,3&6- ,2 <.H/ R#F ,2%9H),23 6&' /,3&6 6. (2.7 7&86 R# ,- %.99'%6')F a.46 .H6b ./ -6.4 6&' 6/82-$'/ .$ <.H/ R# 6. .6&'/-F 82) 6&'
/,3&6 6. /'TH'-6 6&86 6&' 1H-,2'-- )'9'6' <.H/ R# '26,/'9<B S.H 08< 3'6 .2' ./ 0./' 2.6,%'- /'38/),23 <.H/ ==RI /,3&6-
$/.0 1H-,2'--'- <.H ,26'/8%6 7,6& ,2 8 /'89 '-686' 6/82-8%6,.2B ].7'5'/F 2.6 899 1H-,2'--'- 6&86 /'%',5' ./ -&8/' <.H/ R#
8/' .19,386') 6. %.049< 7,6& 6&' ==RIB I9-.F '5'2 1H-,2'--'- 6&86 8/' .6&'/7,-' %.5'/') H2)'/ 6&' ==RI 08< &85' 8
9'389 .19,386,.2 6. 08,268,2 R#F 2.67,6&-682),23 <.H/ ,2-6/H%6,.2 6. 6&' %.26/8/<B M./ ,2-682%'F /'38/)9'-- .$ 7&'6&'/ 6&'<
8/' %.5'/') 1< ==RIF H2)'/ =89,$./2,8 987F 1/.('/- 82) eH96,49' U,-6,23 J'/5,%'- 8/' /'TH,/') 6. 08,268,2 6&',/ /'%./)-
$./ D <'8/-B #$ <.H 7,-& 6. ';'/%,-' <.H/ /,3&6- H2)'/ ==RIF 7&'/' 8449,%819'F <.H -&.H9) %.268%6 6&' /'-4'%6,5' 1H-,2'--
),/'%69<B

S.H %82 .168,2 0./' ,2$./086,.2 81.H6 6&' ==RI 82) <.H/ /,3&6- H2)'/ 6&' 987 $/.0 6&' J686' .$ =89,$./2,8 O'48/60'26 .$
tH-6,%' ".83B%8B3.5o4/,58%<o%%48*B
#Id5 UL]NAd@59V5 45L58O= AM U LAO< AM =>83 %U@8MA4N8U %AN37E54 148?UL< ,L= ,9?83A4<F "83L@A3745 UN9 -A=8L5C

NH<'/oJ'99'/oU82)9./)o+'2826                                                                                                                        O86'
                                              ;JNUIGNH 9QOSP A?5 <<7
NH<'/oJ'99'/oU82)9./)o+'2826                                                                                                                        O86'




Y >?>CF =89,$./2,8 I--.%,86,.2 .$ VQIU+PVJZF #2%B h2,6') J686'- %.4</,3&6 987 "+,69' C@ hBJB =.)'* $./1,)- 6&' H28H6&./,[') ),-6/,1H6,.2F ),-498< 82) /'4/.)H%6,.2 .$ 6&,-
$./0F ./ 82< 4./6,.2 6&'/'.$F 1< 4&.6.%.4< 08%&,2' ./ 82< .6&'/ 0'82-F ,2%9H),23 $8%-,0,9' ./ %.04H6'/,[') $./086-B +]#J MPVe ]IJ NQQ\ IRRVPiQO NS +]Q
=IU#MPV\#I IJJP=#I+#P\ PM VQIU+PVJZB \P VQRVQJQ\+I+#P\ #J eIOQ IJ +P +]Q UQjIU iIU#O#+S PV I==hVI=S PM I\S RVPi#J#P\ #\ I\S JRQ=#M#=
+VI\JI=+#P\B I VQIU QJ+I+Q NVPkQV #J +]Q RQVJP\ lhIU#M#QO +P IOi#JQ P\ VQIU QJ+I+Q +VI\JI=+#P\JB #M SPh OQJ#VQ UQjIU PV +I^ IOi#=QF
=P\JhU+ I\ IRRVPRV#I+Q RVPMQJJ#P\IUB +&,- $./0 ,- 08)' 858,9819' 6. /'89 '-686' 4/.$'--,.289- 6&/.H3& 82 83/''0'26 7,6& ./ 4H/%&8-' $/.0 6&' =89,$./2,8
I--.%,86,.2 .$ VQIU+PVJZB #6 ,- 2.6 ,26'2)') 6. ,)'26,$< 6&' H-'/ 8- 8 VQIU+PVZB VQIU+PVZ ,- 8 /'3,-6'/') %.99'%6,5' 0'01'/-&,4 08/( 7&,%& 08< 1' H-') .29< 1<
0'01'/- .$ 6&' \I+#P\IU IJJP=#I+#P\ PM VQIU+PVJZ 7&. -H1-%/,1' 6. ,6- =.)' .$ Q6&,%-B
          RH19,-&') 82) O,-6/,1H6') 1<L
          VQIU QJ+I+Q NhJ#\QJJ JQVi#=QJF UU=B
          " #$%#&'&"() *+ ,-. /012345620 0774/208246 43 59018457;
          _>_ J.H6& i,/3,9 I5'2H'F U.- I23'9'-F =89,$./2,8 A??>?
%%1, )*Y#$*" GHIHG 21,+* G 'D GB

                                 %,&#D')-#, %'-$(a*) 1)#Y,%/ ,%. ,"Y#$')/ 2%%1, 1,+* G 'D GB
9B@ 2736 4JHLI& +/(( ;' 0E<F@?< 0M@& 8LCK@ )*(( 1LJ=<GD 20 /),(,                                                     R&.2'L +*+-.+,)((            M8;L          5CGNB@GA 4JHLI
6<JD 2C<G>CLEEC                         R/.)H%') 7,6& U.2' G.9$ +/82-8%6,.2- "[,4M./0 Q),6,.2* @C@ \ ]8/7..) J6F JH,6' >>??F O8998-F +^ @_>?C   777B97.9$B%.0
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                                                                                "##$%#&' %() &
                                                                                    *+)"),) -(./ "#'0 ,123415 678769



"#$ %&''&()*+ ,$-./ 0*1 2&*1),)&*/ 0-$ #$-$34 )*2&-5&-0,$1 )* 0*1 .01$ 0 50-, &% ,#$ 67-2#0/$ 8+-$$.$*,9 ;<             <$/)1$*,)0'
=$0/$ &- >&*,#?,&?>&*,# <$*,0' 8+-$$.$*,9           "-0*/%$- @)/2'&/7-$ A,0,$.$*, BC&,$D 8* 0.$*1.$*, ,& ,#$ "@A .04 +)E$
,#$ F74$- 0 -)+#, ,& -$/2)*1G9 G ;,#$- FHJHSX ?HSK ?OWXOSM 9MVLLRLSX,                                                              9
10,$1          >YSL .4* /-//          9 &* 5-&5$-,4 H*&(* 0/                @YQXOUQL 9KKVLWWLW8 CLL 9KKLSKYR &.
                                                                                                            BI6-&5$-,4J6-$.)/$/KG9
)* (#)2#                                                                                        )/ -$%$--$1 ,& 0/ BLF74$-J"$*0*,LG
0*1                                  >OS^NLSM =VTYU EC9 ??;                                  )/ -$%$--$1 ,& 0/ BLA$''$-J=0*1'&-1LGM
F74$-J"$*0*, 0*1 A$''$-J=0*1'&-1 0-$ -$%$--$1 ,& 0/ ,#$ I60-,)$/MK
9( DNL UVTULVX] HKKVLWWLW HSK 9BA SYRILVW QOWXLK ILQT[ HVL XT IL QOWXLK HSK WTQK XTMLXNLV,

., /6/6 9RLXN]WX CX* ?TW 9SMLQLW ;9 6--0/7 2/-6+--6+--.* ?HSK*

/, /2/3+/2/5 ?OSJTQS BHVP 9ZL* ?TW 9SMLQLW ;9 6--0.7 2/-5+-/2+--.* DVOUQL\*

0, /2/-+/2// ?OSJTQS BHVP 9ZL* ?TW 9SMLQLW ;9 6--0.7 2/-5+-/2+--/* <YUQL\*

1, /3-/ ?OSJTQS BHVP 9ZL* ?TW 9SMLQLW ;9 6--0.7 2/-5+-/2+-.1* ?HSK*

2, /3-- A COLVVH CX* ?TW 9SMLQLW ;9 6--0.7 9BA 2/-6+--2+--0* ?HSK*

3, )DNL BHVHKOWL <VOZL ?TXW OSJQYKL 9BAW 'O( 2/-6+-/.+--/* +--2* +--38 'OO( 2/-6+-//+--48 'OOO( 2/-6+-/0+-//* +-/68 +-0-8 +-0.8
+-0/8 HSK 'OZ( 2/-6+-/2+--3,




;<1 =(.1>(3?> @1./4 A?5 B(?53@3(?4 A.1 <1.1CD A>.115 @(0 A?5 @<1 E?51.43>?15 ABF?(GH15>1 .1B13I@ (= A B(ID (= @<34
"551?5E/)

F74$-J"$*0*,                                                                                                                                           @0,$


F74$-J"$*0*,                                                                                                                                           @0,$


A$''$-J=0*1'&-1                                                                                                                                        @0,$
                       >OS^NLSM =VTYU EC9 ??;
A$''$-J=0*1'&-1                                                                                                                                        @0,$


N OPOQ9 R0')%&-*)0 8//&2)0,)&* &% <S8=";<AT9 U*2M V*),$1 A,0,$/ 2&54-)+#, '0( B"),'$ QW VMAM R&1$G %&-3)1/ ,#$ 7*07,#&-)X$1 1)/,-)37,)&*9 1)/5'04 0*1 -$5-&172,)&* &% ,#)/
%&-.9 &- 0*4 5&-,)&* ,#$-$&%9 34 5#&,&2&54 .02#)*$ &- 0*4 &,#$- .$0*/9 )*2'71)*+ %02/).)'$ &- 2&.57,$-)X$1 %&-.0,/M "YUA Z;<> Y8A FSSC 866<;[S@ F\ "YS
R8=UZ;<CU8 8AA;RU8"U;C ;Z <S8=";<AT BRM8M<MGM C; <S6<SASC"8"U;C UA >8@S 8A "; "YS =S]8= [8=U@U"\ ;< 8RRV<8R\ ;Z 8C\ 6<;[UAU;C UC 8C\
A6SRUZUR "<8CA8R"U;CM 8 <S8= SA"8"S F<;^S< UA "YS 6S<A;C _V8=UZUS@ "; 8@[UAS ;C <S8= SA"8"S "<8CA8R"U;CAM UZ \;V @SAU<S =S]8= ;< "8`
8@[URS9 R;CAV=" 8C 866<;6<U8"S 6<;ZSAAU;C8=M "#)/ %&-. )/ .01$ 0E0)'03'$ ,& -$0' $/,0,$ 5-&%$//)&*0'/ ,#-&7+# 0* 0+-$$.$*, (),# &- 57-2#0/$ %-&. ,#$
R0')%&-*)0 8//&2)0,)&* &% <S8=";<ATM U, )/ *&, )*,$*1$1 ,& )1$*,)%4 ,#$ 7/$- 0/ 0 <S8=";<TM <S8=";<T )/ 0 -$+)/,$-$1 2&''$2,)E$ .$.3$-/#)5 .0-H (#)2# .04 3$ 7/$1
&*'4 34 .$.3$-/ &% ,#$ C8"U;C8= 8AA;RU8"U;C ;Z <S8=";<AT (#& /73/2-)3$ ,& ),/ R&1$ &% S,#)2/M
          673')/#$1 0*1 @)/,-)37,$1 34D
          <S8= SA"8"S FVAUCSAA AS<[URSA9 ==RM
          " #$%#&'&"() *+ ,-. /012345620 0774/208246 43 59018457;
          aOa A&7,# [)-+)' 8E$*7$9 =&/ 8*+$'$/9 R0')%&-*)0 bPPOP
"#' ,$JKL$# 67876 *M"N$ 6 O- 69

                                                                  "##$%#&' *"#' M"N$ 6 O- 69
9B@ 2736 4JHLI& +/(( ;' 0E<F@?< 0M@& 8LCK@ )*(( 1LJ=<GD 20 /),(,                                                     6#&*$D +*+-.+,)((            Z0cD          5CGNB@GA 4JHLI
6<JD 2C<G>CLEEC                         6-&172$1 (),# =&*$ d&'% "-0*/02,)&*/ BX)5Z&-. S1),)&*G WQW C Y0-(&&1 A,9 A7),$ OOPP9 @0''0/9 "` WaOPQ   (((M'(&'%M2&.
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                                                                                "##$%#&' %() &
                                                                                    *+)"),) -(./ "#'0 ,123415 678769



"#$ %&''&()*+ ,$-./ 0*1 2&*1),)&*/ 0-$ #$-$34 )*2&-5&-0,$1 )* 0*1 .01$ 0 50-, &% ,#$ 67-2#0/$ 8+-$$.$*,9 ;<             <$/)1$*,)0'
=$0/$ &- >&*,#?,&?>&*,# <$*,0' 8+-$$.$*,9           "-0*/%$- @)/2'&/7-$ A,0,$.$*, BC&,$D 8* 0.$*1.$*, ,& ,#$ "@A .04 +)E$
,#$ F74$- 0 -)+#, ,& -$/2)*1G9 C ;,#$- BEGERW ;ERH ;MVWMRK 1KUIIQIRW                                                               9
10,$1           9XRI -/) .,..         9 &* 5-&5$-,4 H*&(* 0/                <XPWMTPI 1HHUIVVIV0 ?II 1HHIRHXQ &-
                                                                                                            BI6-&5$-,4J6-$.)/$/KG9
)* (#)2#                                                                                        )/ -$%$--$1 ,& 0/ BLF74$-J"$*0*,LG
0*1                                  9MR\LIRK 7USXT A?1 ;;3                                  )/ -$%$--$1 ,& 0/ BLA$''$-J=0*1'&-1LGM
F74$-J"$*0*, 0*1 A$''$-J=0*1'&-1 0-$ -$%$--$1 ,& 0/ ,#$ I60-,)$/MK
2(+ ?IPPIU MV WLI 4IFWSU*8R*>SVVIVVMSR MR WLI ARMWIH ?WEWIV 2EROUXTWG[ 3SXUW JSU WLI 3IRWUEP 4MVWUMGW SJ 3EPMJSURME) XRHIU
>USGIIHMRK =S+ DDDDDDDDDDDDDDD) 3LETWIU --) 9MR\LIRK 7USXT A?1) ;;3) 4IFWSU+

3(+ @LMV 1KUIIQIRW MV IZTUIVVP[ GSRHMWMSRIH XTSR ETTUSYEP WS MWV WIUQV ERH GSRHMWMSRV F[ WLI 2EROUXTWG[ 3SXUW ']3SXUW^(+

4(+ 1PP VEPIV EUI VXFNIGW WS WLI ETTUSYEP SJ WLI 2EROUXTWG[ 3SXUW+

5(+ 1PP VEPIV GSQQMVVMSR HXI LIUIXRHIU VLEPP FI HIHXGWIH 'WS WLI IZWIRW TSVVMFPI( JUSQ WLI KUSVV TUSGIIHV SJ WLI VEPI SJ WLI
>USTIUW[+

6(+ 1HHMWMSREP WIUQV EWWEGLIH+ 2EROUXTWG[ EHHIRHXQ VLEPP GSRWUSP+




;<1 =(.1>(3?> @1./4 A?5 B(?53@3(?4 A.1 <1.1CD A>.115 @(0 A?5 @<1 E?51.43>?15 ABF?(GH15>1 .1B13I@ (= A B(ID (= @<34
"551?5E/)

F74$-J"$*0*,                                                                                                                                           @0,$


F74$-J"$*0*,                                                                                                                                           @0,$


A$''$-J=0*1'&-1                                                                                                                                        @0,$
                       9MR\LIRK 7USXT A?1 ;;3
A$''$-J=0*1'&-1                                                                                                                                        @0,$


N OPOQ9 R0')%&-*)0 8//&2)0,)&* &% <S8=";<AT9 U*2M V*),$1 A,0,$/ 2&54-)+#, '0( B"),'$ QW VMAM R&1$G %&-3)1/ ,#$ 7*07,#&-)X$1 1)/,-)37,)&*9 1)/5'04 0*1 -$5-&172,)&* &% ,#)/
%&-.9 &- 0*4 5&-,)&* ,#$-$&%9 34 5#&,&2&54 .02#)*$ &- 0*4 &,#$- .$0*/9 )*2'71)*+ %02/).)'$ &- 2&.57,$-)X$1 %&-.0,/M "YUA Z;<> Y8A FSSC 866<;[S@ F\ "YS
R8=UZ;<CU8 8AA;RU8"U;C ;Z <S8=";<AT BRM8M<MGM C; <S6<SASC"8"U;C UA >8@S 8A "; "YS =S]8= [8=U@U"\ ;< 8RRV<8R\ ;Z 8C\ 6<;[UAU;C UC 8C\
A6SRUZUR "<8CA8R"U;CM 8 <S8= SA"8"S F<;^S< UA "YS 6S<A;C _V8=UZUS@ "; 8@[UAS ;C <S8= SA"8"S "<8CA8R"U;CAM UZ \;V @SAU<S =S]8= ;< "8`
8@[URS9 R;CAV=" 8C 866<;6<U8"S 6<;ZSAAU;C8=M "#)/ %&-. )/ .01$ 0E0)'03'$ ,& -$0' $/,0,$ 5-&%$//)&*0'/ ,#-&7+# 0* 0+-$$.$*, (),# &- 57-2#0/$ %-&. ,#$
R0')%&-*)0 8//&2)0,)&* &% <S8=";<ATM U, )/ *&, )*,$*1$1 ,& )1$*,)%4 ,#$ 7/$- 0/ 0 <S8=";<TM <S8=";<T )/ 0 -$+)/,$-$1 2&''$2,)E$ .$.3$-/#)5 .0-H (#)2# .04 3$ 7/$1
&*'4 34 .$.3$-/ &% ,#$ C8"U;C8= 8AA;RU8"U;C ;Z <S8=";<AT (#& /73/2-)3$ ,& ),/ R&1$ &% S,#)2/M
          673')/#$1 0*1 @)/,-)37,$1 34D
          <S8= SA"8"S FVAUCSAA AS<[URSA9 ==RM
          " #$%#&'&"() *+ ,-. /012345620 0774/208246 43 59018457;
          aOa A&7,# [)-+)' 8E$*7$9 =&/ 8*+$'$/9 R0')%&-*)0 bPPOP
"#' ,$JKL$# 67876 *M"N$ 6 O- 69

                                                                  "##$%#&' *"#' M"N$ 6 O- 69
9B@ 2736 4JHLI& +/(( ;' 0E<F@?< 0M@& 8LCK@ )*(( 1LJ=<GD 20 /),(,                                                     6#&*$D +*+-.+,)((            Z0cD           5CGNB@GA 4JHLI
6<JD 2C<G>CLEEC                         6-&172$1 (),# =&*$ d&'% "-0*/02,)&*/ BX)5Z&-. S1),)&*G WQW C Y0-(&&1 A,9 A7),$ OOPP9 @0''0/9 "` WaOPQ   (((M'(&'%M2&.
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         '&0-3625(8 &))*0)6/ 51 7&(&05 .&0) .,45,0+ &+3**/*05

         E\am[XaZ Bebhc )OM<* GG> )nMX__Xeo*+ \g \gf VTcTV\gl Tf WXUgbe TaW WXUgbe \a cbffXff\ba
 bY \gf UTa^ehcgVl XfgTgX \a +4 70 ,3492041 *7586 &/.(' --)+ >TfX Ib- 1910,U^,05563,@L+ TZeXXf
 gb ZeTag N[X >L@H Bebhc TaW HTeVhf ( H\__\V[Tc )Vb__XVg\iX_l+ n=eb^Xeo*+ g[X XkV_hf\iX e\Z[g
 gb aXZbg\TgX g[X fT_X bY `h_g\c_X cTeVX_f bY eXT_ cebcXegl WXfVe\UXW \a <WWXaWh` &0 )g[X
 nKebcXeglo*+ hcba g[X gXe`f TaW VbaW\g\baf bY g[X YbeXZb\aZ LXf\WXag\T_ G\fg\aZ <ZeXX`Xag+
 gbZXg[Xe j\g[ g[X MX__Xe DafgehVg\ba gb @kV_hWX G\fg\aZ Yeb` g[X Hh_g\c_X G\fg\aZ MXei\VX TaW
 ?Tlf ba HTe^Xg TaW bg[Xe TVVb`cTal\aZ fgTaWTeW W\fV_bfheXf TaW TWi\fbe\Xf )Vb__XVg\iX_l g[X
 nG\fg\aZ <ZeXX`Xago*+ Tf T`XaWXW Ul g[X Yb__bj\aZ gXe`f TaW VbaW\g\baf9

          0-    <WWXaWh`-       N[\f WbVh`Xag \f Ta TWWXaWh` gb G\fg\aZ <ZeXX`Xag-
          Ibgj\g[fgTaW\aZ Tal VbageTel gXe`f TaW VbaW\g\baf \a g[X G\fg\aZ <ZeXX`Xag+ g[\f
          <WWXaWh` f[T__ Tcc_l-

          1-    ?X_Xg\baf Yeb` g[X G\fg\aZ <ZeXX`Xag- N[X Yb__bj\aZ cTeTZeTc[f bY g[X G\fg\aZ
          <ZeXX`Xag f[T__ abg Tcc_l9

                   T-    cTeTZeTc[ 2)@* )\eeXibVTU_X Tff\Za`Xag*;

                   U-    cTeTZeTc[ 8 )MX__Xe eXceXfXagTg\baf*;

                   V-    cTeTZeTc[ 0/)A* )\aWX`a\Y\VTg\ba*; TaW

                   V-    cTeTZeTc[ 11 )W\fchgX eXfb_hg\ba*-

          2-     Ib ?hT_ <ZXaVl- Ibgj\g[fgTaW\aZ >T_\Ybea\T _Tj be Talg[\aZ \a g[X G\fg\aZ
          <ZeXX`Xag gb g[X VbageTel+ =eb^Xe j\__ TVg Tf g[X TZXag Ybe MX__Xe ba_l TaW j\__ abg TVg Tf
          g[X TZXag bY Ubg[ MX__Xe TaW g[X cheV[TfXe \a g[X geTafTVg\ba-

          3-      >b``\ff\ba- DY UhlXe \f abg eXceXfXagXW \a g[X geTafTVg\ba Ul T eXT_ XfgTgX Ueb^Xe+
          g[X gbgT_ Vb``\ff\ba gb =eb^Xe f[T__ UX 2-4'+ \afgXTW bY 4'- DY UhlXe \f eXceXfXagXW Ul T
          Ueb^Xe+ g[X fc_\g bY Vb``\ff\ba f[T__ UX 2' gb g[X _\fg\aZ =eb^Xe )j[\V[ f[T__ UX fc_\g
          UXgjXXa N[X >L@H Bebhc TaW HTeVhf ( H\__\V[Tc cXe T fXcTeTgX TWWXaWh` gb g[X
          G\fg\aZ <ZeXX`Xag*+ TaW 1' gb g[X UhlXepf Ueb^Xe-

          4-      <UTaWba`Xag- MX__Xe eXfXeiXf g[X e\Z[g+ \a \gf fb_X W\fVeXg\ba+ gb WXgXe`\aX abg gb
          fX__ g[X KebcXegl TaW gb TUTaWba g[X KebcXegl Ul fXei\aZ T abg\VX bY \gf \agXag\ba gb
          TUTaWba g[X KebcXegl \a TVVbeWTaVX j\g[ g[X =Ta^ehcgVl >bWX TaW Tcc_\VTU_X Vbheg eh_Xf-
          Da g[X XiXag bY Tal fhV[ TUTaWba`Xag+ g[X G\fg\aZ <ZeXX`Xag TaW g[\f <WWXaWh` f[T__
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                                                   0
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          gXe`\aTgX TaW ab _\TU\_\gl be bU_\ZTg\baf f[T__ TVVehX gb MX__Xe Tf T eXfh_g bY Tal fhV[
          TUTaWba`Xag TaW gXe`\aTg\ba-

          5-      >baW\g\baf bY MT_X- =eb^Xe TZeXXf TaW haWXefgTaWf g[Tg Tal fT_X bY g[X KebcXegl
          f[T__ UX fhU]XVg gb g[X Yb__bj\aZ gXe`f TaW VbaW\g\baf9

               T-       MX__Xe \f fX__\aZ g[X KebcXegl \a \gf VTcTV\gl Tf g[X eXceXfXagTg\iX bY T
 UTa^ehcgVl XfgTgX-

                 U-       DY Ybe Tal eXTfba+ be ab eXTfba j[TgfbXiXe+ MX__Xe \f haTU_X gb WX_\iXe
 cbffXff\ba be g\g_X gb g[X KebcXegl gb Tal cbgXag\T_ cheV[TfXe+ g[X cheV[TfXepf fb_X eX`XWl f[T__ UX
 g[X eXghea bY Tal `baXl g[Tg g[X cheV[TfXe [Tf WXcbf\gXW gbjTeWf g[X cheV[TfX bY g[X KebcXegl-

                 V-     MX__Xe \f fX__\aZ g[X KebcXegl ba Ta n<M DMo TaW nPC@L@ DMo UTf\f
 j\g[bhg Tal eXceXfXagTg\baf be jTeeTag\Xf j[TgfbXiXe+ \aV_hW\aZ j\g[bhg _\`\gTg\ba
 eXceXfXagTg\baf be jTeeTag\Xf Tf gb g\g_X+ b\_ TaW `\aXeT_ e\Z[gf+ V\gl be ZbiXea`Xag TZXaVl
 abg\Y\VTg\baf eXZTeW\aZ jbe^ gb UX WbaX+ `Te^XgTU\_\gl bY g\g_X+ bjaXef[\c+ c[lf\VT_ VbaW\g\ba+
 Vb`c_\TaVX j\g[ fgTgX+ V\gl be YXWXeT_ fgTghgXf+ VbWXf+ beW\aTaVXf+ be eXZh_Tg\baf+ ZXb_bZ\VT_
 fgTU\_\gl+ mba\aZ+ fh\gTU\_\gl Ybe \`cebiX`Xag+ TaW Y\eX \afheTaVX cb_\V\Xf gb VbiXe Tal
 \`cebiX`Xagf ba g[X KebcXegl+ abe Tal TffheTaVXf eXZTeW\aZ g[X fhUW\i\WTU\_\gl bY g[X KebcXegl-

                W-     N[X fT_X bY g[X KebcXegl \f fhU]XVg gb =Ta^ehcgVl >bheg TccebiT_ TYgXe
 abg\VX Z\iXa \a TVVbeWTaVX j\g[ g[X =Ta^ehcgVl >bWX TaW Tcc_\VTU_X Vbheg eh_Xf-

                 X-      N[X fT_X bY g[X KebcXegl `Tl UX fhU]XVg gb biXeU\W Tg chU_\V fT_X- MX__Xe
 eXfXeiXf g[X e\Z[g gb eX]XVg Tal TaW T__ bYYXef j[\V[ \a \gf ]hWZ`Xag TeX \afhYY\V\Xag- DY biXeU\Wf
 TeX eXVX\iXW TaW g[X KebcXegl \f fb_W gb Ta biXeU\WWXe+ be gb g[X be\Z\aT_ U\WWXe+ Tg T [\Z[Xe ce\VX+
 g[X Vb``\ff\ba gb UX cT\W gb =eb^Xe f[T__ UX UTfXW hcba g[X [\Z[Xe fT_X ce\VX )abg g[X be\Z\aT_
 U\W ce\VX*-

                Y-      N[X cheV[TfXe f[T__+ Tg g[X cheV[TfXepf fb_X XkcXafX+ TVdh\eX Tal TaW T__
 \afheTaVX cb_\V\Xf g[Tg g[X cheV[TfXe WXf\eXf gb VbiXe g[X KebcXegl- MX__Xe WbXf abg TZeXX gb
 TVdh\eX be geTafYXe Tal \afheTaVX cb_\V\Xf gb g[X cheV[TfXe-

               Z-       N[X cheV[TfXe \f gb TeeTaZX Ybe T__ Y\aTaV\aZ bY g[X TVdh\f\g\ba bY g[X
 KebcXegl UXYbeX g[X V_bfX bY XfVebj-

                   [-   <__ XfVebj YXXf f[T__ UX f[TeXW TaW cT\W ba T 4/.4/ UTf\f Ul MX__Xe TaW g[X
 cheV[TfXe-

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                                                  1
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                   \-    N[X KebcXegl \f UX\aZ fb_W fhU]XVg gb9

                       )0*     <__ ZXaXeT_ TaW fcXV\T_ gTkXf g[Tg TeX ceXfXag_l WhX+ be `Tl UXVb`X
 WhX+ eXZTeW\aZ g[X KebcXegl+ bg[Xe g[Ta cebcXegl gTkXf+ j[\V[ f[T__ UX cebeTgXW Tf bY g[X V_bfX bY
 XfVebj; TaW

                        )1*    <al TaW T__ XTfX`Xagf+ eXfge\Vg\baf+ e\Z[gf TaW VbaW\g\baf bY eXVbeW
 TaW e\Z[gf bY jTl+ TZT\afg+ ba be eXZTeW\aZ g[X KebcXegl- N\g_X+ [bjXiXe+ \f gb UX geTafYXeeXW YeXX
 TaW V_XTe bY fXVheXW V_T\`f bY eXVbeW-

          6-      KTl`Xag bY >b``\ff\ba- N[X Vb``\ff\ba gb UX cT\W gb =eb^Xe f[T__ ba_l UX cT\W
          Yeb` g[X cebVXXWf bY g[X fT_X bY g[X KebcXegl- N[X cTl`Xag bY Vb``\ff\ba \f fhU]XVg gb
          ce\be TccebiT_ bY g[X =Ta^ehcgVl >bheg-

          7-     G\`\gTg\ba bY G\TU\_\gl bY =eb^Xe- =eb^Xepf _\TU\_\gl \f _\`\gXW gb g[X T`bhag bY
          =eb^Xepf Vb``\ff\ba [XeXhaWXe \a g[X XiXag bY Tal WT`TZXf VThfXW Ul aXZ_\ZXaVX be
          haj\_Yh_ `\fVbaWhVg Ul =eb^Xe-

          8-      @ag\eX <ZeXX`Xag- N[\f <WWXaWh` TaW g[X G\fg\aZ <ZeXX`Xag )TaW TggTV[`Xagf
          g[XeXgb*+ gb g[X XkgXag g[Tg g[X G\fg\aZ <ZeXX`Xag \f abg VbageTel gb g[X gXe`f TaW
          VbaW\g\baf [XeX\a+ Vbafg\ghgX g[X Xag\eX VbageTVg UXgjXXa g[X cTeg\Xf- N[X\e gXe`f TeX
          \agXaWXW Ul g[X cTeg\Xf Tf T Y\aT_ XkceXff\ba bY g[X\e TZeXX`Xag j\g[ eXfcXVg gb fhV[ gXe`f
          Tf TeX \aV_hWXW [XeX\a+ TaW `Tl abg UX VbageTW\VgXW Ul Xi\WXaVX bY Tal ce\be TZeXX`Xag
          be VbagX`cbeTaXbhf beT_ TZeXX`Xag- N[X cTeg\Xf Yheg[Xe \agXaW g[Tg g[\f g[\f <WWXaWh`
          TaW g[X G\fg\aZ <ZeXX`Xag Vbafg\ghgX g[X Vb`c_XgX+ Y\aT_ TaW XkV_hf\iX fgTgX`Xag bY g[X\e
          gXe`f TaW g[Tg ab Xkge\af\V Xi\WXaVX j[TgfbXiXe `Tl UX \agebWhVXW \a Tal ]hW\V\T_ be
          TeU\geTg\ba cebVXXW\aZ+ \Y Tal+ \aib_i\aZ g[\f TZeXX`Xag-

          0/-    =Ta^ehcgVl >bheg Ehe\fW\Vg\ba- N[X Oa\gXW MgTgXf =Ta^ehcgVl >bheg Ybe g[X
          >XageT_ ?\fge\Vg bY >T_\Ybea\T f[T__ [TiX XkV_hf\iX ]he\fW\Vg\ba gb eXfb_iX Tal TaW T__
          W\fchgXf eX_Tg\aZ gb g[\f <WWXaWh` TaW g[X G\fg\aZ <ZeXX`Xag f\gg\aZ j\g[bhg T ]hel+
          j[\V[ \f fcXV\Y\VT__l jT\iXW- N[\f TZeXX`Xag TaW Tal W\fchgXf eX_TgXW g[XeXgb f[T__ UX
          ZbiXeaXW Ul >T_\Ybea\T _Tj+ gb g[X XkgXag abg ceX,X`cgXW Ul YXWXeT_ _Tj-


 ?TgX9 EhaX SS+ 1/11                           ?TgX9 EhaX SS+ 1/11

 nM@GG@Lo                                              n=LJF@Lo

 E\am[XaZ Bebhc )OM<* GG>                              N[X >L@H Bebhc
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                                                   2
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                                         SSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSS
 =l9 R[Tb Kh QTaZ                   =l9 HTe^ >\TaV\h__\




                                           n=LJF@Lo
                                           HTeVhf ( H\__\V[Tc

                                           SSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSSS
                                           =l9 Gbaa\X HV?Xe`bgg




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                                       3
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           06/17/2022                                                      Multiple Addresses; See Addendum #1, ,
                                                               The CREM Group                                               X
                                                                 Jinzheng Group USA LLC




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                                           Shao Xing Max Yang                                                    Managing Member




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Mark Cianciulli
       Case 2:21-bk-16674-ER         Doc 263 Filed 06/23/22 Entered 06/23/22 17:43:12       Desc
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                                                                                               X           Vacant Land Listing Agreement

           06/17/2022                                                           Multiple Addresses; See Addendum #1, ,
                                                                  The CREM Group
                                                              Jinzheng Group USA LLC




                                                                   The CREM Group
                                                                   Marcus & Millichap

                                                   Agreed upon compensation 2% to Marcus & Millichap, 1% to The CREM
      Group.If Buyer is not represented in the transaction, 2.25% to Marcus & Millichap, 1.25% to CREM Group.
       X



            X
                                                                      The CREM Group
                                                                     Marcus & Millichap
                                                                     X              Vacant Land Listing Agreement                  06/17/2022




                                        The CREM Group                                                                  02029217
                                                                   Mark Cianciulli        01990266
                                        Marcus & Millichap                                                              00530854
                                                        Lonnie McDermott                  01874375
                                                                                        Jinzheng Group USA LLC




The CREM Group, 3900 W. Alameda Ave, Suite 1200 Burbank CA 91505                                     3236835100                      Jinzheng Group
Mark Cianciulli
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                                                      Value-add Services
          IN-HOUSE EVICTION                                            ASSET                                                            TRANSITIONAL PROPERTY
          COUNSELING                                                   STABILIZATION                                                    MANAGEMENT

As an attorney owned and operated                           More often than not, properties involved in                      Offering dynamic and comprehensive
brokerage,    we      handle     evictions    and           receivership        have     substantial     deferred            property management services prior to
tenant matters in-house, expeditiously                      maintenance,               insurance         coverage            disposition.   Whether      its    managing
and oftentimes at no cost to the client.                    complications, occupancy deficiencies and a                      tenant-occupied properties, or vacant
                                                            host of other issues.          Once involved, we                 property       oversight,         preserving,
                                                            develop and implement value-add strategies                       increasing value and limiting liability
                                                            when appropriate, to increase total sales                        are tantamount.
                                                            value, while limiting any possible liability.




          COMPREHENSIVE                                                PROPERTY INVENTORY                                               BESPOKE GLOBAL
          REPORTING                                                    & HAULING                                                        MARKETING

Documentation and communication is key                       From silverware to vintage cars, we, in                         99% of buyers search for property online. We
to   a   successful     close.      With     strict         conjunction with vetted and preferred                             leverage the highest quality photography,
requirements and transparency demanded                      vendors, ensure each item of personal                            videography,   and media-related content
in the receivership context, we provide                     property       is    inventoried       and    either:            curating the best online presence for each
proprietary and weekly management and                       disposed of, donated, sold, stored, or                           property. From there, each property's media
sale reporting to keep all parties informed                 shipped to its successive owner.                                 package is disseminated locally and across
at each and every turn.                                                                                                      hundreds of online platforms and various
                                                                                                                             other mediums across the globe.




                                                      OFFICE LOCATIONS
                                     LOS ANGELES           IRVINE               LONG BEACH                RIVERSIDE         SAN DIEGO




                   DANIEL TAYLOR, ESQ.                                                                              MARK CIANCIULLI, ESQ.
                      CalBRE:01889109                                                                               CalBRE:01990266


                   (949) 491-1194                                                                                   (323) 683-5100
                      daniel@cremgroupre.com                                                                        mark@cremgroupre.com




As co-founder of The CREM Group, Daniel co-leads the team in the                               Mark Cianciulli is the managing broker of The CREM Group's LA office.
successful representation of receivers, referees and trustees in the                          Mark leads a highly proficient team who have successfully closed some
management and disposition of real property involved in probate, trust,                       of the most unique court supervised transactions in the real estate
receivership and bankruptcy administration. As an attorney having practiced                   space. As an attorney and CPA, Mark is uniquely qualified to handle
in corporate and real estate litigation, Daniel has the unique ability to                     both residential and commercial real estate transactions, which is
provide a multifaceted approach reconciling liabilities while providing                       evidenced by the highly regarded attorneys and professionals that he
unmatched marketing and negotiating strategies during each and every                          and his team work with on an regular basis.
transaction. The end result? Top value for each and every client served.
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                                                   Resume Letter
Mark Cianciulli, Esq., CPA,
Broker I Owner I The CREM Group


Bio

Mark Cianciulli is a real estate broker and co-founder of The CREM Group. Mark leads a highly proficient Los
Angeles team that has successfully closed some of the most difficult real estate transactions in the probate,
trust, receivership, bankruptcy, and partition sales industry. He routinely handles both residential and
commercial court-supervised real estate transactions as well as sales that require an unlawful detainer
(evictions) prior to sale, which he handles in-house. Mark is fortunate enough to work alongside some of the
most well-respected attorneys in Los Angeles and surrounding areas.

Mark’s background as an attorney and CPA has allowed him to leverage his prior experiences for the benefit
of his real estate clients as well as their trusted attorneys and fiduciaries. Mark places special emphasis on
attention to detail, consistent communication, and solving any and all obstacles that may come up in a given
transaction.


Associations

Los Angeles County Bar Association

Santa Monica Bar Association

Beverly Hills Bar Association

South Bay Bar Association

Beverly Hills Estate Planning Council (Board Member)

Provisors

CAR, NAR, GLAAR

CalCPA’s




                                  LOS ANGELES / IRVINE / LONG BEACH / RIVERSIDE / SAN DIEGO
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MDGLA




                MCDERMOTT GROUP
                       LAND ADVISORS
                                MARCUS & MILLICHAP
                                    RESUME BOOK




                                   MCDERMOTT GROUP
                                                                                          1
                                                                                                                                                                                               MDGLA
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MDGLA
                                                           MCDERMOTT GROUP                                                        MDGLA
                                                                                                                            MCDERMOTT GROUP
                                                                                                                                  LAND ADVISORS




                                                                                                                                                                                              DGL
LONNIE MCDERMOTT
First Vice President Investments                                                                   MDGL A is focused on value-added brokerage ser vices and we are founded on the
                                                                                                   principles of representation, long term relationships, dynamic marketing and
Senior Director, La nd & Redevelopment Divisi on
                                                                                                   unrivaled market exper tise. We are active throughout Southern California with an
C: 818.577.8904 | O: 818.212.2745                                                                  emphasis on the Los Angeles MSA. This enables us to evaluate how local sub-markets
Lonnie.McDermott@marcusmillichap.com                                                               relate to each other and how they relate to the entire region.
License: CA 01874375
                                                                                                   MDGL A offers a distinct advantage to our clients by combining detailed parcel analysis,
                                                                                                   in-depth market knowledge, for ward looking under writing, high-end marketing
                                                                                                   and exper t negotiation. We understand the intricacies of today ’s marketplace, local
                                                                                                   market trends and the features of each parcel, which allows us to present accurate
RICK GORDON                                                                                        information to our clients and enable them to make informed decisions.
Senior Associate
Director, Land & Redevelopment Division                                                            MDGL A’s vast experience and knowledge include acquisition, disposition, municipal
C: 847.778.9090 | O: 818.212.2721                                                                  planning, entitlements, zoning, permitting, the political climate for new development,
Rick.Gordon@marcusmillichap.com                                                                    land development, ground up construction, project management, budgeting and
License: CA 02088022 | IL 471014823                                                                income producing proper ties.

                                                                                                   MDGL A’s successful transactions include parcels to develop for multi-family, mixed-
                                                                                                   use, condominiums, senior care, commercial, retail, industrial and hospitality, as well
                                                                                                   as land to subdivide for single-family, small lot and master planned communities.
MATT BROWN
Marketing Coordinator                                                                              Our clients benefit from MDGL A’s proprietar y database of over 1,000 active
O: 818.212.2797                                                                                    purchasers of land and redevelopment parcels, the Marcus & Millichap platform with
Matt.Brown@marcusmillichap.com                                                                     over 2,000 real estate professionals in the U.S. and Canada, as well as an outside
                                                                                                   broker database. This access to qualified potential purchasers is what separates us
                                                                                                   from our competitors.
FIND US ON SOCIAL MEDIA
                                                                                                   MDGL A believes an impor tant factor in achieving the best price and terms for a
      LINKTR.EE/MDGL A_                                                                            client’s parcel is the implementation of a detailed and aggressive marketing plan
                                                                                                   that highlights the benefits and uniqueness of the parcel and effectively presenting
                                                                                                   that information to the maximum number of qualified purchasers in the marketplace.
      @MDGL A_                                                                                     It is crucial to position an asset in the market correctly to insulate our clients from
                                                                                                   potential downside risk. Our structured marketing process creates a competitive
                                                                                                   bidding environment for your parcel. All of our marketing materials are designed on
      @MDGL A_                                                                                     a custom basis by our graphic design team.

                                                                                                   We look for ward to working with you, and helping you achieve all of your real
                                                                                                   estate goals.
2                                                                                                                                                                                                   3
                                                                                                                                                                                                                                                   MDGLA
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    MEET THE TEAM

                           LONNIE MCDERMOTT                                                                                                                              M AT T B R O W N




                                                                                                                                                                                                                                                  DGL
                           First Vice President Investments                                                                                                              Marketing Coordinator
                           Senior Director, Land & Redevelopment Advisors                                                                                                Matt Brown is the Marketing Coordinator at MDGLA. He began his
                                                                                                                                                                         career at Marcus & Millichap as a freelancer and was eventually
                         Lonnie McDermott has consistently been a Top Producer since
                                                                                                                                                                         brought on full time in October of 2019. Matt’s experience in real
                         joining the firm in 2009. Previously he was the forward planning
                                                                                                                                                                         estate advertising and design started in 2015 when he worked for
                         and entitlements manager at a premier Los Angeles development
                                                                                                                                                                         RODE Advertising in New York. Matt eventually left the Marketing
                         company where his responsibilities included successfully
                                                                                                                                                                         Coordinator position at Marcus & Millichap and took on the roll
                         navigating through the City of Los Angeles Planning Department,
                                                                                                                                                                         exclusively for MDGLA.
                         Building & Safety, Department of Public Works, Bureau of
    Engineering, Department of Transportation, Urban Forestry Division, to name a few
                                                                                                                                                 A Los Angeles native, Matt left L.A. in 2008 to attend college at Pratt Institute in Brooklyn,
    while processing Department of Real Estate (DRE) documents, By-Laws, Covenants,
                                                                                                                                                 New York. There he received a B.F.A in Communication Design with a focus in Advertising
    Conditions and Restrictions (CC&R’s), Condominium and Small Lot Tract Maps,
                                                                                                                                                 Art Direction. Having designed and art directed multiple types of businesses, from
    and Budgets.
                                                                                                                                                 pharmaceuticals to airplane brands and now real estate, Matt has a wide range of abilities.
    Lonnie has 20+ years of experience in residential and commercial real estate with
    $800M+ in sales. Utilizing his unique experience and knowledge resulting from many
    years working in development, coupled with his continued success in brokerage, Lonnie
    is regarded as a highly sought-after land and multi-family specialist. Lonnie currently
    lives in Valencia with his wife Erin and two young sons Connor & Austin.




4                                                                                                                                                                                                                                                       5
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    MEET THE SUPPORT TEAM
                                                                                                                                                                            JIM MARKEL
                                                                                                                                                                            Regional Manager
                                                                                                                                                                            E n c i n o , B a k e r s f i e l d , F r e s n o , Ve n t u r a

                                                                                                                                                                            Jim Markel is the regional manager of Marcus & Millichap’s
                           ADAM CHRISTOPHERSON




                                                                                                                                                                                                                                                     DGL
                                                                                                                                                                            Encino, Bakersfield, Fresno and Ventura offices. He joined
                           Senior Vice President / Division Manager
                                                                                                                                                                            Marcus & Millichap’s Encino office as an agent in June 1999,
                           Southern California Division
                                                                                                                                                                            specializing in the sale of multifamily assets. During his tenure
                           Adam Christofferson is the senior vice president and division                                                                                    as an agent, Mr. Markel earned the Encino office’s 2000 Rookie of
                           manager for Marcus & Millichap. As a Division Manager, he                                                                                        the Year award, two National Achievement Awards and four Sales
                           oversees offices in Southern California, Nevada, Utah, and Idaho                                                          Recognition Awards.
                           as well as managing a Marcus & Millichap Capital Corporation
                           finance team of over fifty loan originators in eight offices.                                                             In early 2004, Mr. Markel left Marcus & Millichap to run his own boutique brokerage
                                                                                                                                                     company in conjunction with a successful national syndication company. Between 2004 and
    Adam began his career with Marcus & Millichap in 1997 as a sales assistant, and in 1998                                                          2014 he brokered or acted as principal in over one-half billion in real estate transactions
    he became a sales agent focusing on the Southern California retail market. Two years                                                             across 10 states and in multiple product types. Mr. Markel rejoined Marcus & Millichap as
    later, Adam was a top retail agent in the Encino office, and in 2001 he was appointed sales                                                      sales manager of the Encino office in February 2013 and was appointed regional manager
    manager where he led the office to a record-breaking year. In 2002, Adam was named                                                               in August 2016.
    regional manager of the Denver and Salt Lake City offices where he spearheaded a major
    expansion. Adam was then named first vice president in 2007 and the regional manager
    of the Encino office in 2010, which became the firm’s top grossing revenue office. In 2012                                                                               JESICA OCHELTREE
    he earned the much-coveted designation of the firm’s regional manager of the year.                                                                                       Operations Manager
    Adam also served as Western U.S. director of special asset services from 2011 to 2013.                                                                                   Jesica began her career at Marcus & Millichap in June 2006 in the
    In 2013, he was honored by the Real Estate Forum magazine as one of the “45 under 40”                                                                                    Encino office as a Brokerage Services Administrator. She became a
    most influential commercial real estate leaders in the nation. In 2014, he spearheaded                                                                                   Certified Agent Support Trainer in January 2008 and was promoted
    the opening of the firm’s offices in Fresno, Bakersfield and Ventura.                                                                                                    to Operations Manager in 2012.


                                                                                                                                                                             Jesica enjoys interacting with the diverse agent personalities
                                                                                                                                                                             and works hard to maintain Encino’s status as one of the most
                                                                                                                                                     productive offices in the company. Jesica is a native Californian, born and raised in the San
                                                                                                                                                     Fernando Valley.




6                                                                                                                                                                                                                                                          7
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       AWARDS + ACCOLADES



                     #1                                                           $1B+                                        335
     LAND BROKER AT                                                                       TOTAL                          TRANSACTIONS
    MARCUS & MILLICHAP                                                                    SALES                             CLOSED
                    (IN THE ENTIRE FIRM)




                                                                                                                         National Achivement Award
                                                                                                                         2020 | 2019 | 2017 | 2016 | 2015
            Best Land Sale:                         Best Land Sale:                         Best Land Sale:
       431 La Cienega, Hollywood           2145 W Vanowen St , Woodland Hills,       6801 Canoga Ave, Canoga Park
        Sale Price: $21,250,000                  Sale Price: $22,000,000                Sale Price: $10,000,000


                                                                                                                         Top Investment Professional
                                                                                                                            2020 | 2019 | 2016 | 2015



                                                                                                                               Pace Setter Award
    San Fernando Valley Business Journal
    Top Commercial Real Estate Award
                                           San Fernando Valley Business Journal
                                           Top Commercial Real Estate Award
                                                                                  San Fernando Valley Business Journal
                                                                                  Top Commercial Real Estate Award
                                                                                                                                       2010
                  2018                                   2017                                   2016


                                                                                                                                                                        CLOSINGS
8                                                                                                                                                                                                            9
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                                                        RECENTLY CLOSED




                                                                                                                                                                                          Walgreens
                                                                     Mission Gateway                                           The Colony                                            25 Main St | Bristol, CT                3010 Del Hombre Ln | Walnut Creek, CA           14019 Vanowen St | Los Angeles, CA
       339 Hampshire Rd | Thousand Oaks, CA                   8811 Sepulveda Blvd | North Hills                  7760 Woodman Ave | Panorama City CA                      Net Leased Drug Store | Sale Price: $7,741,000   Land - Multi-Family | Sale Price: $3,100,000      Multi-Family | Sale Price: $2,690,000
     Land - Multi-Family | Sale Price: $37,000,000        Land - Commercial| Sale Price: $14,000,000          Land - Senior Housing | Sale Price: $10,450,000




      A 439,956-square-foot development site in Thousand Oaks has sold for an undisclosed price.

      The land, which spans more than 10 acres, has been earmarked for residential building. Located at 339
      Hampshire Road, the property has a corner location with accessibility to the 101 freeway.
                                                                                                                          SAN FERNANDO VALLEY
      The deal represents the largest land sale in Thousand Oaks since 2007, according to Calabasas-based
      brokerage Marcus & Millichap.
                                                                                                                            BUSINESS JOURNAL

      Brandon Michaels, senior managing director investments in Marcus & Millichap’s Encino office, and Lonnie            RARE UNDEVELOPED 10
      McDermott, Marcus & Millichap’s first vice president investments, represented the seller and procured the            ACRES IN THOUSAND
      buyer.
                                                                                                                               OAKS SOLD
      “This historic transaction for the city is emblematic of Thousand Oaks’ move to become more pro-development,
      which will create long-term growth in the immediate submarket,” Michaels said in a statement. “The sale also
      demonstrates investor interest in transforming under-performing assets into alternative asset classes.”                $37,000,000                                     657 North Virgil Avenue | Los Angeles, CA        8405 Glenoaks Blvd | Los Angeles, CA
                                                                                                                                                                                                                                                                                        Dollar General
                                                                                                                                                                                                                                                                                108 County Rd 21 | Smyrna, NY
                                                                                                                                                                            Land - Commercial | Sale Price: $2,000,000     Land - Multi-Family | Sale Price: $1,800,000   Net Leased Discount | Sale Price: $1,646,720
      Added McDermott: “The buyer, IMT Capital LLC, plans to convert the site to much-needed residential housing,
      including neighborhood-serving retail and community accessible open space amenities.”
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NOTABLE SALES
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                                                         Warner Center Development
                                                           Canoga Park, CA | Sales Price: $8,150,000
                                                       Size: 1.13 Acres / 49,191 SF | Price Per SF: $165.68

21425 Vanowen Street is one of several properties that the McDermott Group has sold multiple times throughout the stages of development. In 2015, our team
was successfully able to market the property as vacant land based on the forecasted potential that Warner Center is now realizing. After the close of escrow, Mr.
McDermott advised the buyer throughout the entitlement and permit process. Once successfully executed, our team marketed the property again and sold it at a
                          record-setting price, providing our client with a profit margin of nearly 50% before the project broke ground.




                                                                                                                                                                                                                                            431 La Cienega Blvd
                                                                                                                                                                                                                            West Hollywood & Los Angeles, CA | Sales Price: $21,250,000
                                                                                                                                                                                                                            Product Type: Land | Exclusively Represented Buyer and Seller

                                                                                                                                                                         431 N. La Cienega is the 32,574 square foot parcel that was the home of the Royal Car Wash. The property is ideally located between Beverly Blvd and Melrose Ave on
                                                                                                                                                                         La Cienega Blvd, next to the Beverly Center. As a result of its prime location, the owners received multiple offers to purchase the property off-market, which they
                                                                                                                                                                         worked on for a year. Due to their unsuccessful attempts to try and sell the property off-market, the Sellers hired our team. Within 30 days, we were in escrow at a
                                                                                                                                                                         significantly higher price. In addition to the successful marketing, we were more importantly able to insulate the Seller from a significant price reduction and position
                                                                                                                                                                                                                       the Seller to close the escrow at a record breaking sales price of $652.36 per SF.


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                                                                                                                                                                                                                                          The Enclave Apartments
                                                                                                                                                                                                                                        Paramount, CA | Sales Price: $61,200,000
                                                                                                                                                                                                                         6.44% Cap Rate | Product Type: Multi-Family | Size: 306 units | 329,070 SF

                                                                                                                                                                                The Enclave Apartments is a 329,070 square feet apartment building comprised of 306 units. The property is conveniently positioned just off the 105 Freeway
                                                                                                                                                                                in Paramount, Ca. At the time of sale, the apartments were 96% occupied. Due to having the largest database of multi-family developers and investors in the
                                                                                                                                                                                country, we were able to provide the ideal buyer for the sale, who saw a major value-add opportunity through a capital improvement program to upgrade
                                                                                                                                                                                                                                                 and reposition the asset.




                                                                      6801 Canoga Ave
                                                            Canoga Park, CA | Sales Price: $10,000,000
                                                     Product Type: Land | Fully Entitled Mixed Use Development

6801 Canoga Ave is a fully entitled 149 unit mixed use development site. The site is approximately 43,427 SF ideally located in the sought after Warner Center submarket,
which boasts high-end demographics, a local dense population, high barrier to entry, and overall strong market fundamentals yielding an investor/developer and the
eventual landlord favorable market conditions with significant growth potential. The project is located in proximity to the City of Los Angeles’ Warner Center 2035
                     Plan which once completed, will bring 23.5 million square feet of new residential or approximately 20,000 units to the area.




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LAND SALES | 2010 - YTD                                                                                                     LAND SALES | 2010 - YTD
Address                   City              State   Type                     Sales Price              SF                     Address                     City                  State   Type                   Sales Price     SF

339 Hampshire Rd          Thousand Oaks     CA      Land - Mixed-Use         $37,000,000         439,956                     28338 Roadside Dr           Agoura Hills          CA      Land - Commercial       $475,000     34,180

8405 Glenoaks Blvd        Los Angeles       CA      Land - Multi-Family      $1,800,000           15,276                     18535 Burbank Blvd          Tarzana               CA      Land - Multi-Family    $1,550,000    10,729

657 North Virgil Avenue   Los Angeles       CA      Land - Commercial        $2,000,000           7,092                      9203 Ralston Ave            Sun Valley            CA      Land - Industrial      $2,350,000    56,400

7760 Woodman Ave          Panorama City     CA      Land - Seniors Housing   $10,450,000          95,396                     6679 West Fountain Ave      Los Angeles           CA      Land - Commercial       $955,000      5,169

3010 Del Hombre Ln        Walnut Creek      CA      Land - Multi-Family      $3,100,000           21,344                     6801 Canoga Ave             Canoga Park           CA      Land - Mixed-Use       $10,000,000   43,427

8811 Sepulveda Blvd       North Hills       CA      Land - Commercial        $14,000,000         189,486                     2412 Federal Ave            Los Angeles           CA      Land - Mixed-Use       $3,250,000    13,940

11906 Kling St            Los Angeles       CA      Land - Commercial        $2,900,000           16,988                     13901 Polk St               Sylmar                CA      Land - Single-Family   $1,500,000    65,023

22735 Del Valle St        Woodland Hills    CA      Land - Multi-Family       $900,000            6,495                      2267 Duane St               Los Angeles           CA      Land - Multi-Family    $1,200,000     7,504

10947 Hartsook St         North Hollywood   CA      Land - Multi-Family      $1,750,000           8,788                      21425 Vanowen St            Canoga Park           CA      Land - Multi-Family    $8,150,000    49,191

6940 Owensmouth Ave       Canoga Park       CA      Land - Multi-Family      $3,750,000           32,080                     5258 Hermitage Ave          Valley Village        CA      Land - Multi-Family     $999,000      7,595

667-671 North Wilton Pl   Los Angeles       CA      Land - Commercial        $3,425,000           10,350                     901 North Ogden Dr          West Hollywood        CA      Land - Multi-Family    $1,326,000     5,480

6701 Woodley Ave          Van Nuys          CA      Land - Multi-Family      $1,225,000           13,005                     3977 West Beverly Blvd      Los Angeles           CA      Land - Mixed-Use       $5,200,000    30,618

913 Boston Ct             Pasadena          CA      Land - Multi-Family      $1,600,000           6,523                      7002-7006 Van Nuys Blvd     Van Nuys              CA      Land - Multi-Family    $3,925,000    60,412

21300 Oxnard St           Woodland Hills    CA      Land - Mixed-Use         $11,600,000         100,624                     431 North La Cienega Blvd   West Hollywood / LA   CA      Land - Mixed-Use       $21,250,000   32,574

1300 W Mission Blvd       Pomona            CA      Land - Multi-Family      $1,050,000           26,648                     9203 Ralston Ave            Sun Valley            CA      Land - Industrial      $2,100,000    56,380

14944 Moorpark St         Sherman Oaks      CA      Land - Commercial        $1,035,000           5,883                      11738 Wicks St              Sun Valley            CA      Land - Mixed-Use        $625,000      9,158

3638-3642 Motor Ave       Los Angeles       CA      Land - Multi-Family      $7,400,000           14,700                     1340 N. Sycamore Ave        Los Angeles           CA      Land - Mixed-Use       $3,075,000     8,200

1833 N Garey Ave          Pomona            CA      Land - Multi-Family      $1,600,000           28,335                     7310 Eton Ave               Canoga Park           CA      Land - Multi-Family     $675,000      7,500

11700 Charnock Rd         Los Angeles       CA      Land - Multi-Family      $2,475,000           7,388                      7115 Tampa Ave              Reseda                CA      Land - Single-Family   $1,500,000    263,957

437 E 5th St              Long Beach        CA      Land - Mixed-Use         $1,495,000           7,253                      37550 Sierra Hwy            Palmdale              CA      Land - Commercial       $400,000     181,210

129-133 W Los Feliz Rd    Glendale          CA      Land - Office            $2,575,000           17,636                     3046 East Florence Ave      Huntington Park       CA      Land - Mixed-Use        $790,000     16,577

28340 Roadside Dr         Agoura Hills      CA      Land - Commercial         $720,000            36,390                     4503 Coldwater Canyon Ave   Studio City           CA      Land - Multi-Family    $1,535,000     6,500




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LAND SALES | 2010 - YTD                                                                                                   LAND SALES | 2010 - YTD
Address                    City              State   Type                   Sales Price             SF                     Address                     City              State   Type                   Sales Price     SF
2266 Ewing Street          Los Angeles       CA      Land - Multi-Family    $1,630,000           7,500                     8935 Orion Avenue           North Hills       CA      Land - Multi-Family     $570,000     19,910
3046 East Florence Ave     Huntington Park   CA      Land - Mixed-Use       $3,115,000          16,578                     2334 Crenshaw Blvd          Los Angeles       CA      Land - Multi-Family     $270,000      8,023
4410 South Budlong Ave     Los Angeles       CA      Land - Commercial      $2,400,000          35,717                     11130 North Oro Vista Ave   Sunland           CA      Land - Single-Family   $1,185,000    206,965
1304 North Mansfield Ave   Los Angeles       CA      Land - Multi-Family     $741,300            3,075                     22235 Ryan Ridge Way        Woodland Hills    CA      Land - Single-Family    $165,000     28,166
1308 North Mansfield Ave   Los Angeles       CA      Land - Multi-Family     $725,000            3,075                     44000 East Sahuayo St       Lancaster         CA      Land - Commercial       $425,000     201,114
15566 Rayen St             North Hills       CA      Land - Multi-Family    $1,250,000          19,592                     5100 Woodman Ave            Sherman Oaks      CA      Land - Multi-Family    $3,350,000    24,000
12415 San Fernando Rd      Sylmar            CA      Land - Mixed-Use       $4,202,875          55,025                     13840 Sherman Way           Van Nuys          CA      Land - Multi-Family     $700,000     44,870
7310 Eton Ave              Canoga Park       CA      Land - Multi-Family     $500,000            7,500                     13190 Bromont Ave           Sylmar            CA      Land - Multi-Family    $1,550,000    43,470
21425 West Vanowen St      Woodland Hills    CA      Land - Multi-Family    $22,000,000         84,864                     20600 Roscoe Blvd           Winnetka          CA      Land - Single-Family   $3,600,000    182,952
18730 Vanowen St           Reseda            CA      Land - Single-Family    $905,000           48,046                     13901 Polk St               Sylmar            CA      Land - Single-Family    $800,000     222,156
5210 West Olympic Blvd     Los Angeles       CA      Land - Multi-Family    $1,340,000           7,046                     2403 West 4th St            Los Angeles       CA      Land - Multi-Family     $600,000     23,565
1401 Court Street          Los Angeles       CA      Land - Multi-Family     $605,000            6,020                     7851 Ventura Canyon Ave     Panorama City     CA      Land - Multi-Family    $1,825,000    39,600
316 South Kenmore Ave      Los Angeles       CA      Land - Multi-Family    $1,700,000           9,862                     1129 Logan St               Los Angeles       CA      Land - Multi-family    $1,272,500     6,498
545 South Serrano Ave      Los Angeles       CA      Land - Multi-Family    $1,575,000           7,747
14832 Gilmore St           Van Nuys          CA      Land - Multi-Family     $240,000            7,500
4220 West Montclair St     Los Angeles       CA      Land - Multi-Family     $650,000           13,500
24400 Calabasas Rd         Calabasas         CA      Land - Hotel/Motel      $675,000           917,373
1433 North Waterloo St     Los Angeles       CA      Land - Multi-Family     $580,000            5,001
1427 North Waterloo St     Los Angeles       CA      Land - Multi-Family     $795,000           10,236
18528 Chase St             Northridge        CA      Land - Multi-Family    $1,200,000          19,130
15566 Rayen St             North Hills       CA      Land - Multi-Family     $480,000           19,550
20750 Sherman Way          Winnetka          CA      Land - Multi-Family    $2,300,000          65,549




18                                                                                                                                                                                                                              19
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MULTI-FAMILY SALES | 2010 - YTD                                                                                  RETAIL SALES | 2010 - YTD
Address                 City              State   Sales Price   Cap Rate            Units                         Address                                   City                 State   Type                                  Sales Price     SF

14019 Vanowen St        Los Angeles       CA      $2,690,000      N/A                   5                         4915a Dixie Hwy                           Louisville           KY      NNN Krogers                           $10,485,000   440,392
22425 Del Valle St      Woodland Hills    CA      $2,725,000     4.43%                  5
                                                                                                                  108 County Rd 21 | Dollar General         Smyrna               NY      Net Leased Discount                   $1,646,720     N/A
7123 Tampa Ave          Reseda            CA      $12,598,318    5.55%                  22
6933 Sepulveda Blvd     Van Nuys          CA      $3,060,000     3.29%                  17                        25 Main St | Walgreens                    Bristol              CT      Net Leased Drug Store                 $7,741,000    16,120
6930 Balboa Blvd        Lake Balboa       CA      $5,550,000     5.90%                  10
                                                                                                                  West Warm Springs & South Decatur         Las Vegas            NV      Net Leased Auto Service - Gas/Conv.   $2,860,000     3,000
5543 Case Ave           North Hollywood   CA      $4,700,000     3.51%                  18
9339 Burnet Ave         North Hills       CA      $2,970,000     5.46%                  6                         9466 US Highway 36                        Avon                 IN      Net Leased Restaurant                 $4,236,747     9,080

509 East Avenue Q1      Palmdale          CA       $420,000      6.47%                  6
                                                                                                                  2880 North Centre Ct                      Prescott Valley      AZ      Net Leased Drug Store                 $5,000,000    15,120
334 Beardsley Ave       Bakersfield       CA       $600,000      8.61%                  12
13801 Paramount Blvd    Paramount         CA      $61,200,000    6.44%                  306                       607 West 9th Ave                          Escondido            CA      Retail Vacant/User                    $1,650,000    14,016

238 South Avenue 21     Los Angeles       CA       $780,000      7.07%                  10                        2370 South Robertson Blvd                 Los Angeles          CA      Shopping Neighborhood                  $925,000      2,872
14369 Chatsworth Dr     San Fernando      CA       $925,000      6.87%                  10
                                                                                                                  35242 Grand River Ave                     Farmington Hills     MI      Net Leased Restaurant                 $1,350,000     4,500
1685 North Summit Ave   Pasadena          CA      $2,450,000     5.42%                  20
13530 Victory Blvd      Valley Glen       CA      $1,875,000     5.47%                  13                        7127 Canoga Ave                           Canoga Park          CA      Retail Vacant/User                     $775,000      4,500
5555 Carpenter Ave      Valley Village    CA      $1,890,000     4.26%                  5
                                                                                                                  I-75 & 16th Ave                           Cordele              GA      Net Leased Restaurant                 $1,778,000     4,000
14133 Victory Blvd      Van Nuys          CA      $1,285,000     5.97%                  15
5529 Harold Way         Hollywood         CA      $1,375,000     0.65%                  10                        166 East Huntington Dr                    Arcadia              CA      Net Leased Restaurant                 $2,174,000     6,763
16565 Vanowen St        Van Nuys          CA      $1,800,000     5.01%                  12
412 Union Dr            Los Angeles       CA      $1,017,500     7.13%                  18
1685 North Summit Ave   Pasadena          CA      $1,970,000     6.17%                  20                       STUDENT HOUSING SALES | 2010 - YTD
11115 Aqua Vista St     Studio City       CA      $12,600,000    4.56%                  35                        Address                     City                       State                          Sales Price               Cap Rate       Units
6453 Shirley Ave        Reseda            CA       $815,000      5.80%                  8
                                                                                                                  1298 West 37th Pl           Los Angeles                CA                             $1,050,000                 6.44%              3
13400 Victory Blvd      Van Nuys          CA      $2,950,000     6.80%                  28
7910 Kester Ave         Panorama City     CA       $400,000      7.51%                  6
                                                                                                                  1238 West 35th St           Los Angeles                CA                             $1,025,000                 6.29%              3
14845 Erwin St          Van Nuys          CA      $1,150,000     6.36%                  11

                                                                                                                  3421 Walton Ave             Los Angeles                CA                              $700,000                  6.27%              4


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MDGLA


                MCDERMOTT GROUP
                        LAND ADVISORS
                LONNIE MCDERMOTT                            MATT BROWN
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                       License: CA 01874375




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                                     MCDERMOTT GROUP

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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): NOTICE OF APPLICATION AND APPLICATION
TO EMPLOY REAL ESTATE BROKERS AND TO ENTER INTO EXCLUSIVE LISTING AGREEMENT;
MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ZHAO PU YANG AND STATEMENTS OF
DISINTERESTEDNESS IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date)    6/23/22                  I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the
email addresses stated below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date)         6/23/22             , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  June 23, 2022                           Zev Shechtman                                         /s/ Zev Shechtman
  Date                                    Printed Name                                          Signature




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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                             ADDITIONAL SERVICE INFORMATION (if needed):


TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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Hatty K Yip on behalf of U.S. Trustee United States Trustee (LA)
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SERVED BY UNITED STATES MAIL:
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       Newport Beach, CA 92660




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June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
